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                   EXHIBIT 1

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 1                   UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN FRANCISCO DIVISION
 4
5     WAYMO LLC
 6          Plaintiff,
 7                vs.                   Case No.
 8    UBER TECHNOLOGIES,INC.;           17-cv-00939-WHA
 9    OTTOMOTTO, LLC; OTTO
10    TRUCKING LLC,
11          Defendants.
12
13
14                    **ATTORNEYS' EYES ONLY**
15
16          VIDEOTAPED DEPOSITION OF TRAVIS KALANICK
17                    San Francisco, California
18                      Thursday, July 27, 2017
19                                Volume I
20
21    REPORTED BY:
22    REBECCA L. ROMANO, RPR, CSR No. 12546
23    JOB NO. 2665725
24
25    PAGES 1 - 329

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                         ATTORNEYS' EYES ONLY
 1         UNITED STATES DISTRICT COURT                             1 APPEARANCES OF COUNSEL (cont'd)
 2        NORTHERN DISTRICT OF CALIFORNIA                           2
 3              SAN FRANCISCO DIVISION                              3 For the Defendants - Uber Technologies, Inc. and
 4                                                                  4 Ottomotto:
 5 WAYMO LLC                                                        5    BOIES SCHILLER FLEXNER
 6 Plaintiffs,                                                      6    BY: KAREN LEAH DUNN
 7        vs.        Case No.                                       7    BY: MICHAEL BRILLE
 8 UBER TECHNOLOGIES,INC.; 17-cv-00939-WHA                          8    BY: MARTHA L. GOODMAN
 9 OTTOMOTTO, LLC; OTTO                                             9    Attorneys at Law
10 TRUCKING LLC,                                                   10    1401 New York Avenue NW
11 Defendants.                                                     11    Washington, DC 20005
12                                                                 12 (202)237-2727
13                                                                 13 kdunn@bsfllp.com
14                                                                 14 mbrille@bsfllp.com
15                                                                 15 mgoodman@bsfllp.com
16     VIDEOTAPED DEPOSITION OF TRAVIS KALANICK,                   16
17 taken on behalf of the Plaintiffs, at Orrick,                   17 For the Defendant - Otto Trucking LLC:
18 Herrington & Sutcliffe LLP, 405 Howard Street,                  18    GOODWIN PROCTER LLP
19 San Francisco, California, commencing at 8:18 a.m.,             19    BY: I. NEEL CHATTERJEE
20 Thursday, July 27, 2017 before Rebecca L. Romano,               20    Attorney at Law
21 Certified Shorthand Reporter No. 12546                          21    135 Commonwealth Drive
22                                                                 22    Menlo Park, California 94025
23                                                                 23    (650) 752-3256
24                                                                 24 nchatterjee@goodwinlaw.com
25                                                                 25
                                                          Page 2                                                   Page 4

 1 APPEARANCES OF COUNSEL                                           1 APPEARANCES OF COUNSEL (cont'd)
 2                                                                  2
 3 For the Plaintiff:                                               3 For the Defendant - Otto Trucking, LLC:
 4                                                                  4    GOODWIN PROCTER LLP
 5    QUINN EMANUEL URQUHART & SULLIVAN, LLP                        5    BY: HONG AN VU
 6    BY: CHARLES K. VERHOEVEN                                      6    Attorney at Law
 7    BY: JAMES D. JUDAH                                            7    601 South Figueroa Street
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19                                                                 19    San Francisco, California 94105
20                                                                 20    (415) 773-5495
21                                                                 21 mhaag@orrick.com
22                                                                 22
23                                                                 23 ALSO PRESENT:
24                                                                 24    Aaron Bergstrom, In-house Counsel Uber
25                                                                 25    Jeffree Anderson, Videographer
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 1          E X H I B I T S (cont'd)                                              1       MR. JUDHA: James Judha, Waymo.                     08:19:14
 2 NUMBER                            PAGE                                         2       MR. PERLSON: David Perlson,
 3             DESCRIPTION                                                        3 Quinn Emanuel, Waymo.
 4 Exhibit 389 Email 9/20/2016, Subject:    306                                   4       MS. GOODMAN: Martha Goodman,
 5          Birdhouse LIDAR discussion,                                           5 Boies Schiller, on behalf of Uber Technologies and        08:19:16
 6          UBER00076770;                                                         6 Ottomotto.
 7                                                                                7       MR. BERGSTROM: Aaron Bergstrom, in-house
 8 Exhibit 390 Retained;               311                                        8 counsel, Uber.
 9                                                                                9       MR. BRILLE: Mike Brille, Boies Schiller,
10 Exhibit 391 Letter 6/20/2017.         319                                     10 on behalf of Uber and Ottomotto.                 08:19:30
11                                                                               11       MS. HAAG: Melinda Haag,
12                                                                               12 Orrick Herrington & Sutcliffe, on behalf of
13                                                                               13 Mr. Kalanick.
14                                                                               14       MS. DUNN: Karen Dunn, from
15                                                                               15 Boies Schiller Flexner, on behalf of Uber and        08:19:36
16                                                                               16 Ottomotto.
17                                                                               17       MS. VU: Hong-An Vu of Goodwin Procter,
18                                                                               18 on behalf of Otto Trucking.
19                                                                               19       MR. CHATTERJEE: Neel Chatterjee of
20                                                                               20 Goodwin Procter, on behalf of Otto Trucking.             08:19:44
21                                                                               21       THE VIDEOGRAPHER: Thank you.
22                                                                               22       The witness will be sworn in and counsel
23                                                                               23 may begin the examination.
24                                                                               24       THE REPORTER: If you could raise your
25                                                                               25 right hand for me, please.                    08:20:06
                                                                       Page 10                                                                    Page 12

 1 San Francisco, California; Thursday, July 27, 2017                             1         THE DEPONENT: (Complies.)                  08:20:06
 2               8:18 a.m.                                                        2         THE REPORTER: You do solemnly state,
 3                ---o0o---                                                       3 under penalty of perjury, that the testimony you
 4                                                                                4 are about to give in this deposition shall be the
 5         THE VIDEOGRAPHER: Good morning. We are              08:18:16           5 truth, the whole truth, and nothing but the truth? 08:20:06
 6 on the record at 8:18 a.m. on July 27th, 2017.                                 6         THE DEPONENT: I do.
 7         This is the video-recorded deposition of                               7
 8 Travis Kalanick. My name is Jeffree Anderson, here                             8
 9 with our court reporter, Rebecca Romano.                                       9
10         We are here from Veritext Legal Solutions    08:18:31                 10                                      08:20:06
11 at the request of counsel for the plaintiff.                                  11
12         This deposition is being held at                                      12
13 405 Howard Street in San Francisco, California.                               13
14         The caption of this case is Waymo, LLC,                               14
15 versus Uber Technologies. Case number is 17-00939.       08:18:44             15                                      08:20:06
16         Please note that audio and video                                      16
17 recording will take place unless all parties agree                            17
18 to go off the record. Microphones are sensitive                               18
19 and may pick up whispers, private conversations,                              19
20 and cellular interference. And please be aware of     08:18:53                20                                      08:20:06
21 that.                                                                         21
22         Please state your name and the firm you                               22
23 represent, beginning with the noticing attorney.                              23
24         MR. VERHOEVEN: Charles Verhoeven,                                     24
25 Quinn Emanuel, representing Waymo.                   08:19:10                 25 /////                                09:37:59
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 1               TRAVIS KALANICK,                    09:37:59               1     A. Yeah. There were -- I know we had our             08:22:34
 2 having been administered an oath, was examined and                       2 head of litigation in the room.
 3 testified as follows:                                                    3     Q. And who do you mean by that?
 4                                                                          4     A. Angela Padilla.
 5               EXAMINATION                       09:37:59                 5     Q. Anyone else?                           08:22:44
 6 BY MR. VERHOEVEN:                                                        6     A. I mean, certainly the leaders of ATG were
 7    Q. Good morning, Mr. Kalanick.                                        7 there.
 8    A. Good morning.                                                      8     Q. Anyone else that you remember?
 9    Q. Do you know when Waymo filed the                                   9     A. Not that I remember. But that doesn't
10 complaint in this action?                     08:20:13                  10 mean they weren't there. I just -- I don't           08:23:00
11    A. I think that is sometime in February.                             11 remember.
12    Q. Do you know what day?                                             12          Probably came in a few minutes late, so I
13    A. I do not know.                                                    13 was --
14    Q. Do you know when Anthony Levandowski                              14     Q. Okay.
15 first asserted the Fifth Amendment in the Waymo            08:20:28     15     A. -- rushing in to the meeting.             08:23:07
16 litigation?                                                             16     Q. And you spoke directly with
17    A. Sometime in March.                                                17 Mr. Levandowski?
18    Q. Do you know which day?                                            18     A. He was speaking to the whole -- to the
19    A. I do not know.                                                    19 whole company -- or to the whole group.
20    Q. And how did you find out about that?          08:20:41            20     Q. After the complaint was filed, did you          08:23:16
21    A. I found out there were sort of a couple                           21 personally reach out to Mr. Levandowski and say,
22 meetings. They were with attorneys.                                     22 What's going on here?
23    Q. Did you ever talk with                                            23          MS. DUNN: Objection to form.
24 Anthony Levandowski about whether he took Google                        24          THE DEPONENT: I don't have a specific
25 documents or Waymo documents?                        08:21:06       25 recollection about a specific conversation, but I            08:23:28
                                                               Page 14                                                                        Page 16

 1     A. Yes.                             08:21:08                         1 do -- I do feel like some kind of interaction         08:23:33
 2     Q. When was the first time you had such a                            2 happened post the complaint.
 3 conversation?                                                            3     Q. (By Mr. Verhoeven) Why do you feel like
 4     A. It was upon the complaint. The -- the                             4 that?
 5 all-hands the day after the complaint, he          08:21:20              5     A. I don't know. It's just like a vague       08:23:43
 6 discussed -- he discussed working from home and                          6 sort of understanding, like a vague feeling.
 7 downloading files in that regard.                                        7     Q. Do you remember learning that the
 8     Q. So the complaint was filed, and then                              8 complaint was filed?
 9 there was an all-hands meeting?                                          9     A. Yes.
10     A. Yeah. Correct.                       08:21:55                    10     Q. Before that time, had you known anything           08:23:53
11     Q. Were you involved in setting up the                              11 about Mr. Levandowski downloading Google
12 all-hands meeting?                                                      12 documents --
13     A. No, I wasn't.                                                    13     A. No.
14     Q. Did you -- you need to speak up a little                         14     Q. -- and taking them with him?
15 bit.                                  08:22:01                          15          MS. DUNN: Objection to form.                 08:24:03
16     A. Sorry. No, I wasn't. I apologize.                                16          THE DEPONENT: No.
17     Q. Who -- who set the meeting?                                      17     Q. (By Mr. Verhoeven) So you were surprised
18     A. I don't know.                                                    18 then when you read the complaint?
19     Q. Did you attend the meeting?                                      19     A. I haven't read the complaint.
20     A. I did.                           08:22:07                        20     Q. You've never read the complaint?               08:24:10
21     Q. All right. Who was at the meeting?                               21     A. No.
22     A. I think it was all of the San Francisco                          22     Q. How did you find out about the
23 and Pittsburgh ATG employees. At the time I think                       23 allegations in the complaint?
24 we called it ATC.                                                       24     A. John Quinn called me upon -- I don't know
25     Q. Anyone else from management?                  08:22:30           25 if it was when he -- when the -- when it was filed,       08:24:19
                                                                 Page 15                                                                      Page 17

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 1 but it was right around the time it was filed.        08:24:22              1 just -- I don't remember.                      08:26:54
 2     Q. And what did you do next?                                            2          You know, the -- I had my -- my meetings.
 3     A. I went to my next meeting.                                           3 My days are just scheduled sort of -- they're very
 4     Q. So did you do anything with -- next with                             4 full. They start early in the morning and they go
 5 respect to the allegations of the complaint?          08:24:31              5 sometimes till 11:00 p.m. or midnight. And               08:27:04
 6     A. I mean, we had an all-hands the next day.                            6 sometimes it could be, you know, just I talked to
 7     Q. So you didn't reach out to                                           7 somebody in the minutes between meetings.
 8 Mr. Levandowski before he spoke to the whole group?                         8 Sometimes the meetings just keep rolling.
 9        MS. DUNN: Objection to form.                                         9 Sometimes they go long.
10        THE DEPONENT: I may have. I don't                  08:24:44         10       Q. But you -- you saw him and you interacted        08:27:16
11 remember specifically.                                                     11 with him at this all-hands meeting, correct?
12     Q. (By Mr. Verhoeven) Well, do you remember                            12       A. Correct. Yes.
13 having the -- withdrawn.                                                   13       Q. Did you ask him, What's the deal with
14        Do you remember the substance of the                                14 these allegations about downloading documents?
15 first conversation you personally had with him            08:24:52         15       A. I don't remember specifically saying           08:27:27
16 after the filing of the complaint relating to this                         16 that, but that feels, of course, like something
17 allegation of the download of Google documents?                            17 that I would want to know.
18     A. The first substantive conversation that I                           18       Q. What did you -- what do you remember
19 recall was at the all-hands.                                               19 saying?
20     Q. Okay. What happened at the all-hands on            08:25:07         20       A. I -- I don't remember that -- like that    08:27:34
21 this subject -- well, just generally, what happened                        21 kind of interaction specifically. But he certainly
22 at the all-hands?                                                          22 explained himself during that -- during that
23     A. We got -- we sort of -- we were -- we                               23 meeting.
24 wanted to talk about the technology that we built                          24       Q. Wouldn't you expect that you would ask
25 and that we had built it from the ground up.          08:25:24       25 him that question personally?                            08:27:51
                                                                Page 18                                                                           Page 20

 1        We wanted to give the employees the            08:25:27              1          MS. DUNN: Objection to form.                08:27:54
 2 confidence that we had that the technology was                              2          THE DEPONENT: Generally, yeah. I mean,
 3 built from the ground up.                                                   3 general- --
 4     Q. Was the meeting called in connection with                            4       Q. (By Mr. Verhoeven) You don't remember
 5 the filing of the lawsuit?                     08:25:36                     5 it?                                    08:27:59
 6     A. Yes.                                                                 6       A. Don't remember specifically.
 7     Q. Okay. And who spoke on that subject?                                 7       Q. What did Mr. Levandowski say at the
 8     A. So I spoke for part of it. Anthony spoke                             8 meeting?
 9 for part of it. A large portion of the speaking                             9       A. He said that he worked from home and that
10 time was taken by James Haslam, who was the head of           08:26:00 10 he downloaded files when he worked from home --                   08:28:09
11 the laser effort at ATG.                                                   11 when he worked from home.
12        Angela spoke. And, I mean, other people                             12       Q. Anything else?
13 may have, but I don't remember.                                            13       A. There may have been other things. That
14     Q. Did you have a discussion with                                      14 was certainly something I remember from his -- from
15 Mr. Levandowski before the meeting started to             08:26:25         15 his comments.                                08:28:26
16 discuss what he was going to speak about and what                          16       Q. Do you remember anything else though?
17 you were going to speak about?                                             17       A. I mean, I remember James showing the
18     A. I don't recall specific discussion, but I                           18 laser that he built.
19 may have.                                                                  19       Q. No. I mean -- I'm sorry. I apologize.
20     Q. Would you expect that you would have?              08:26:37         20 I meant with respect to what Mr. Levandowski said.            08:28:36
21     A. I -- I certainly would have liked to.                               21       A. I don't remember anything else, no.
22     Q. Do you have any reason to believe you did                           22       Q. Okay. Did he specify in any more detail
23 not?                                                                       23 than just saying he downloaded files?
24     A. I just don't remember specific                                      24       A. I don't think so.
25 discussion. Doesn't mean I didn't have it, I         08:26:51              25       Q. Did you have a discussion with him during        08:28:50
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 1 or after the meeting about his admission that he          08:28:53          1 meeting?                                   08:31:28
 2 downloaded files?                                                           2     A. Cameron. I am trying to think who else.
 3         MS. DUNN: Objection to form.                                        3 Nina. Anthony was there. I was there.
 4         THE DEPONENT: I don't remember a                                    4          There may have been others. I don't -- I
 5 specific discussion, but I do -- I do remember like       08:28:58          5 don't remember.                                 08:31:47
 6 hearing that, Did any files get to Uber? And doing                          6     Q. This was an in-person meeting?
 7 everything we can to make sure they didn't.                                 7     A. Yeah.
 8     Q. (By Mr. Verhoeven) Were you aware prior                              8     Q. Where was it?
 9 to the meeting that Mr. Levandowski had Google                              9     A. It was at Uber HQ, 1455 Market Street.
10 files that he'd taken with him?                   08:29:19                 10     Q. Why would Mr. Levandowski tell you at                 08:32:03
11         MS. DUNN: Objection to form.                                       11 this meeting that he had had five discs of Google
12         THE DEPONENT: We had -- we had -- there                            12 files?
13 was a discussion during -- during the deal phase in                        13          MS. DUNN: Objection to form.
14 the March time frame -- this is 2016 -- where he                           14          THE DEPONENT: I don't know why he told
15 had -- where he had told a group of people, and I          08:29:41        15 us. But it's important when you do a deal that             08:32:15
16 was in that meeting, that he had some discs and                            16 people sort of disclose if there's any -- any
17 some content from his previous employer.                                   17 things that need to be discussed before a deal is
18     Q. (By Mr. Verhoeven) What did he --                                   18 consummated.
19     A. Backup discs, or something like that.                               19     Q. (By Mr. Verhoeven) Were there some
20     Q. Did he say "backup discs"?                  08:29:59                20 circumstances that made it appropriate at this             08:32:30
21     A. I think so.                                                         21 meeting for him to disclose that, that you're aware
22     Q. And what did he say about what was on                               22 of?
23 those discs?                                                               23     A. I don't remember. I don't remember
24     A. He didn't.                                                          24 anything specific.
25     Q. Did he -- did he indicate that those         08:30:08               25     Q. What was the purpose of the meeting?                08:32:38
                                                                    Page 22                                                                       Page 24

 1 discs contained Google files?                      08:30:10                 1     A. You know, I think as we get closer to            08:32:45
 2     A. He indicated that they had some kind of                              2 deals, we have to have discussions about, Okay,
 3 content from his previous employer.                                         3 what are the things we need to do to get a deal
 4     Q. Okay. He didn't say they have some kind                              4 done?
 5 of content, did he?                            08:30:20                     5          I don't -- I don't know the specific      08:32:53
 6     A. I don't know what his specific words                                 6 purpose though.
 7 were.                                                                       7     Q. You don't remember?
 8     Q. Okay. And did you say anything in                                    8     A. No.
 9 response to that?                                                           9     Q. Going back to the all-hands meeting --
10     A. I did.                           08:30:30                           10     A. Yeah.                               08:33:05
11     Q. What did you say?                                                   11     Q. -- you don't remember having a discussion
12     A. I said that he -- we -- that we, as a                               12 with Mr. Levandowski after he made his
13 whole, need to make sure that that content does not                        13 presentation?
14 make it to Uber, and that he needs to talk to                              14     A. I mean, I've had many discussions with
15 attorneys to figure out how to make sure that's           08:30:43         15 Levandowski like over the years.                      08:33:19
16 done properly.                                                             16     Q. I meant -- I meant -- let me --
17     Q. But you don't remember at this meeting                              17     A. Yeah.
18 asking him what is it that's on the files?                                 18     Q. I'm sorry. The question was vague.
19     A. No.                                                                 19     A. Yeah.
20     Q. You don't remember asking him about any              08:31:11       20     Q. You don't remember any conversation                 08:33:26
21 of the circumstances surrounding the files?                                21 during the meeting, after he made the presentation,
22     A. No, I do not. I just wanted to make sure                            22 with Mr. Levandowski?
23 that files from his previous employer or anywhere                          23     A. Well, the meeting was -- I mean, the
24 else were not making it to Uber.                                           24 meeting wasn't a discussion between him and me.
25     Q. Did anyone -- who else was at the              08:31:27             25 The meeting was us sort of speaking to the company.            08:33:38
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 1      Q. And after it broke up, did you go up and 08:33:44          1        He built this thing with his own blood,      08:36:10
 2 talk to him?                                                       2 sweat, and tears. And be accused of -- of doing
 3      A. I don't think so.                                          3 that, of -- of taking something, he...
 4      Q. Why not?                                                   4     Q. Are you finished with your answer?
 5      A. I got a full day. I mean, I should       08:33:52          5     A. Well, I was in the middle of my answer.        08:36:34
 6 probably look at my calendar and see what the                      6     Q. I'm listening.
 7 schedule was.                                                      7     A. Well, okay. To be accused of doing
 8      Q. So you maintain a calendar?                                8 something that he didn't do when he put in his
 9      A. Yeah, of course.                                           9 own -- his own mind, his own effort to make
10      Q. How is that maintained?                 08:34:03          10 something he was proud of was -- was an emotional         08:36:49
11      A. My assistant maintains it.                                11 thing for him, and I think for a lot of people.
12      Q. And the name of your assistant, please?                   12     Q. So are you just saying what you believe
13      A. Tyler Blum.                                               13 he -- he was thinking, or are you talking about
14      Q. And is it stored in a file somewhere? Is                  14 something he said?
15 it in a program?                           08:34:15               15     A. I'm talking about how a large group of        08:37:01
16      A. It's on Google servers.                                   16 people felt --
17      Q. Is there an application that she uses?                    17     Q. Okay.
18      A. Tyler is a guy.                                           18     A. -- post that complaint.
19      Q. I'm sorry.                                                19     Q. Do you remember what Mr. Haslam said at
20      A. That's okay.                       08:34:26               20 the meeting?                              08:37:12
21      Q. Is there a application that Mr. Bloom                     21     A. Yeah. He talked about the laser that he
22 uses?                                                             22 built and how he built it, how his team built it.
23      A. Blum.                                                     23 You know, he talked about the different components
24      Q. Blum?                                                     24 and things you would only know if you built it.
25      A. Yeah.                            08:34:33                 25 And, of course, he never worked at Google.            08:37:26
                                                           Page 26                                                                  Page 28

 1        It's called -- it's called           08:34:32            1     Q. Did he -- what else did he say when he        08:37:30
 2 Google Calendar. I'm sure your client would be                  2 spoke at the meeting?
 3 happy about that.                                               3     A. I think that was the majority of it.
 4     Q. What did you say at this all-hands                       4     Q. Do you remember anything else that
 5 meeting?                                   08:35:02             5 Mr. Haslam said when he spoke at the meeting?           08:37:40
 6     A. I spoke about how it has always been                     6     A. I do not.
 7 important for us to build technology from the                   7     Q. What about Ms. Padilla?
 8 ground up, that Uber, we're innovators at Uber. At              8     A. Ms. Padilla, she spoke about our
 9 Uber, we're leaders.                                            9 confidence that we had built this technology from
10        And we made sure during the deal process, 08:35:1710 the ground up, and spoke about, sort of at a high           08:38:01
11 as well as subsequent -- you know, following that,             11 level, sort of the kind of processes we go through
12 that the technology we made was ours.                          12 to make sure that the technology we build is -- is
13        And this is really about -- you know,                   13 ours.
14 we've got literally, at this point, hundreds, if               14     Q. And what processes did she talk about?
15 not close to 1,000 at the point -- at that point,    08:35:35 15      A. She didn't go into the process -- any       08:38:21
16 hundreds of people who built this technology                   16 processes in detail, but, you know, just our
17 themselves with their own hands, with their own                17 values, you know, and the things we do, just at a
18 minds. And we're being accused of not having done              18 high level, to make sure that we built things the
19 so.                                                            19 right way.
20        And for them it was an emotional thing.        08:35:49 20     Q. And what things did -- did that -- that     08:38:37
21        Right. So James Haslam, the guy who                     21 Uber does --
22 built our laser team and built the laser which we              22     A. Yeah.
23 have been -- you know, we have been trying to get              23     Q. -- did she mention?
24 to market, he didn't work at Google. He didn't see             24     A. I don't remember specifically what those
25 any files.                               08:36:08              25 were that she mentioned.                       08:38:45
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                        ATTORNEYS' EYES ONLY
 1     Q. Do you remember any process to ensure           08:38:47           1     A. Yes, I think so.                       08:40:24
 2 that Google didn't use other people's proprietary                         2     Q. Okay. What do you remember about that?
 3 information that she mentioned during the meeting                         3     A. Well, I remember Anthony's answer.
 4 when she spoke?                                                           4     Q. Do you remember -- okay.
 5          MS. DUNN: Objection to form.               08:39:00              5         What was Anthony's answer?                  08:40:33
 6          MR. CHATTERJEE: Join.                                            6     A. Anthony's answer was that he downloaded
 7          MS. DUNN: And Charlie, you might want to                         7 files when he worked from home.
 8 rephrase the question.                                                    8     Q. The same thing you remembered him saying
 9          MR. VERHOEVEN: Okay. I did misspeak. I                           9 before?
10 apologize.                              08:39:08                         10     A. Correct. Yes.                          08:40:41
11          THE DEPONENT: I am not familiar with                            11     Q. Do you remember anything else about what
12 Google's processes.                                                      12 he said in his answer?
13     Q. (By Mr. Verhoeven) Yes, I meant to say                            13     A. I do not.
14 Uber.                                                                    14     Q. Okay.
15    A. That's okay. Can you say the question          08:39:14            15     A. I think it was -- it was -- I remember it    08:40:48
16 again.                                                                   16 being a short answer.
17     Q. Yes, I will.                                                      17     Q. Were you surprised by that answer?
18          Do you remember any process to ensure                           18     A. I was not, no.
19 that Uber didn't use other people's proprietary                          19     Q. Why not?
20 information that she mentioned during the meeting        08:39:22        20     A. I don't know. I -- I feel like -- I       08:40:58
21 when you spoke?                                                          21 think there's a couple things. One is I kind of
22    A. Yeah. I don't -- I don't think she                                 22 felt like -- like I'm not sure if it's post
23 mentioned specific processes, but she did talk                           23 complaint but before the all-hands that we had had
24 about our confidence that we were going to win the                       24 some kind of discussion about it, I can't remember,
25 case.                                 08:39:34                           25 or just simply so much confidence that we had done          08:41:12
                                                                  Page 30                                                                     Page 32

 1     Q. What did she say about that?              08:39:35     1 the right thing and that we built this from the     08:41:16
 2     A. She said we're going to win.                           2 ground up, that it sounded like a normal answer.
 3     Q. Anything else?                                         3     Q. So it wasn't surprising to you that he
 4     A. She may have, but I do remember that                   4 downloaded -- he had downloaded Google/Waymo
 5 part.                                 08:39:42                5 documents in his possession?                     08:41:30
 6     Q. Do you remember anything else?                         6         MS. DUNN: Objection to form.
 7     A. Not specifically.                                      7         THE DEPONENT: I think it was -- if
 8     Q. Generally, that she said?                              8 indeed that's what happened, that's certainly
 9     A. I think -- I think I have spoken to that.              9 unfortunate. I was not happy about that.
10     Q. So you've told me everything you            08:39:52 10      Q. (By Mr. Verhoeven) Do you remember not            08:41:40
11 generally remember?                                          11 being happy?
12     A. Yeah.                                                 12     A. Yeah. Certainly, over time I became more
13     Q. Okay.                                                 13 and more unhappy about it, but yes.
14     A. Yeah.                                                 14     Q. Did you -- I think you mentioned, but
15     Q. Did anyone ask any questions at the         08:40:03 15 correct me if I'm wrong, that when you spoke --         08:42:02
16 all-hands meeting?                                           16     A. Yeah.
17     A. Yes.                                                  17     Q. -- at the meeting, you talked about steps
18     Q. Who asked questions?                                  18 that were taken during the process of the
19     A. I don't know.                                         19 acquisition that ensured that no information made
20     Q. Do you remember any of the questions          08:40:1220 it to Uber?                               08:42:15
21 generally?                                                   21     A. I mean, I didn't get into steps, but I
22     A. No.                                                   22 talked about our confidence, the confidence I had
23     Q. Did anyone ask about whether the                      23 in the team that did the deal, and generally the
24 allegations in the complaint about downloading               24 team that built processes to make sure that content
25 documents were true?                          08:40:23       25 from anybody's previous employer, and certainly         08:42:33
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                        ATTORNEYS' EYES ONLY
 1 Google in this particular transaction, didn't make      08:42:36            1 deal.                                   08:44:48
 2 it to Uber.                                                                 2     Q. So can you give me a time frame?
 3     Q. And what team were you referring to?                                 3     A. Sorry. Let's call it March/April of
 4     A. You know, the deal team. So this would                               4 2016, in that time period.
 5 be like Cameron on bus dev and corp dev; Salle Yoo,         08:42:44        5     Q. You had a conversation concerning whether           08:45:02
 6 our general counsel, and her team, you know; and                            6 or not Mr. Levandowski downloaded Google/Waymo
 7 various other folks that were involved.                                     7 documents, correct?
 8     Q. I assume -- well, let me ask you. Was                                8          MS. DUNN: Objection to form.
 9 there any transcript or video of the all-hands                              9          THE DEPONENT: Can you restate the
10 meeting?                                  08:43:04                         10 question.                                08:45:13
11     A. I don't know.                                                       11          MS. DUNN: Also --
12     Q. Before the complaint was filed -- let me                            12          MR. VERHOEVEN: I can read it back.
13 back up. I'm now scoping out again --                                      13          MS. DUNN: The only conversations that
14     A. Yeah.                                                               14 we've talked about are conversations with
15     Q. -- and ask you general questions.             08:43:18              15 attorneys. And the witness has been instructed not        08:45:19
16     A. Yeah, yeah.                                                         16 to answer.
17     Q. You've already testified that you recall                            17     Q. (By Mr. Verhoeven) You had conversations
18 a conversation before the complaint was filed in                           18 during this time frame that concern the subject
19 which Mr. Levandowski referred to these discs.                             19 matter of Mr. Levandowski and whether or not he
20     A. Yeah.                              08:43:32                         20 took Google or Waymo documents, correct?                   08:45:36
21     Q. Okay.                                                               21          MS. DUNN: Objection. Same basis.
22     A. Some sort of backup discs or something,                             22          The witness is instructed not to answer.
23 yeah.                                                                      23 He has already told you that the only conversation
24     Q. Other than that conversation, do you                                24 he has had and you have asked about are with
25 recall any conversation that you had with             08:43:38        25 counsel.                                      08:45:50
                                                                 Page 34                                                                        Page 36

 1 Mr. Levandowski about whether or not he had Google              08:43:40    1          MR. VERHOEVEN: Yes. But he's also                08:45:53
 2 or Waymo files before the filing of the complaint?                          2 testified that he had conversations on that
 3     A. No.                                                                  3 subject. I'm simply confirming that.
 4     Q. Do you -- do you recall any conversation                             4          MS. DUNN: Well, if you believe he's
 5 that you had with anybody about whether                 08:43:53            5 testified to it, you don't need to confirm it.      08:45:59
 6 Mr. Levandowski took Google or Waymo files prior to                         6          The witness is instructed not to answer.
 7 the filing of the complaint?                                                7     Q. (By Mr. Verhoeven) Who was at the -- how
 8     A. No. I mean, outside -- sorry. Excuse                                 8 many meetings do you recall in March or April?
 9 me. Outside of discussions -- a couple of                                   9          MS. DUNN: Objection to form.
10 discussions with attorneys as we were going through        08:44:12        10          MR. CHATTERJEE: Join.                      08:46:09
11 a diligence process.                                                       11          THE DEPONENT: I don't know. Two or
12     Q. Okay. So there was a couple of                                      12 three. I can't say for sure, but that feels about
13 discussions with attorneys that covered that                               13 right.
14 subject?                                                                   14     Q. (By Mr. Verhoeven) And why did you have
15     A. Yeah.                              08:44:20                         15 these meetings?                               08:46:22
16     Q. Okay. What do you remember?                                         16          MS. DUNN: Objection. Same basis.
17         MS. DUNN: Objection.                                               17          And I'm happy to stop this deposition if
18         I'm going to instruct the witness not to                           18 we're going to continue to have questions that just
19 answer about conversations that he had with                                19 get to privileged communications.
20 attorneys.                               08:44:28                          20     Q. (By Mr. Verhoeven) Is there anything --           08:46:32
21     Q. (By Mr. Verhoeven) Do you remember when?                            21          MR. VERHOEVEN: He's allowed to testify
22     A. It was leading up to the deal -- leading                            22 about nonprivileged aspects of my questions,
23 up to the closing of the deal, yeah.                                       23 Counsel.
24     Q. So August 2016?                                                     24          MS. DUNN: That's not what you're asking
25     A. Sorry. Leading up to the signing of the        08:44:45        25 about.                                       08:46:38
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                        ATTORNEYS' EYES ONLY
 1     Q. (By Mr. Verhoeven) Did you have this             08:46:40            1     A. I don't remember specifically.                08:48:44
 2 meeting because attorneys required you or asked you                         2     Q. Was anything else discussed at the
 3 to?                                                                         3 meeting?
 4        MS. DUNN: Objection. Same basis.                                     4     A. I think so, yes.
 5        You're instructed not to answer.           08:46:46                  5     Q. Can you tell me what you remember.                 08:48:50
 6     Q. (By Mr. Verhoeven) What was the purpose                              6     A. I don't remember much of it.
 7 of the meeting?                                                             7     Q. Do you remember anything, though?
 8        MS. DUNN: Objection. Same basis.                                     8     A. Not really.
 9        MR. VERHOEVEN: I'm making my record,                                 9     Q. Okay. So the answer is no?
10 Counsel.                                  08:46:56                         10     A. The answer is not really.                    08:49:02
11        MS. DUNN: Well, you -- you made your                                11     Q. But you don't remember -- you can't
12 record.                                                                    12 identify for me anything else that occurred in the
13        MR. VERHOEVEN: No. I have to make my                                13 meeting, correct?
14 record so that when I go and move to compel later,                         14         MS. DUNN: Objection to form.
15 I have a basis. And I can say -- demonstrate to         08:47:02           15         THE DEPONENT: I'm trying to think if              08:49:13
16 the Court the specific questions that you                                  16 there's anything. I mean, other than generally
17 instructed on.                                                             17 just talking about the deal and getting the deal to
18        So I'm going to ask the questions.                                  18 closure, I -- I don't have more specifics on that.
19        MS. DUNN: Charlie, as you know, if you                              19     Q. (By Mr. Verhoeven) Okay. Did you have
20 continue to ask the same questions about the same         08:47:15         20 another meeting during the March/April time frame               08:49:36
21 privileged information, that's improper.                                   21 on the subject of Levandowski and Google or Waymo
22     Q. (By Mr. Verhoeven) Who was at the first                             22 documents?
23 of these meetings?                                                         23     A. I had at least a couple meetings with my
24     A. So what I can do is I can speak to the                              24 general counsel about diligence, generally.
25 meeting I had that didn't have attorneys.             08:47:27             25     Q. Was the subject of Google documents                08:50:03
                                                                    Page 38                                                                      Page 40

 1     Q. Okay.                              08:47:29                          1 discussed during those meetings?                      08:50:06
 2     A. So --                                                                2         MS. DUNN: Objection. The content of
 3     Q. Which meeting was that?                                              3 those meetings would be privileged.
 4     A. That was the meeting that had Cameron and                            4         You're instructed not to answer.
 5 Nina and Anthony, and possibly others, I just can't      08:47:37           5     Q. (By Mr. Verhoeven) And when you say                 08:50:17
 6 remember. And this is the meeting we spoke to                               6 "general counsel," who was that at the time?
 7 earlier -- that I spoke to earlier.                                         7     A. Salle Yoo.
 8     Q. Okay. So this is the meeting about the                               8     Q. Was the subject of diligence concerning
 9 five discs or that -- in which the five discs came                          9 Mr. Levandowski discussed at this meeting?
10 up?                                    08:47:54                            10         MS. DUNN: Objection. Content of the               08:50:38
11     A. Well, I -- I'm not sure how many discs,                             11 meeting and discussions is privileged.
12 but it was something like that, yes.                                       12         You're instructed not to answer.
13     Q. Okay. And why were you having that                                  13     Q. (By Mr. Verhoeven) There was a couple of
14 meeting?                                                                   14 meetings, correct?
15     A. Okay. We were having that meeting                08:48:06           15     A. I remember -- I remember a couple. Like            08:50:49
16 because -- well, I don't remember the exact, like,                         16 it -- it's -- it feels like it was a couple. I
17 calendar request or purpose, but we were getting                           17 don't know for sure, but something like that.
18 through a deal process and we wanted to sort of get                        18     Q. Who was at the first meeting?
19 to the -- see if we can get to closure on the deal.                        19     A. I don't know. I know that our general
20     Q. Did someone at the meeting ask                 08:48:28             20 counsel was. I'm not sure if there were others           08:51:05
21 Mr. Levandowski whether or not he had any Google                           21 there or not. I can't remember.
22 documents?                                                                 22     Q. Do you remember if there were outside
23     A. I don't remember that.                                              23 counsel?
24     Q. Do you remember whether he volunteered it                           24     A. I can't remember. I don't think so.
25 or whether it was in response to a question?           08:48:38       25          Q. Was anyone from Morrison Foerster there?                08:51:15
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 1    A. I don't know.                        08:51:22                        1 other than the ones you've already testified about?      08:53:17
 2     Q. Was anyone from O'Melveny Myers there?                              2        MS. DUNN: Objection to form.
 3    A. I don't know.                                                        3        MR. CHATTERJEE: Join.
 4     Q. Same questions for the second meeting.                              4        THE DEPONENT: No.
 5 Do you remember who was there?                      08:51:30               5     Q. (By Mr. Verhoeven) After the -- we're           08:53:36
 6    A. No, not specifically.                                                6 still way out. After the all-hands meeting --
 7     Q. You do remember that general counsel                                7     A. Yeah.
 8 Salle Yoo was there?                                                       8     Q. -- moving forward from that --
 9    A. Yes.                                                                 9     A. Yeah.
10     Q. Was anyone else from Uber there?             08:51:39              10     Q. -- what was the next conversation, if        08:53:49
11    A. Possibly, but I just -- I just don't                                11 any, that you had with Mr. Levandowski concerning
12 remember.                                                                 12 the subject of whether or not he took Google/Waymo
13     Q. Was anyone from Otto there?                                        13 documents?
14    A. I don't know. I don't think so.                                     14     A. I don't remember the next conversation
15     Q. Was Mr. Levandowski there?                  08:51:51               15 specifically. But regarding this topic, I was         08:54:01
16    A. I don't think so.                                                   16 pretty -- I was pretty serious with him about
17     Q. And that goes for the -- the first of                              17 making sure that these files had not and will not
18 those two meetings, too?                                                  18 make it to Uber.
19    A. Yeah.                                                               19     Q. And can you explain what you mean by
20     Q. Did you learn that -- at either of these 08:52:09                  20 "pretty serious about."                       08:54:49
21 meetings, did you learn that Mr. Levandowski had                          21     A. We believe in building things, and we
22 taken Google documents when he left?                                      22 believe in building things the right way. And I
23        MS. DUNN: Objection. Contents of the                               23 wanted to make it absolutely clear that no files of
24 meeting would be privileged communications.                               24 any kind from anybody's previous employer make it
25        The witness is instructed not to answer.    08:52:23               25 to Uber. And I have always made that very clear to        08:55:10
                                                                   Page 42                                                                    Page 44

 1         MR. VERHOEVEN: To just whether he                08:52:29          1 many people at the company.                        08:55:13
 2 learned it.                                                                2        And when you hear of something like
 3         MS. DUNN: What he learned at those                                 3 somebody downloading files, you say, Look, have --
 4 meetings would be privileged.                                              4 has any of these files made it over to Uber?
 5         MR. VERHOEVEN: Okay. I'm just                  08:52:34            5        And you get through that question, and         08:55:28
 6 clarifying --                                                              6 then the next question or the next sort of
 7         MS. DUNN: I understand.                                            7 statement or command is, You need to make sure that
 8         MR. VERHOEVEN: -- you're instructing on                            8 nothing of any kind that comes from any previous
 9 that.                                                                      9 place makes it to this company, period.
10         MS. DUNN: I'm instructing on that.           08:52:40             10     Q. What did you say to Mr. Levandowski on            08:56:08
11     Q. (By Mr. Verhoeven) Going back out, any                             11 that subject?
12 other conversations concerning Levandowski's taking                       12     A. I made it very clear to him that we -- I
13 the Google documents, other than what you've                              13 made it very -- well, the first question is, Did
14 already testified about --                                                14 anything make it to Uber?
15     A. Yeah.                             08:52:53                         15        And he made it very clear to me that         08:56:22
16     Q. -- prior to filing of the complaint, that                          16 absolutely nothing that he downloaded made it to
17 you remember?                                                             17 Uber in any way.
18     A. No.                                                                18        And the second part is, I made it very
19         MS. DUNN: Objection to form.                                      19 clear to him how important it was to me that that
20         MR. CHATTERJEE: Join.                       08:52:57              20 was the case and that we would look into               08:56:37
21     Q. (By Mr. Verhoeven) Okay. Prior to the                              21 everything, every server, every person at the
22 filing of the complaint, are there any other                              22 company, to make sure that that was true.
23 conversations that you've had with anyone that you                        23     Q. Okay. So -- when -- when did this
24 can recall that concerned the subject matter of                           24 conversation happen?
25 Mr. Levandowski taking Google or Waymo documents,                08:53:13 25     A. I don't remember -- I don't remember when         08:56:50
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 1 this specific conversation happened or like the        08:56:52            1     Q. What did you say to him generally?              08:59:25
 2 exact date or time, but I know that that kind of                           2     A. I generally said -- well, the -- the
 3 conversation happened with him.                                            3 first -- the first thing is, Did any of these files
 4     Q. How do you know that?                                               4 make it over to Uber?
 5     A. I just -- I just generally recollect that   08:57:07                5     Q. Okay. So you asked him that question.            08:59:38
 6 kind of conversation.                                                      6     A. Yes.
 7     Q. But you don't remember when it happened?                            7     Q. What did he say?
 8     A. No.                                                                 8     A. He said, Absolutely not.
 9     Q. Do you remember what month it happened                              9     Q. Did you ask him, Did you take Google
10 in?                                    08:57:18                           10 files with you?                              08:59:48
11     A. I mean, I can guess that it was pretty                             11     A. I did not ask him.
12 close to the all-hands meeting.                                           12     Q. Why not?
13     Q. Was it after or before the all-hands                               13     A. I -- I don't know. I just didn't.
14 meeting?                                                                  14     Q. Wouldn't that be important to you to
15     A. I feel like that was after, but I don't     08:57:31               15 know?                                      08:59:56
16 know for sure. It may have been after the                                 16          MS. DUNN: Objection to form.
17 complaint and before the all-hands, but I -- I                            17          THE DEPONENT: My biggest concern was
18 can't remember for sure.                                                  18 that nothing from Google ended up at Uber. That
19     Q. Was it in February of 2017?                                        19 was the most important thing for me.
20     A. I mean, whenever the complaint was and           08:57:50          20     Q. (By Mr. Verhoeven) But you were                  09:00:09
21 the all-hands, there was probably, I don't know,                          21 concerned that -- that -- about the allegation that
22 maybe 12 to 24 hours in between. It was either in                         22 he downloaded 14,000 proprietary files from Google
23 that portion of time or in the hours following the                        23 before he left and joined your company, weren't
24 all-hands meeting. And I don't know exactly --                            24 you?
25     Q. Was the conversation in person?               08:58:00             25          MS. DUNN: Objection to form.                 09:00:19
                                                                   Page 46                                                             Page 48

 1      A. I don't know for sure.                 08:58:04       1        THE DEPONENT: I was very -- I didn't             09:00:21
 2      Q. Was it over the phone?                                2 know the details of the allegation. We were going
 3      A. It may have been.                                     3 to -- we were going to look into that allegation
 4      Q. But you don't remember if it was in                   4 and find out what the details were.
 5 person or over the phone?                       08:58:14      5        But in the -- in the moment of that         09:00:33
 6      A. I do not know.                                        6 complaint and sort of let's call it the following
 7      Q. Was anyone else present during the                    7 days, my No. 1 concern is that nothing from Google
 8 conversation or on the line?                                  8 ended up at Uber. Period.
 9      A. I don't know for sure. I mean, on the                 9        And I was not just going to ask and find
10 line, my guess is probably not if it were over the 08:58:23 10 out, Hey, did anything make it? But I was also           09:00:50
11 phone. If it were in person, it could have just              11 going to do everything in my power to verify that
12 been like passing in the hall, or it could have              12 that was true.
13 been that I was with an attorney. I just don't --            13     Q. (By Mr. Verhoeven) But my question was,
14 I don't remember.                                            14 certainly you were concerned about the allegation
15      Q. Would that have been set on your            08:58:41 15 that had been made in the complaint that              09:01:04
16 calendar?                                                    16 Mr. Levandowski took files with him when he left
17      A. It may have been. I don't know. I -- I               17 Google to join Uber.
18 don't -- I don't know.                                       18        MS. DUNN: Objection to form.
19      Q. Did you schedule a meeting with him about            19     Q. (By Mr. Verhoeven) Weren't you concerned
20 it?                                    08:58:54              20 about that?                                09:01:19
21      A. I don't remember a specific meeting about            21     A. Anytime there's an allegation, and
22 it other than the all-hands, of course.                      22 including this kind of allegation, you're going to
23      Q. What did you say to him specifically?                23 have some kind of concern. And then the next thing
24      A. I don't remember what I specifically                 24 is you have to start looking into it and find out
25 said.                                   08:59:25             25 what's true.                               09:01:31
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                        ATTORNEYS' EYES ONLY
 1    Q. At the time you had the conversation, you 09:01:32                  1 going on.                               09:03:45
 2 were concerned about that, right?                                         2     Q. By whom?
 3    A. Yes. But what I -- but what I was most                              3     A. I don't remember.
 4 concerned about was making sure that nothing from                         4     Q. You don't remember?
 5 Google -- verifying that nothing from Google had        09:01:43          5     A. No.                             09:03:48
 6 made it over to Uber.                                                     6     Q. What conversations did you have within
 7       Now, I was generally confident that                                 7 Uber about this investigation that you referred to?
 8 nothing had. But when an allegation like that                             8        MS. DUNN: I will just caution the
 9 comes, you need to double- and triple-check.                              9 witness to only answer to the extent that it
10    Q. But you are sure you didn't ask him           09:01:57             10 doesn't involve conversations with counsel.           09:04:02
11 whether he downloaded those files?                                       11        THE DEPONENT: Yeah.
12    A. He admitted that he downloaded files.                              12        MR. VERHOEVEN: So just for the record,
13    Q. Okay. Did you talk about that with him                             13 Counsel, you're instructing the witness not to
14 when you had this conversation shortly after the                         14 answer any conversations he had with counsel about
15 complaint?                               09:02:07                        15 the subject of any investigations that were done      09:04:10
16    A. I don't remember doing that, no.                                   16 after the filing of the complaint?
17    Q. Why wouldn't you?                                                  17        MS. DUNN: I am -- I am instructing the
18       MS. DUNN: Objection to form.                                       18 witness to answer your question only to the extent
19        THE DEPONENT: I was most concerned about                          19 that it doesn't involve privileged communications
20 whether files had made it to Uber and had -- that's 09:02:22             20 with counsel. That's my instruction.               09:04:21
21 where I'm starting.                                                      21        MR. VERHOEVEN: Including conversations
22       You can imagine being in my position.                              22 on the subject of investigations done after the
23 The first thing you're going to ask, Did anything                        23 complaint?
24 that you have from your previous employer make it                        24        MS. DUNN: Charlie, your responsibility
25 to Uber?                               09:02:32                          25 is to ask the question.                    09:04:29
                                                                  Page 50                                                                    Page 52

 1        And then you get a very confirma- -- I       09:02:34    1     Q. (By Mr. Verhoeven) Do you remember any 09:04:30
 2 got a very confirmatory, Absolutely not.                        2 discussions you had with anyone within Uber about
 3        And then my second thing is, We are going                3 investigations done after the filing of the
 4 to make sure that that is the case. We are going                4 complaint?
 5 to have independent investigators look into this       09:02:44 5     A. I do.                            09:04:38
 6 and find out whether that is true. And you need to              6     Q. Okay.
 7 make sure that that continues to be true.                       7     A. Those -- all of those conversations
 8     Q. (By Mr. Verhoeven) Okay. Do you                          8 happened with attorneys for -- with the company.
 9 remember what you said to him about having                      9     Q. And for the record, how many -- what --
10 independent investigators --                    09:03:02       10 what did you discuss?                          09:04:50
11     A. No.                                                     11        MS. DUNN: Objection on grounds of
12     Q. -- make sure?                                           12 privilege.
13     A. I don't remember the specifics, but we                  13        The witness is instructed not to answer.
14 certainly had an investigation that started looking            14     Q. (By Mr. Verhoeven) How many discussions
15 through every server forensically, and started        09:03:15 15 did you have?                               09:04:57
16 interviewing -- started interviewing, you know,                16     A. I can't remember.
17 many engineers, dozen of engineers, to verify that             17     Q. What's your best estimate?
18 they hadn't seen any files, and verify that those              18     A. I would say a few to a handful. And
19 files never touched us.                                        19 these could have been brief things like, What's the
20     Q. Did you direct that specifically to        09:03:33     20 status? Or What's the update?                    09:05:11
21 happen?                                                        21        Sorry.
22     A. Our chief security officer, Joe Sullivan,               22        MS. DUNN: The witness is instructed not
23 did.                                                           23 to answer to the extent that it concerns content of
24     Q. And how do you know that?                               24 the conversations.
25     A. At some point I was told that that was        09:03:42 25      Q. (By Mr. Verhoeven) What was -- so you            09:05:19
                                                                  Page 51                                                                    Page 53

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                        ATTORNEYS' EYES ONLY
 1 asked what was the status --                     09:05:20        1 remember having an interaction like that of some        09:07:55
 2     A. Yeah.                                                     2 kind.
 3     Q. -- of the investigation at these meetings                 3     Q. Is that the best you can recall?
 4 with counsel?                                                    4     A. That's the best, yeah.
 5     A. These are conversations --                 09:05:27       5     Q. All right. Let's -- let's scope out      09:08:03
 6         MS. DUNN: I'm sorry. Hold on. I have                     6 again.
 7 to -- I mean...                                                  7     A. Okay.
 8         (Discussion off the stenographic record.)                8     Q. And let me ask, for the record, other
 9         MS. DUNN: Objection on grounds of                        9 than this general recollection you have --
10 privilege.                               09:06:19               10     A. Yeah. Yeah.                          09:08:32
11         The witness is instructed not to answer.                11     Q. -- did you have any other conversations
12     Q. (By Mr. Verhoeven) When was the first of                 12 with Mr. Levandowski after the complaint was filed
13 those meetings?                                                 13 concerning the subject of whether he took
14     A. I can't remember.                                        14 Google/Waymo documents?
15     Q. How many were there exactly?                  09:06:30 15       A. I mean, the general recollection, like      09:08:50
16     A. I can't remember.                                        16 that kind of conversation could have happened more
17     Q. Over what period of time did they occur?                 17 than once. I don't know for sure.
18     A. Over the months following the complaint.                 18     Q. You have no specific recollection.
19     Q. And what did you learn from those                        19     A. No.
20 meetings with counsel?                          09:06:47        20     Q. Do you have any recollection that's --       09:09:01
21         MS. DUNN: Objection on grounds of                       21 that's in any way concrete of speaking to
22 privilege.                                                      22 Mr. Levandowski after the complaint was filed,
23         The witness is not -- instructed not to                 23 other than this general recollection you have given
24 answer.                                                         24 me --
25     Q. (By Mr. Verhoeven) Did you receive              09:06:58 25     A. Yeah, no.                           09:09:13
                                                                   Page 54                                                          Page 56

 1 reports during those meetings of the status of the     09:06:59            1     Q. -- on the subject of whether or not he      09:09:13
 2 investigation?                                                             2 took Google/Waymo proprietary information?
 3        MS. DUNN: Objection on grounds of                                   3     A. Well, I think the -- the all-hands was a
 4 privilege.                                                                 4 very specific recollection.
 5        The witness is instructed not to answer.      09:07:04              5     Q. Other than that.                    09:09:27
 6     Q. (By Mr. Verhoeven) Let's go back --                                 6     A. No.
 7        MS. DUNN: Can we get a time check.                                  7     Q. At any time?
 8        THE VIDEOGRAPHER: We have been on the                               8     A. No.
 9 record for 49 minutes.                                                     9     Q. Why didn't you fire Mr. Levandowski after
10        THE DEPONENT: Six hours and 11 minutes.             09:07:25       10 the complaint was filed?                      09:09:43
11        MS. DUNN: Oh, this might be a good time                            11     A. I did.
12 to mention. So our position is, as I emailed you                          12     Q. I mean right after the complaint was
13 last night --                                                             13 filed.
14        MR. VERHOEVEN: Let's do that off the                               14     A. Oh, well, look, at Uber we have -- you
15 record because I don't want to use up time.           09:07:31            15 know, we see a number of allegations and             09:09:55
16        MS. DUNN: Okay.                                                    16 complaints. And the way we think about that is,
17     Q. (By Mr. Verhoeven) Let's go back to this                           17 when we see an allegation, we take it really
18 conversation that -- where you talked about the two                       18 seriously.
19 things --                                                                 19        We look into it. We investigate it. We
20     A. Yeah.                              09:07:40                        20 get to the bottom of it. And then we make a          09:10:14
21     Q. -- with Mr. Levandowski.                                           21 decision about what to do about it.
22     A. Yeah.                                                              22        And so immediately following an
23        And, again, that's like a general -- like                          23 allegation, we have to look into the allegation and
24 I can't remember the specific conversation, but I                         24 see what the details are before we take some kind
25 recollect those being the important things, and I      09:07:53           25 of action.                              09:10:29
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                        ATTORNEYS' EYES ONLY
 1     Q. Why didn't you fire Mr. Levandowski after         09:10:30          1     Q. (By Mr. Verhoeven) People work from home              09:12:19
 2 you learned from him -- from Mr. Levandowski                               2 at Uber all the time, too, don't they?
 3 himself, that he did download Google documents at                          3    A. Yes.
 4 the all-hands meeting?                                                     4     Q. How common a practice is that, generally?
 5     A. I think his explanation at the all-hands      09:10:44              5    A. More common than I would like.                   09:12:28
 6 meeting was that he was downloading files to work                          6     Q. So can you be any more specific about
 7 from home.                                                                 7 that?
 8     Q. So -- but you didn't ask him whether or                             8    A. About what, specifically?
 9 not he still had those and whether or not he was                           9     Q. People do it a lot?
10 using those files?                         09:11:00                       10    A. You know, I would say not a lot,                09:12:39
11          MS. DUNN: Objection to form.                                     11 but it -- but I would say people at Uber work
12          THE DEPONENT: Like I said, I made sure                           12 pretty hard.
13 that none of those files made it to Uber and that                         13     Q. Right.
14 they were not being used.                                                 14    A. And sometimes that means it's after
15     Q. (By Mr. Verhoeven) Did you specifically           09:11:07         15 having dinner with -- you know, with the family or          09:12:48
16 ask him, Did any of those files you downloaded                            16 something, and that's at home.
17 make -- make it to Uber?                                                  17     Q. Looking at your documents, it looks like
18     A. Absolutely.                                                        18 there's communications all the way up past
19     Q. What did he say?                                                   19 midnight.
20     A. Absolutely not.                      09:11:16                      20          Is that pretty routine at Uber?         09:12:58
21     Q. Did you ask him, Do you still have those                           21          MS. DUNN: Objection to form. And -- I
22 files?                                                                    22 will leave it at that for now. Objection to form.
23     A. I did not ask him that.                                            23          THE DEPONENT: I take pride in our work
24     Q. Why not?                                                           24 ethic.
25     A. I don't -- I don't know. I was -- I was       09:11:23             25     Q. (By Mr. Verhoeven) So it is pretty             09:13:11
                                                                   Page 58                                                                        Page 60

 1 mostly -- I was most concerned that content data,        09:11:25          1 routine.                                   09:13:12
 2 et cetera, from a previous employer was not being                          2     A. I mean, for some people yes, for some
 3 used to build what we build here at Uber.                                  3 people no.
 4     Q. Well, you knew that Mr. Levandowski took                            4     Q. And --
 5 his personal laptop to work, right?               09:11:39                 5     A. As an owner in the business, I would like        09:13:15
 6          MS. DUNN: Objection to form.                                      6 it to be more routine.
 7          THE DEPONENT: I didn't know that.                                 7     Q. And you don't expect them to -- to be at
 8     Q. (By Mr. Verhoeven) You didn't know there                            8 the office at that point in time, right?
 9 were any restrictions on that, did you?                                    9     A. It just depends, but not generally.
10          MS. DUNN: Objection to form.                09:11:48             10     Q. So it's okay if they're responding from         09:13:26
11          THE DEPONENT: I am just not in the weeds                         11 emails at home, right?
12 of that kind of stuff.                                                    12     A. Yeah.
13     Q. (By Mr. Verhoeven) People take their                               13     Q. I may have asked this before, and I
14 personal laptops to work all the time at Uber,                            14 apologize if I did. But you learned at the
15 don't they?                               09:11:55                        15 all-hands meeting that Mr. Levandowski had                09:13:53
16          MS. DUNN: Objection to form.                                     16 downloaded documents, correct?
17          THE DEPONENT: I don't think that's a                             17     A. Yes, but there may have been a -- there
18 normal process -- a normal thing. I think it                              18 may have been some conversation after the complaint
19 might -- maybe happens. You know, maybe it happens                        19 but before the all-hands where we discussed it. I
20 with some employees, but it's not something that we        09:12:06       20 just can't remember the specifics of it or whether       09:14:11
21 generally do.                                                             21 it happened or not. I just can't remember.
22     Q. (By Mr. Verhoeven) It's not prohibited,                            22     Q. Did you take any disciplinary action
23 is it?                                                                    23 against Mr. Levandowski once you learned that?
24     A. I don't think so.                                                  24          I mean, not later -- not two or three
25          MS. DUNN: Objection to form.                09:12:14             25 months later, but in direct response to learning        09:14:21
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                        ATTORNEYS' EYES ONLY
 1 that.                                    09:14:24                            1 happened with attorneys in the room that, for           09:16:27
 2     A. No. We -- we look into the allegations                                2 obvious reasons, I can't speak to.
 3 first, then decide what kind of disciplinary                                 3     Q. Well, you had that discussion with
 4 actions to take. That's generally how we -- we                               4 Mr. Levandowski without attorneys in the room where
 5 approach things.                               09:14:35                      5 you learned that he had files from Google, right?        09:16:37
 6     Q. But you knew personally that he had                                   6     A. Well, in that discussion there was an
 7 downloaded Google documents at that time, right?                             7 attorney in the room, but it was a -- it was an
 8         MR. CHATTERJEE: Form.                                                8 all-hands.
 9          THE DEPONENT: We learned -- I think, in                             9     Q. No, I'm talking about in the intake
10 the all-hands, you know, he stated that he                09:14:43          10 process back in March of 2016 --                    09:16:50
11 downloaded files while working from home --                                 11     A. Yeah, that's true. There was that one
12     Q. (By Mr. Verhoeven) So you did --                                     12 meeting, yeah.
13     A. -- when he was working at Google, which                              13     Q. Yeah. That was part of the transaction,
14 doesn't -- that -- we have to look into the details                         14 right?
15 about the complaint, we have to understand what he             09:15:00     15     A. Correct. Yeah.                        09:16:58
16 said, we have to get to the bottom of it, and then                          16     Q. You don't remember specifically --
17 decide what kind of action we should take.                                  17     A. Yeah.
18     Q. Somebody asked him does he still have                                18     Q. -- what step it was --
19 those files at that time, didn't they?                                      19     A. Yeah.
20         MS. DUNN: Objection to form.                  09:15:12              20     Q. -- but -- and you would agree that part       09:17:02
21          THE DEPONENT: Not a conversation I know                            21 of Uber's process when they're taking in an
22 about.                                                                      22 employee from a competitor would be to determine
23     Q. (By Mr. Verhoeven) So you don't know                                 23 whether or not the -- they have any of that former
24 whether anyone asked him, Do you still have those?                          24 employer's confidential documents in their laptop,
25     A. I don't know.                           09:15:19                     25 right?                                 09:17:22
                                                                     Page 62                                                                      Page 64

 1     Q. And you didn't know whether he still had             09:15:24         1          MS. DUNN: Objection to form.                09:17:22
 2 the files at that time?                                                      2          MR. CHATTERJEE: Join.
 3     A. I didn't know specifically, no.                                       3          THE DEPONENT: When you do a transaction,
 4     Q. And that wasn't of concern to you whether                             4 an M & A transaction, or something of that nature,
 5 he still had them or not?                        09:15:34                    5 there's generally going to be a diligence process       09:17:32
 6         MS. DUNN: Objection to form.                                         6 that, you know, does everything -- or, you know,
 7          THE DEPONENT: I may have assumed he just                            7 really sort of has general processes to try to
 8 didn't have them. Right. When somebody's -- when                             8 prevent these -- prevent content to come from the
 9 somebody's downloading files when they're working                            9 previous employer to where they're going, yes.
10 at their employer, that -- that's -- I think that's   09:15:45              10     Q. (By Mr. Verhoeven) So you would have              09:17:52
11 okay.                                                                       11 expected that you would have learned already if he
12         And then if you -- you know, then -- then                           12 had down- -- had downloaded Google documents,
13 in the transaction itself, we went through a                                13 right --
14 diligence process that I felt, you know, my                                 14          MS. DUNN: Objection to form.
15 people -- I have a lot of trust in their expertise     09:15:59             15     Q. (By Mr. Verhoeven) -- before the              09:17:59
16 and how they -- how they do things to make sure                             16 all-hands -- before the complaint was filed?
17 that these files just weren't over at Uber.                                 17          MR. CHATTERJEE: Form.
18          So I felt good about our processes.                                18          MS. DUNN: Objection to form.
19     Q. (By Mr. Verhoeven) Part of that                                      19          THE DEPONENT: I have executives that
20 diligence process, correct me if I'm wrong --              09:16:13         20 work for me, that have a lot of experience, a lot       09:18:10
21     A. Yeah.                                                                21 of expertise in doing diligence and transactions,
22     Q. -- is to ask the employee coming over                                22 and I depend on them to make sure those things
23 whether or not the employee has any files from the                          23 happen -- the right things happen.
24 former employer, correct?                                                   24     Q. (By Mr. Verhoeven) I understand that.
25     A. So these kinds of conversations may have             09:16:25     25        A. Yeah.                             09:18:23
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                        ATTORNEYS' EYES ONLY
 1      Q. But you've testified that Uber is very      09:18:24     1 with him --                               09:20:38
 2 careful about that and that they take steps to                   2         MS. DUNN: Objection to form.
 3 ensure that that doesn't happen, right?                          3      Q. (By Mr. Verhoeven) -- that he had taken
 4      A. Yeah. We -- I -- I -- I generally                        4 from Google?
 5 understand that to be true, yes.                 09:18:34        5         Wouldn't that be surprising?            09:20:44
 6      Q. And you would expect that your executives                6         MS. DUNN: Objection to form.
 7 would find out, as part of the intake process,                   7         MR. CHATTERJEE: Join.
 8 whether or not the employee coming in has                        8         THE DEPONENT: It would certainly be
 9 confidential files that they've taken from their                 9 disappointing.
10 former employer, right?                         09:18:48        10      Q. (By Mr. Verhoeven) And wouldn't you have 09:20:55
11         MS. DUNN: Objection to form.                            11 expected that you would have asked Mr. Levandowski
12         THE DEPONENT: We would -- in any                        12 about that?
13 transaction we are going to make sure to take --                13      A. I did.
14 you know, to take the important steps you -- you                14      Q. And what did he say about it?
15 have to take to -- to make sure these files don't     09:19:05 15       A. You know, like I said before, he first     09:21:03
16 get across. Files from whatever employer, whether               16 said that he had downloaded files when working from
17 it's the previous one or two previous ones.                     17 home, that he had made sure that -- that I -- when
18         And I'm not in the weeds of all the                     18 I -- upon me asking, Did any files make it to Uber,
19 details of what that process looks like, but I am               19 has it informed anything that we've done, he made
20 confident -- I'm confident in my people that do        09:19:22 20 it very clear that that was not the case.        09:21:24
21 that.                                                           21      Q. But you didn't ask him, Do you still have
22         And in -- generally, I believe that they                22 stolen files?
23 did a good job in that because everything we've                 23         MS. DUNN: Objection to form.
24 seen since shows that nobody's seen these files and             24         MR. CHATTERJEE: Join.
25 these files haven't made it to Uber.              09:19:39      25         THE DEPONENT: I did not.                   09:21:32
                                                                  Page 66                                                                    Page 68

 1     Q. (By Mr. Verhoeven) So you would have               09:19:41        1    Q. (By Mr. Verhoeven) You didn't ask him,          09:21:33
 2 expected that when Mr. Levandowski was being                              2 Do you still have any Google documents in your
 3 processed by these people, they would have asked                          3 laptops or any of your devices?
 4 him, Do you have any Google documents that you've                         4    A. Those questions may have been asked with
 5 taken with you, correct?                       09:19:51                   5 attorneys in the room. But I certainly didn't have 09:21:40
 6          MS. DUNN: Objection to form.                                     6 that conversation with him one on one.
 7          MR. CHATTERJEE: Join.                                            7    Q. You are aware that Ottomotto was run out
 8          THE DEPONENT: Those questions may have                           8 of Mr. Levandowski's house before it was acquired
 9 been asked. I just don't know the details of that                         9 by you, right?
10 process.                                 09:19:59                        10    A. Yes.                            09:21:59
11     Q. (By Mr. Verhoeven) But you would have                             11    Q. And during that time before the
12 expected that they would have determined that,                           12 acquisition, you're aware that Mr. Levandowski was
13 right?                                                                   13 working with folks at Uber on the subject of AV,
14     A. What I --                                                         14 and specifically on the subject of LiDAR, correct?
15          MS. DUNN: Objection to form.               09:20:05             15       MS. DUNN: Objection to form.                 09:22:29
16          MR. CHATTERJEE: Join.                                           16       MR. CHATTERJEE: Form.
17          THE DEPONENT: What I would expect is                            17       THE DEPONENT: What time period are you
18 that they take the necessary steps to make sure                          18 talking about?
19 that files from a previous employer don't make it                        19    Q. (By Mr. Verhoeven) Prior to the
20 to Uber, and files from a previous employer are not 09:20:17             20 acquisition, during the time when Mr. Levandowski        09:22:35
21 informing how people build things.                                       21 was working from his home.
22     Q. (By Mr. Verhoeven) Okay. So wouldn't it                           22    A. I was aware there were meetings, yeah,
23 be surprising to learn later, after that process                         23 meetings going on, sure.
24 had been completed by your executives or your team,                      24    Q. On those subjects.
25 that, in fact, Mr. Levandowski had downloaded files 09:20:33   25              A. Are we talking -- I just don't know the      09:22:40
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                        ATTORNEYS' EYES ONLY
 1 specific time frame you're talking about.          09:22:42    1 in San Francisco, and it sort of depends on the       09:24:36
 2     Q. I'm talking about after he left Google --               2 time frame. I'm just not sure.
 3     A. Yeah.                                                   3     Q. The time frame I'm asking about was the
 4     Q. -- when -- and formed a company.                        4 one we --
 5     A. Yeah.                            09:22:53               5     A. Yeah, but they -- there may have been         09:24:43
 6     Q. Let's just call it Ottomotto --                         6 multiple different situations during that. And I
 7     A. Yes.                                                    7 don't know specifically when a lease was taken out
 8     Q. -- generally --                                         8 or...
 9     A. Yeah.                                                   9     Q. Did you ever visit Mr. Levandowski during
10     Q. -- and before he became an employee of         09:22:5610 that time period at his house?                  09:24:53
11 Uber.                                                         11     A. Once, yes.
12     A. Okay.                                                  12     Q. Okay.
13     Q. During that time period.                               13     A. Well, maybe not during that period. I
14     A. Okay.                                                  14 think I visited him prior to the deal happening. I
15     Q. He, while he was working at home --          09:23:04 15 took a ride in one of their trucks, which was an       09:25:07
16     A. Yeah.                                                  16 interesting experience.
17     Q. -- was working with members of your                    17     Q. After -- at some point you learned that
18 technical team in AV and helping them.                        18 Mr. Levandowski was taking -- was refusing to
19     A. Yeah.                                                  19 provide any testimony or documents --
20     Q. And specifically that included the         09:23:17 20        A. Yeah.                              09:25:46
21 technical -- technological area of LiDAR.                     21     Q. -- in this litigation based on his
22        You were aware of that, right?                         22 assertion of the Fifth Amendment?
23     A. What I'm aware of is post-signing an                   23        MS. DUNN: Charlie, if you're switching
24 agreement in sort of the April time frame that he             24 gears, I think we've been going for more than an
25 started consulting with Uber. The general -- the     09:23:3625 hour, and I think it would be good to take a break. 09:25:51
                                                                  Page 70                                                                  Page 72

 1 general area was around autonomy, like broadly.         09:23:41          1       MR. VERHOEVEN: Do you need a break now?               09:25:55
 2        I'm not aware of any specific                                      2       THE DEPONENT: I would take a break, take
 3 conversations about LiDAR. They -- I'm not saying                         3 five minutes, ten minutes, something like that.
 4 they didn't happen, but I'm not aware of any                              4       MR. VERHOEVEN: Okay.
 5 specific conversations that happened.              09:23:54               5       THE DEPONENT: Does that work?                   09:26:04
 6     Q. But he was consulting on the technology                            6       MS. DUNN: Yeah.
 7 of AV, generally?                                                         7       What's the time?
 8     A. Yes.                                                               8       THE VIDEOGRAPHER: Going off the record.
 9        MR. CHATTERJEE: Form.                                              9 The time is 9:25.
10        THE DEPONENT: Correct.                       09:24:01             10       (Recess taken.)                    09:26:10
11     Q. (By Mr. Verhoeven) And you were aware                             11       THE VIDEOGRAPHER: We are back on the
12 that he was doing that from his house?                                   12 record. The time is 9:38.
13        MS. DUNN: Objection to form.                                      13    Q. (By Mr. Verhoeven) Mr. Kalanick, did you
14        THE DEPONENT: I -- I didn't know that                             14 talk with anyone about this case on the break that
15 for certain. I don't -- I don't know that for      09:24:07              15 we just took?                           09:38:51
16 certain.                                                                 16    A. No.
17     Q. (By Mr. Verhoeven) Are you aware of any                           17    Q. Let's go back to the question I had
18 offices that Ottomotto had during that time frame                        18 before the break. At some point you became aware
19 that we're talking about?                                                19 that Mr. Levandowski had -- was refusing to testify
20     A. I remember them talking about some kind          09:24:21         20 or produce documents on the basis of an assertion      09:39:09
21 of Oakland office, but I wasn't sure if that got                         21 of the Fifth Amendment right against incrimination,
22 started up or not. I don't know if they had that                         22 correct?
23 space or not.                                                            23    A. Correct.
24        I -- I do know they had some space in                             24    Q. When did you learn that?
25 Palo Alto as well. And I know they had some space        09:24:31   25         A. I don't remember the exact date. There         09:39:21
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 1 was a meeting at Uber with all attorneys and me, so          09:39:26       1 about everything that you can remember about Google               09:42:24
 2 I was the only nonattorney. But there was a                                 2 documents in your conversations with
 3 meeting there where we were -- that I first                                 3 Mr. Levandowski, right?
 4 understood that it was a possibility that Anthony                           4     A. I mean, I -- I spoke to sort of the
 5 may -- may do that.                             09:39:47                    5 complaint, the all-hands, et cetera, yes.              09:42:36
 6     Q. Do you remember what time that meeting                               6     Q. Okay. So did you have meetings with
 7 was?                                                                        7 Mr. Levandowski about his assertion of the
 8     A. It feels like an evening meeting. I feel                             8 Fifth Amendment?
 9 like it was an evening meeting, and it -- and --                            9     A. I did.
10        MS. DUNN: I will caution the witness to             09:40:05        10     Q. Okay. How many?                           09:42:47
11 answer, not about the content of the meetings,                             11     A. Probably -- I -- I don't know exactly.
12 since it was only attorneys and you.                                       12 It feels -- it was like a very long night with
13        THE DEPONENT: Yeah. Okay.                                           13 attorneys at Uber. Some of those discussions
14     Q. (By Mr. Verhoeven) I think the question                             14 included Anthony. Some of them did not.
15 was: Do you remember when the meeting was?                    09:40:17     15     Q. Okay.                                09:43:07
16        I think that was the question.                                      16     A. So I don't know how to say how many
17     A. Yeah, it was -- it was in -- it felt like                           17 meetings, but I can tell you it was a whole lot of
18 it was in the evening, and it -- there were a                              18 hours.
19 couple meetings on this topic leading up to him                            19     Q. What did you say on that subject?
20 actually deciding not to testify or declare.         09:40:40              20     A. I don't think I can -- I think because          09:43:17
21     Q. Do you know why you were at these                                   21 of -- there were so many attorneys there, I -- I
22 meetings?                                                                  22 may not be able to -- I don't -- I don't know. I'm
23        Well, let me ask this: You said -- you                              23 confused.
24 testified at least the first one you recall you                            24        If I am allowed to answer, then let me --
25 were the only nonattorney?                         09:41:06                25 I'm confused whether I can or not.                   09:43:30
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 1      A. Yeah.                             09:41:09                          1          MS. DUNN: I think there's some -- as we          09:43:32
 2      Q. So why were you the only nonattorney? Do                            2 recognized last time, there's -- there's confusion
 3 you know why?                                                               3 just about the specificity of timing. And so if
 4      A. I mean, there was a litigation matter. I                            4 you could rephrase the question.
 5 was being updated on a litigation matter, so...       09:41:17              5     Q. (By Mr. Verhoeven) What did you say on               09:43:46
 6      Q. Okay. Your general counsel wasn't there?                            6 the subject?
 7      A. I can't remember if she was or not. I --                            7          MR. CHATTERJEE: Form.
 8 I certainly remember Angela Padilla, our head of                            8          THE DEPONENT: I can tell you how I felt.
 9 litigation, was there. And there were others,                               9 I can certainly tell you how I felt about him
10 outside counsel, internal counsel.                09:41:38                 10 declaring the Fifth.                          09:43:59
11      Q. Okay. Did you personally have an opinion                           11     Q. (By Mr. Verhoeven) I will get to that,
12 on whether or not Mr. Levandowski should assert the                        12 but I just want to understand your
13 Fifth Amendment?                                                           13 communications --
14      A. Definitely.                                                        14     A. Yeah.
15      Q. Did you express that in the meetings?        09:41:52              15     Q. -- with people about how you felt. You             09:44:05
16      A. I most -- I don't know if I can say, if I                          16 want to start with how you felt, that's fine.
17 am allowed to say, whether I can or not, in the                            17          MS. DUNN: Charlie, I would like to take
18 meetings.                                                                  18 a break. Because the witness is -- is confused by
19      Q. Did you express your opinion at all to                             19 the bounds of the privilege. So I would like to
20 anyone?                                   09:42:05                         20 take a -- a five-minute break.                   09:44:20
21      A. Oh, definitely.                                                    21          MR. VERHOEVEN: I would rather not. You
22      Q. Okay. To who?                                                      22 can instruct him if you would like.
23      A. To attorneys, as well as in later                                  23          MS. DUNN: I think you'd get a better
24 meetings, Anthony himself.                                                 24 record.
25      Q. Okay. Well, we -- you already testified 09:42:21                   25          MR. VERHOEVEN: Well, I will take the               09:44:30
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                        ATTORNEYS' EYES ONLY
 1 risk.                                   09:44:31                            1    A. When we had -- we had discussions about             09:46:41
 2          Okay?                                                              2 how do we -- how do we -- like, is there a way we
 3          MS. DUNN: It's your risk.                                          3 can get -- is there a way that he can testify
 4          MR. VERHOEVEN: Okay.                                               4 without him being -- his -- his personal attorney
 5     Q. (By Mr. Verhoeven) I will just go back          09:44:40             5 feeling so uncomfortable that he would plead the           09:46:59
 6 and ask the question again, so -- I don't want to                           6 Fifth.
 7 confuse you.                                                                7          So his personal counsel is telling him to
 8          You had an opinion -- let's just get                               8 take the Fifth. We would much prefer him not to.
 9 out -- let's just get out what your opinion -- what                         9    Q. Okay. And why would -- what did his
10 your feeling was before I get to who you expressed 09:44:48                10 personal counsel say about why he was going to have 09:47:13
11 it to.                                                                     11 to take the Fifth?
12          Okay?                                                             12          MS. DUNN: Objection to form.
13     A. Yeah.                                                               13          THE DEPONENT: I don't know the reasons
14     Q. What was your feeling?                                              14 why, other than just being conservative in his
15     A. My feeling is, he should -- he should          09:44:55             15 approach.                                 09:47:27
16 testify. That -- that he should say what happened,                         16    Q. (By Mr. Verhoeven) What do you remember
17 why, how, and he should cooperate with the company                         17 him saying?
18 and the Court in getting to the facts of the                               18          MS. DUNN: Objection. I'm going to
19 matter. And I felt pretty passionately about it.                           19 instruct the witness not to answer.
20     Q. Okay. Did you have a conversation with           09:45:20           20          MR. VERHOEVEN: Okay. My position is                09:47:37
21 Mr. Levandowski about that subject?                                        21 that he waived the attorney-client privilege on
22     A. Yes.                                                                22 this meeting.
23     Q. What did you say to him?                                            23          MS. DUNN: I don't -- Charlie, there's
24          Well, first of all, when -- when did you                          24 not even a specific meeting you are talking about.
25 have that conversation?                         09:45:31                   25          THE DEPONENT: Yeah.                          09:47:48
                                                                    Page 78                                                                        Page 80

 1     A. Yeah. I mean, this was in -- this was        09:45:32                1          MS. DUNN: This is like an exercise in          09:47:49
 2 around the time of him pleading the Fifth, and it                           2 extreme line blurring. So I -- our position is, we
 3 was right before.                                                           3 have waived no attorney-client privilege.
 4     Q. Was it a conversation outside of meeting                             4          MR. VERHOEVEN: So you are going to
 5 with attorneys?                            09:45:42                         5 instruct him on that question; is that right?          09:48:06
 6     A. No. No, it was not.                                                  6          MS. DUNN: I'm instructing him on that
 7     Q. So you never spoke to him outside                                    7 question.
 8 meetings with attorneys about the assertion of the                          8          MR. VERHOEVEN: Okay.
 9 Fifth amendment? You never, like, pulled him aside                          9          MS. DUNN: And, also --
10 and said anything?                           09:45:57                      10          MR. VERHOEVEN: I don't need a speaking 09:48:12
11     A. No.                                                                 11 objection.
12     Q. What did you -- what did you say to him                             12          MS. DUNN: Well, it seems like we have a
13 about the subject during your meetings with                                13 lot of confusion going on here, and that you are
14 attorneys?                                                                 14 cultivating this confusion. And so I think that we
15     A. I really -- I really wanted him just to     09:46:17                15 should make sure that the witness is not entirely        09:48:19
16 testify and tell the Court whatever he had to say.                         16 confused by your line of questioning.
17     Q. And you -- you said that during the                                 17          MR. VERHOEVEN: Object to the speaking
18 meeting?                                                                   18 objection.
19     A. I made it very clear to him that we                                 19     Q. (By Mr. Verhoeven) You can't remember
20 wanted him to testify.                        09:46:25                     20 the specific meetings, can you?                      09:48:29
21     Q. And what did he say?                                                21     A. I can remember the specific meetings. I
22     A. He felt like -- well, my -- my sense is                             22 can't give you exact. So I certainly can remember
23 that he wanted to.                                                         23 specific meetings.
24     Q. Okay. I'm not asking about your sense.                              24     Q. Okay.
25         What did he say?                     09:46:39                      25     A. I can't tell you the exact time of the        09:48:43
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 1 specific meetings.                           09:48:47                       1        MR. CHATTERJEE: I can't object against             09:56:16
 2     Q. Okay. What was the first meeting that                                2 the Court's court.
 3 you had on the subject of the Fifth?                                        3        MR. VERHOEVEN: Does other counsel have
 4     A. The first meeting was a meeting with                                 4 any objections that we haven't yet identified?
 5 attorneys where -- where we were under the               09:48:56           5        MS. DUNN: I also am following the                09:56:22
 6 impression that they -- that he may take the Fifth,                         6 judge's order. And we are only allowed to object
 7 and there was a discussion as to --                                         7 to form and based on privilege. We object to both.
 8        MS. DUNN: I will caution the witness not                             8        MR. VERHOEVEN: Okay. And so it's clear
 9 to answer about conversations with attorneys. And                           9 that there's no other objections than form and
10 we are going to take a break, which we are entitled       09:49:15         10 attorney-client privilege.                     09:56:38
11 to do at any time.                                                         11        MS. DUNN: Are you aware of any other
12        MR. VERHOEVEN: I object.                                            12 available objections, Charlie?
13        MS. DUNN: You can object.                                           13        MR. VERHOEVEN: I am trying to get a
14        THE VIDEOGRAPHER: Going off the                                     14 record.
15 record -- you want me to go off the record?             09:49:29           15        MS. DUNN: Okay.                             09:56:42
16        MR. VERHOEVEN: Yeah, there's no need                                16        MR. CHATTERJEE: You have a record. The
17 just to have a blank chair.                                                17 judge said what we can object to. We did it.
18        THE VIDEOGRAPHER: Going off the record.                             18        Let's move on.
19 The time is 9:49 a.m.                                                      19        MR. VERHOEVEN: I will take that as a no.
20        (Recess taken.)                       09:49:42                      20     Q. (By Mr. Verhoeven) Did you say anything                09:57:02
21        THE VIDEOGRAPHER: We are back on the                                21 in response -- in response to the statement at this
22 record. The time is 9:54.                                                  22 meeting -- withdrawn.
23        MR. CHATTERJEE: Just for the record, I                              23          Going back to the meeting we were talking
24 want to make sure it's clear. I'm going to move to                         24 about, where you expressed your concerns --
25 strike the question from 9:45 that's on the record       09:55:10      25         A. Which meeting are we talking about?              09:57:14
                                                                  Page 82                                                                       Page 84

 1 to 9:48. And the objection is as to form.             09:55:13              1 Which meeting, specifically?                        09:57:15
 2        MS. HAAG: If I could just put on the                                 2     Q. The meeting about the Fifth Amendment.
 3 record we have an agreement that I'm going to try                           3     A. Okay.
 4 to keep my involvement to a minimum, and I think                            4        MS. DUNN: Objection.
 5 everybody agrees that -- I will -- I am joining any      09:55:24           5     Q. (By Mr. Verhoeven) Do you remember your                 09:57:22
 6 objection.                                                                  6 testimony about there's a meeting about the
 7        MS. DUNN: And I am going to join                                     7 Fifth Amendment, and you expressed your concerns?
 8 Otto Trucking's objection.                                                  8        Do you remember that?
 9        MR. VERHOEVEN: And the basis is, other                               9     A. I do.
10 than -- it's all just to form?                09:55:35                     10     Q. Okay. That meeting, is what I'm talking          09:57:27
11        MR. CHATTERJEE: Oh, the basis is that                               11 about.
12 the judge also lets us object to form at this point                        12     A. Okay.
13 in the proceeding, so I think the objection is                             13     Q. Did you say anything in response to
14 based on a standing order.                                                 14 Mr. Levandowski's personal attorney when he told
15        And, also, we will object to the extent        09:55:47             15 you that he would be -- that Mr. Levandowski was               09:57:40
16 it invokes attorney-client privilege issues, but                           16 uncomfortable testifying and would plead the Fifth?
17 it's all move to strike.                                                   17        MS. DUNN: Objection on the basis of
18        MR. VERHOEVEN: Anything else?                                       18 privilege. I'm going to instruct the -- the
19        MS. DUNN: Join.                                                     19 witness not to answer.
20        MR. VERHOEVEN: Any other reasons?                    09:56:03       20        And since you are seeking alternative          09:57:56
21        MR. CHATTERJEE: I think there's only two                            21 bases for objections, there -- there would be
22 the judge also allows at this point in the                                 22 beyond form.
23 proceedings.                                                               23        MR. VERHOEVEN: Are you moving to strike
24        MR. VERHOEVEN: That's not what I asked                              24 -- just for clarity, Counsel, so I don't have to
25 you, but...                             09:56:14                           25 compare lines and pages --                         09:58:12
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                        ATTORNEYS' EYES ONLY
 1         MS. DUNN: Yes, objection and move to                 09:58:15        1     Q. What -- what do you base that on?                 10:00:26
 2 strike lines --                                                              2     A. Well, he was -- he was pushing his
 3         MR. VERHOEVEN: No, no, I'm just asking                               3 attorney.
 4 this.                                                                        4        MS. DUNN: Objection on the basis of
 5         MS. DUNN: Sure.                           09:58:19                   5 privilege. I'm going to instruct the witness not          10:00:38
 6         MR. VERHOEVEN: Are you moving to strike                              6 to answer.
 7 Mr. Kalanick's testimony about what he said during                           7     Q. (By Mr. Verhoeven) Did he say anything
 8 the meeting?                                                                 8 to you during the meeting on this subject,
 9         MS. DUNN: I would have to have the                                   9 Mr. Levandowski?
10 court reporter read that back at this point. All I      09:58:31            10     A. Yes.                                10:00:47
11 see right now is that the question on the table is                          11     Q. What did he say?
12 a misstatement of Mr. Kalanick's previous                                   12     A. So there's -- the reason this is a little
13 testimony.                                                                  13 bit confusing or tricky for me is that there were
14         MR. VERHOEVEN: Well, that's the                                     14 different people in that room at different times.
15 testimony I'm talking about.                       09:58:37                 15 In some cases, his personal attorney; in some              10:01:07
16         MS. DUNN: Well, do you want to take the                             16 cases, various attorneys from our side. So I am...
17 time to find his -- we could do that.                                       17     Q. When you made the statement --
18     Q. (By Mr. Verhoeven) What did you say                                  18     A. Right.
19 during the meeting about your concern?                                      19     Q. -- that you testified to earlier --
20     A. Okay.                              09:58:55                          20     A. Yeah.                                 10:01:20
21         MS. DUNN: Objection. I'm going to                                   21     Q. -- were there attorneys at the meeting?
22 instruct the witness not to answer on the basis of                          22     A. Which statement are we talking about?
23 privilege.                                                                  23     Q. When you expressed your concern?
24     Q. (By Mr. Verhoeven) Do you remember                                   24     A. Concern?
25 testifying that you really, really wanted to tell      09:59:20             25     Q. About the Fifth Amendment assertion?                 10:01:29
                                                                     Page 86                                                                        Page 88

 1 the Court whatever Mr. Levandowski had to say                  09:59:23      1     A. Yeah, there were.                        10:01:31
 2 during that meeting?                                                         2     Q. You said that you were -- you very, very
 3         MR. CHATTERJEE: Same objections as the                               3 much wanted --
 4 motion to strike.                                                            4     A. Yes.
 5         THE DEPONENT: I remember being very                    09:59:32      5     Q. -- to tell the story?                   10:01:35
 6 clear with Mr. Levandowski and with others in the                            6        So I believe you said that
 7 room my desire for Uber and the Court to be able to                          7 Mr. Levandowski's private attorney responded to
 8 get to the bottom of this and get to the facts.                              8 that statement?
 9     Q. (By Mr. Verhoeven) And did you express                                9     A. So there were -- there was a concern --
10 that to Mr. Levandowski?                            09:59:54                10 sorry. I made it clear where I stood. I know              10:01:45
11     A. Yes, I did.                                                          11 Angela Padilla was in the room. I know that
12     Q. And what did he say?                                                 12 Anthony was in the room.
13         MR. CHATTERJEE: Same objections.                                    13        At some point, we had Anthony's personal
14         THE DEPONENT: I don't remember what he                              14 attorney come to the office, so we could have a --
15 said, specifically.                        10:00:02                         15 a -- we could get into a higher fidelity                10:02:02
16     Q. (By Mr. Verhoeven) What did he say                                   16 conversation, if that makes sense.
17 generally?                                                                  17     Q. Okay.
18     A. He -- he seemed to want to testify.                                  18     A. There are different parts of this
19     Q. Okay. Did he -- how did he express that?                             19 conversation, some of it with -- so, earlier, some
20 I mean, it's hard for me to understand when you say            10:00:15     20 of it with Angela Padilla, myself, Anthony, maybe             10:02:14
21 something like, he seemed to want to.                                       21 others; and then later in that conversation,
22     A. Yeah.                                                                22 Anthony's personal attorney.
23     Q. So that's why I am asking these                                      23     Q. Okay.
24 questions.                                                                  24     A. So it's not, I think, what you're
25     A. Yeah.                             10:00:20                           25 characterizing as a conversation I was having where           10:02:31
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 1 a personal attorney responded, was not necessarily         10:02:35      1 to -- he wanted to have the sort of the work that    10:05:50
 2 how it happened.                                                         2 he did, so he could show that he earned that bonus.
 3        But I can tell you what -- I can say                              3     Q. So he admitted that he still had the
 4 what -- where I was, how I generally felt and the                        4 files?
 5 opinions that I expressed during that discussion.       10:02:47         5         MS. DUNN: Objection to form.               10:06:35
 6     Q. Okay. Before I ask you about that --                              6         THE DEPONENT: No, he did not admit that.
 7     A. Yeah.                                                             7     Q. (By Mr. Verhoeven) What files did he say
 8     Q. -- I think you already testified to this,                         8 he had?
 9 but I'm little confused. I'm going to ask again.                         9     A. He didn't say he had any files.
10     A. Okay.                             10:02:58                       10     Q. Did you ask him?                      10:06:43
11     Q. Did you ever -- did you have any                                 11     A. I don't remember if we did or not. We
12 conversations with Mr. Levandowski about his                            12 may have. I don't think he did, though.
13 assertion of the Fifth Amendment when there weren't                     13     Q. Did you come to learn during this meeting
14 attorneys in the room, privately?                                       14 whether or not he still had stolen Google files?
15     A. I did not.                        10:03:08                       15         MS. DUNN: Objection to form.               10:07:02
16     Q. Okay. What did you -- sorry, I'm just                            16         MR. CHATTERJEE: Join.
17 checking on something. I will be just one second.                       17         THE DEPONENT: My -- my recollection is
18        What opinions did you express during the                         18 that he did not have any Google files.
19 discussion that you just referenced to two answers                      19     Q. (By Mr. Verhoeven) And what is that
20 ago?                                   10:04:00                         20 based on?                                10:07:09
21        MS. DUNN: Objection to form.                                     21     A. The conversation.
22        THE DEPONENT: It was really important                            22     Q. Okay. So did someone say that to you?
23 for Uber to get to the bottom of the allegations                        23     A. I can't remember specifically words or
24 that Waymo made. There's a lot of work we can do                        24 what have you, but that's my recollection of the
25 without Anthony, but there's a lot of things that      10:04:17         25 conversation.                             10:07:24
                                                                 Page 90                                                                     Page 92

 1 only Anthony could answer.                         10:04:19              1    Q. Who did you learn -- where did that --          10:07:24
 2        It was very important for him to provide                          2 withdrawn. Sorry.
 3 those facts. And it was very important for him to                        3        That recollection you are talking about,
 4 cooperate with Uber and very important for him to                        4 did somebody say something that gave you that
 5 cooperate with the Court.                       10:04:31                 5 recollection or gave you the information that you       10:07:32
 6     Q. (By Mr. Verhoeven) Okay. And what did                             6 are recalling?
 7 Mr. -- Mr. Levandowski was in the room when you                          7        MS. DUNN: Objection to form.
 8 said this, correct?                                                      8        THE DEPONENT: I feel like that was part
 9     A. Yes.                                                              9 of the conversation, but I can't specifically
10     Q. What did he say in response?                 10:04:40            10 pinpoint who said what.                         10:07:43
11     A. I don't remember his specific response,                          11    Q. (By Mr. Verhoeven) What did Levandowski
12 but I remember him being very willing and wanting                       12 say about whether he had the files or not?
13 to go into those facts and cooperate with the                           13    A. I don't -- I don't remember.
14 Court.                                                                  14    Q. Did it seem strange to you, this story he
15     Q. Did he tell you at that meeting what the       10:04:58          15 was telling about wanting to have the files to show        10:08:00
16 facts were?                                                             16 this contribution?
17     A. Yes.                                                             17        MS. DUNN: Objection to form.
18     Q. What did he say?                                                 18        THE DEPONENT: It seemed unfortunate.
19     A. He -- he repeated the -- the downloading                         19 Whether it was strange or not, I don't know, but it
20 while at home explanation, but also added that he          10:05:15     20 was certainly unfortunate.                      10:08:16
21 was incredibly worried at the time about a very                         21    Q. (By Mr. Verhoeven) Why would -- why
22 large bonus that he was supposed to get from                            22 would it make sense for an employee to steal
23 Google.                                                                 23 corporate files for the purpose of showing that
24        And he felt, essentially, like Google was                        24 they are entitled to a bonus?
25 going to stiff him on his bonus. And he wanted          10:05:38     25           MS. DUNN: Objection to form.                 10:08:28
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                        ATTORNEYS' EYES ONLY
 1        MR. CHATTERJEE: Join.                          10:08:29               1 hypothetical, I would agree, yes.               10:10:14
 2        THE DEPONENT: I am not saying what he                                 2     Q. (By Mr. Verhoeven) So did you say to
 3 did was smart.                                                               3 Mr. Levandowski, that doesn't make any sense?
 4     Q. (By Mr. Verhoeven) Okay. Wouldn't the                                 4     A. Something along those lines, yes.
 5 employer just immediately not give him the bonus            10:08:39         5     Q. What do you remember saying?                10:10:25
 6 once they learned that the files had been stolen?                            6     A. I remember insulting his intelligence.
 7        MS. DUNN: Objection to form.                                          7     Q. Okay. So you said something like, that's
 8        THE DEPONENT: I -- I can't speak for                                  8 stupid, or what did you say?
 9 Google on that matter.                                                       9     A. That's pretty F'ing dumb.
10     Q. (By Mr. Verhoeven) What would you do if             10:08:50         10     Q. Okay. I appreciate you editing yourself 10:10:47
11 a top one of your engineers left and joined a                               11 there.
12 competitor and called you up and said, you better                           12     A. Yeah, I -- I was trying to find the way
13 give me this bonus that I'm due because I have                              13 to do that.
14 taken your files?                                                           14     Q. You were pretty pissed off?
15        MR. CHATTERJEE: Form.                           10:09:05             15     A. I was more just disappointed.            10:10:58
16        MS. DUNN: Objection to form.                                         16     Q. What did he say.
17        THE DEPONENT: Well, first, it's not                                  17        You okay?
18 clear that that is what happened in this case.                              18     A. Yeah, I'm okay.
19     Q. (By Mr. Verhoeven) Right.                                            19     Q. You want to take a break?
20     A. So I --                            10:09:12                          20     A. No, no, let's keep going.              10:11:09
21     Q. But in that scenario, what you would do?                             21     Q. You need some more water or anything?
22        MS. DUNN: Objection to form.                                         22     A. No. It's okay. I was just disappointed,
23        THE DEPONENT: I would --                                             23 as you can imagine.
24        MR. CHATTERJEE: Join.                                                24     Q. Okay. What did he say?
25        THE DEPONENT: I would respond pretty                 10:09:18        25     A. Let's see. I think he agreed. Yes.       10:11:19
                                                                  Page 94                                                                         Page 96

 1 seriously to that kind of discussion.                10:09:19                1     Q. But you don't recall asking if he still       10:11:28
 2     Q. (By Mr. Verhoeven) What -- how -- in                                  2 had those files?
 3 what way?                                                                    3     A. I don't recall --
 4     A. I mean, it's -- there's a lot of details                              4         MR. CHATTERJEE: Form.
 5 beyond that, that I would have to look into in that      10:09:28            5         THE DEPONENT: -- that specific --              10:11:32
 6 particular hypothetical, but I would take that                               6 that -- that specific part of that discussion. I
 7 conversation very seriously and take very serious                            7 do recollect coming out of that meeting feeling
 8 action.                                                                      8 like he didn't have any -- that he did not have in
 9     Q. It's fair to say that wouldn't increase                               9 his possession any files.
10 the likelihood that you'd pay them the bonus?            10:09:37           10     Q. (By Mr. Verhoeven) Do you remember him               10:11:52
11        MS. DUNN: Objection to form.                                         11 saying anything else about this story that he's
12        THE DEPONENT: Look, I certainly wouldn't                             12 telling you?
13 wait a year to do something about it.                                       13         MS. DUNN: Objection to form.
14     Q. (By Mr. Verhoeven) But in my                                         14         THE DEPONENT: No.
15 hypothetical, if you were presented with the fact        10:09:49           15     Q. (By Mr. Verhoeven) Did you -- he                10:12:01
16 that this -- this -- this -- excuse me. Let me                              16 previously told everyone that he just had files --
17 start again.                                                                17 had those files so he could work from home, right?
18        In my hypothetical, the fact that you                                18     A. Correct.
19 were presented with stolen documents by this former                         19         MR. CHATTERJEE: Form.
20 employee certainly wouldn't increase the likelihood        10:10:03         20     Q. (By Mr. Verhoeven) So what he was saying            10:12:10
21 that Uber would pay this employee the bonus?                                21 now is inconsistent with what he said previously;
22        MS. DUNN: Same objection.                                            22 fair?
23     Q. (By Mr. Verhoeven) Is that fair?                                     23         MR. CHATTERJEE: Form.
24        MR. CHATTERJEE: Form.                                                24         MS. DUNN: Objection to form.
25        THE DEPONENT: In -- in that                    10:10:13              25         THE DEPONENT: It was -- it was in               10:12:15
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                        ATTORNEYS' EYES ONLY
 1 addition to working from home and downloading                    10:12:17     1     A. Correct.                           10:14:57
 2 files, he brought this new information, yes.                                  2         MS. DUNN: Objection to form.
 3     Q. (By Mr. Verhoeven) So did you say, why                                 3         MR. CHATTERJEE: Join.
 4 the heck didn't you tell us about this before?                                4     Q. (By Mr. Verhoeven) But you don't recall
 5     A. It was more like, why are you so F'ing --          10:12:29            5 anyone asking him if he used the documents in           10:15:05
 6     Q. Stupid.                                                                6 connection with trying to get the bonus?
 7     A. -- stupid, yeah. Because, yeah, it just                                7         MS. DUNN: Same objection.
 8 didn't make -- it was just not...                                             8         THE DEPONENT: Yeah, I don't --
 9     Q. It didn't make any sense?                                              9         MR. CHATTERJEE: Join.
10     A. Yeah. It -- it -- it felt like he was so       10:12:51               10         THE DEPONENT: I don't remember a                10:15:12
11 insecure about this bonus that he started doing                              11 specific part of a dialogue like that, but I
12 irrational things.                                                           12 certainly --
13     Q. Did you ask him? You know, did you                                    13         Say that question one more time. I want
14 explain that this seemed irrational and asked him                            14 to make sure I get it right.
15 why he did it?                              10:13:06                         15         (Discussion off the stenographic record.)    10:15:37
16         MR. CHATTERJEE: Form.                                                16     Q. (By Mr. Verhoeven) So the question was:
17         MS. DUNN: Form.                                                      17 You don't recall anyone asking him if he used the
18         THE DEPONENT: I remember something along                             18 documents, the stolen documents, in connection with
19 those lines. I can't say the specifics words, but                            19 trying to get his bonus?
20 he didn't have -- he didn't have a really -- I -- I     10:13:22             20         MR. CHATTERJEE: Form.                        10:15:53
21 think he realized how dumb it was, too.                                      21         MS. DUNN: Form.
22     Q. (By Mr. Verhoeven) Do you remember what                               22         THE DEPONENT: So I don't recollect that,
23 he said -- how he expressed that?                                            23 like -- I don't recollect the conversation or a
24     A. It was more just acknowledging my point,                              24 specific part of a question answered like that.
25 almost as if it were a rhetorical question.             10:13:35             25         I remember coming away from it feeling         10:16:03
                                                                      Page 98                                                                  Page 100

 1     Q. Did you ask him any questions about,               10:13:43            1 like he got his bonus and didn't have to have that     10:16:07
 2 well, what did he do with these files? Did he use                             2 kind of conversation or...
 3 them to get his bonus?                                                        3     Q. (By Mr. Verhoeven) But for the record,
 4         MS. DUNN: Objection to form.                                          4 you don't remember anything more specific than
 5         MR. CHATTERJEE: Join.                          10:14:00               5 that?                                  10:16:19
 6         THE DEPONENT: Not -- it was -- it was                                 6     A. That's correct.
 7 more like he -- he had a moment of insecurity and                             7     Q. Okay. Did you consider what he did to be
 8 just did something dumb.                                                      8 illegal?
 9     Q. (By Mr. Verhoeven) Did you ask him                                     9         MS. DUNN: Objection.
10 whether he told Google about these files, since he          10:14:13         10         MR. CHATTERJEE: Form.                        10:16:25
11 took them for the purpose of showing his                                     11         MS. DUNN: Form.
12 contributions in order to get a bonus?                                       12     Q. (By Mr. Verhoeven) Taking the documents?
13         MR. CHATTERJEE: Form.                                                13     A. In that discussion, I was starting to
14         THE DEPONENT: I don't rem- --                                        14 learn what the law -- what is the law around these
15         MS. DUNN: Form.                           10:14:28                   15 things.                                 10:16:35
16         THE DEPONENT: I don't remember whether                               16     Q. Did you consider it improper?
17 that specific question was asked, but I remember                             17     A. Yes.
18 feeling like that conversation with Google never                             18         MR. CHATTERJEE: Form.
19 happened, that -- I feel like he got his bonus,                              19         MS. DUNN: Objection. Form.
20 is -- is my recollection of how that conversation          10:14:45          20         THE DEPONENT: Yes.                          10:16:39
21 went.                                                                        21     Q. (By Mr. Verhoeven) Why didn't you fire
22     Q. (By Mr. Verhoeven) Fair to say you came                               22 him then?
23 away with the impression that he didn't need to use                          23     A. I was really hopeful that he would
24 those documents or didn't disclose those documents                           24 cooperate and tell the Court the facts of the
25 in connection with getting his bonus?                   10:14:55             25 matter, cooperate with our investigation. And that      10:17:02
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                        ATTORNEYS' EYES ONLY
 1 was part of what this discussion was about, was          10:17:05        1          THE DEPONENT: I mean, the whole                10:19:40
 2 just make the declaration, testify.                                      2 conversation was basically about the nuances of
 3         And it may be that I was holding onto                            3 pleading the Fifth, privilege, you know, legal
 4 that possibility, trying to -- trying to get him to                      4 things that I didn't always understand. But -- but
 5 cooperate with the Court, with our investigation         10:17:26        5 for me just felt so straightforward, and was          10:20:03
 6 internally.                                                              6 obviously disappointed.
 7         And, you know, it was F'ing stupid. It                           7     Q. (By Mr. Verhoeven) Did he or his
 8 was -- it -- it -- yeah. It it just felt like if                         8 attorneys say why he was -- he was asserting the
 9 he could -- if he could just say what he did and                         9 Fifth?
10 why, and that -- if you just cooperate, that would      10:17:55        10          MS. DUNN: Objection to form.                10:20:12
11 have been great.                                                        11          MR. CHATTERJEE: Join.
12     Q. Is the reason you didn't fire him because                        12          THE DEPONENT: Yes.
13 you still wanted him to cooperate in the defense of                     13     Q. (By Mr. Verhoeven) What did they say?
14 the case?                                                               14          MS. DUNN: Objection. I'm going to
15         MS. DUNN: Objection to form.                  10:18:05          15 instruct the witness not to answer.              10:20:21
16         THE DEPONENT: I wanted to him cooperate                         16          MR. VERHOEVEN: He waived the
17 with the Court and the Court's order.                                   17 attorney-client privilege.
18     Q. (By Mr. Verhoeven) Did you feel that                             18          MS. DUNN: That's not true. The
19 fire -- firing him would make him less likely to do                     19 witness --
20 that?                                      10:18:15                     20          MR. VERHOEVEN: I'm going to move to              10:20:31
21         MS. DUNN: Objection to form.                                    21 compel, so you know.
22         THE DEPONENT: I didn't feel that                                22          MS. DUNN: So I make my record, the
23 specifically, no.                                                       23 witness has explained that there wasn't one
24     Q. (By Mr. Verhoeven) But you understood at                         24 meeting --
25 that meeting that, in fact, Mr. Levandowski            10:18:31       25            MR. VERHOEVEN: I don't need -- I don't          10:20:35
                                                                Page 102                                                                  Page 104

 1 intended to just -- was going to assert the       10:18:33     1 need you to coach the witness.                 10:20:36
 2 Fifth Amendment, correct?                                      2         MS. DUNN: I am not.
 3     A. We -- we understood -- I understood from                3         MR. VERHOEVEN: Okay.
 4 that meeting that it was likely. And I -- and I                4         MS. DUNN: He's already testified to
 5 think I held hope -- held onto hope that either he 10:18:44 5 this.                                   10:20:40
 6 wouldn't or that we could eventually get him to                6         MR. VERHOEVEN: I don't need you to talk
 7 not.                                                           7 about what the witness has said.
 8     Q. Okay. But you were told that he would at                8         All right?
 9 that meeting?                                                  9         MS. DUNN: Charlie.
10     A. We were told that he most likely would,       10:18:56 10         MR. VERHOEVEN: You got a legal               10:20:44
11 yes.                                                          11 objection, put it on the record.
12     Q. Okay. And was that before he actually                  12         MS. DUNN: I would like to get my record.
13 did assert the Fifth Amendment?                               13         MR. VERHOEVEN: No. I strongly object to
14     A. I think so.                                            14 you coaching the witness. You're prohibited from
15         MS. DUNN: Objection to form.               10:19:04 15 doing so by Judge Alsup's orders.                 10:20:52
16     Q. (By Mr. Verhoeven) How soon?                           16         MS. DUNN: And I am not --
17         MR. CHATTERJEE: Join.                                 17         MR. VERHOEVEN: You can object to the
18         THE DEPONENT: It felt very close to the               18 form or you can assert to attorney-client
19 timing. I don't know exactly, but it felt very                19 privilege. If you want to say something in a brief
20 close.                                10:19:13                20 later, that's fine.                     10:21:00
21     Q. (By Mr. Verhoeven) Do you recall anyone                21         MS. HAAG: I can walk out with
22 else at the meeting saying anything about this new            22 Mr. Kalanick, if you would like me to. You can
23 story that he told?                                           23 make a record outside of his presence.
24         MS. DUNN: Objection to form.                          24         MR. VERHOEVEN: That's perfectly fine
25         MR. CHATTERJEE: Join.                     10:19:39    25 with me.                               10:21:15
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                        ATTORNEYS' EYES ONLY
 1        MS. DUNN: That's a great idea.                 10:21:19               1 The time is 10:24.                          10:24:47
 2        THE VIDEOGRAPHER: Shall we -- shall we                                2         (Recess taken.)
 3 go off the record?                                                           3         THE VIDEOGRAPHER: This marks the
 4        MS. DUNN: No, just stay on the record.                                4 beginning of DVD No. 2 in the deposition of
 5        MR. VERHOEVEN: Yeah, this won't count                10:21:22         5 Travis Kalanick. Going back on the record. The           10:35:56
 6 for our time.                                                                6 time is 10:35 a.m.
 7        Agreed?                                                               7    Q. (By Mr. Verhoeven) Did you have any
 8        MS. DUNN: I will agree to that.                                       8 conversation during this break about your testimony
 9        So the witness has already testified --                               9 with Counsel?
10        MR. VERHOEVEN: Do you want this on the                10:21:29      10     A. I did not.                         10:36:10
11 record or not?                                                             11     Q. What about the last break?
12        MS. DUNN: Yes, this is on the record.                               12     A. No.
13        Are we on the record?                                               13     Q. Okay.
14        THE VIDEOGRAPHER: We are on the record.                             14     A. I watched YouTube videos.
15        MS. DUNN: The witness has --                   10:21:37             15     Q. So when you learned this story about             10:36:33
16        MR. VERHOEVEN: Note this.                                           16 Mr. Levandowski taking the Google documents
17        THE VIDEOGRAPHER: You want --                                       17 allegedly for use in connection with his bonus, you
18        MR. VERHOEVEN: I just want you to note                              18 didn't fire him as a result of that immediately,
19 when this started.                                                         19 right?
20        THE VIDEOGRAPHER: Thank you.                        10:21:43        20          MS. DUNN: Form.                           10:36:59
21        Continue.                                                           21          MR. CHATTERJEE: Form.
22        MS. DUNN: The witness has already                                   22          THE DEPONENT: That is correct.
23 testified that this was an evening with not just                           23     Q. (By Mr. Verhoeven) You knew, generally,
24 one meeting in it, and that there were people in                           24 what areas he was working on at Google, right?
25 and out. And so we -- his testimony just now is          10:21:51      25         A. Yes.                              10:37:16
                                                                 Page 106                                                                         Page 108

 1 about a conversation that he had with                 10:21:57               1    Q. And you knew that he was working on those              10:37:17
 2 Mr. Levandowski.                                                             2 same areas at Uber, right?
 3        And it remains unestablished who also was                             3         MS. DUNN: Form.
 4 in the room during that conversation. And Counsel                            4         MR. CHATTERJEE: Form.
 5 is asking him about other conversations that he had        10:22:08          5         THE DEPONENT: I would disagree with                  10:37:25
 6 that he's testified to.                                                      6 that. It's just -- the kind of work that he was
 7        So we -- the conversation that                                        7 doing at Uber was different.
 8 Mr. Kalanick has just testified to where                                     8    Q. (By Mr. Verhoeven) How so?
 9 Mr. Levandowski explained to him the reason for the                          9    A. Because he was overseeing a really large
10 downloading is not a privileged conversation.            10:22:26          10 division, like several hundred to even maybe a           10:37:36
11        There were other conversations in that                              11 thousand people and overseeing large parts, like --
12 same night that are privileged. And so we are                              12 a vast majority of which was not related to what he
13 waiving no privileges, but we maintain the                                 13 was doing before.
14 privilege over the conversations that were                                 14     Q. He was overseeing all of your AV research
15 privileged.                                10:22:39                        15 and development?                              10:37:51
16        And the conversation that Mr. Kalanick                              16     A. Correct.
17 has just testified to is not privileged.                                   17     Q. And his work when he was at Google
18        MR. VERHOEVEN: I obviously disagree with                            18 concerned AV, right?
19 virtually everything you just said.                                        19     A. My understanding was, his work was very
20        MS. DUNN: I assumed you would.                   10:22:52           20 focused on the hardware and sensor side of things             10:38:02
21        MR. VERHOEVEN: The record -- record will                            21 at his previous employer, yeah.
22 speak for itself.                                                          22     Q. In the AV area?
23        MS. DUNN: Well, I'm sure we'll do more                              23     A. Correct, yes.
24 speaking on this topic.                                                    24     Q. Okay. And you -- your understanding was
25        THE VIDEOGRAPHER: Going off the record.                   10:24:47 25 focused on the -- I am sorry, the hardware and            10:38:16
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                        ATTORNEYS' EYES ONLY
 1 software of what?                            10:38:18          1 generally, he didn't. He didn't have very much          10:40:09
 2     A. Sorry, the hardware and sensors.                        2 input into those things from the beginning.
 3     Q. Okay.                                                   3     Q. (By Mr. Verhoeven) Did you take steps
 4     A. That's my understanding of where he was                 4 to -- you personally -- take any steps to ascertain
 5 focused on.                               10:38:23             5 whether he did or didn't?                       10:40:23
 6     Q. The lidar sensors?                                      6     A. I mean, I had members of my team
 7     A. Yes.                                                    7 obviously look into that and, overall, just conduct
 8     Q. Okay. Now, when you learned this, I will                8 an investigation about how did we build our
 9 just call it the "new theory." You know what I'm               9 lidar -- sort of our ongoing lidar sensor.
10 talking about when I say that?                   10:38:34     10     Q. And --                              10:40:42
11         MS. DUNN: Objection. Form.                            11     A. It was part of this litigation, of
12     Q. (By Mr. Verhoeven) Or I'll use whatever                12 course. There was a huge effort: discovery,
13 catch phrase you'd like to use so I don't have to             13 otherwise. You know, you -- I think there were
14 repeat it.                                                    14 situations where Waymo's people could go into our
15         You learned his bonus story?             10:38:40     15 offices and inspect and, like, look at servers and 10:40:57
16     A. The bonus explanation.                                 16 things like this.
17         MS. DUNN: Objection to form.                          17         Yeah, so I -- I feel like we had a pretty
18         THE DEPONENT: The bonus explanation.                  18 broad effort to make sure that we had built our
19     Q. (By Mr. Verhoeven) The bonus                           19 lidar system from the ground up. And I continue to
20 explanation. That's better.                    10:38:45       20 be very confident that we did.                    10:41:15
21     A. Okay.                                                  21     Q. So I'm asking you, though, not -- not the
22     Q. When you learned the bonus explanation,                22 whole organization.
23 you didn't -- you don't recall telling him to --              23     A. I mean, look, I -- I oversee a lot more
24 strike that -- withdraw that.                                 24 than just -- I mean, this is one very small part of
25         When you learned the bonus explanation,       10:39:0025 the overall thing.                          10:41:27
                                                                Page 110                                                                  Page 112

 1 did -- to your knowledge, did you or anyone else         10:39:02        1     Q. I am not trying to suggest you should          10:41:28
 2 attempt to determine what the content of those                           2 know. I'm just trying to understand what you do
 3 documents that he talked about were?                                     3 know.
 4        MS. DUNN: Form.                                                   4     A. Yeah. So I depend on my people to do
 5        MR. CHATTERJEE: Form.                          10:39:13           5 those things.                              10:41:35
 6        THE DEPONENT: The -- the general                                  6     Q. Right.
 7 understanding I had coming out of that discussion                        7         So did you talk to anyone who wasn't an
 8 was that he did not possess any of these files.                          8 attorney about this investigation? Did you
 9     Q. (By Mr. Verhoeven) Regardless of whether                          9 instruct anyone, or was it all through the
10 he possessed them or not, do you recall whether you        10:39:26     10 attorneys?                                 10:41:44
11 or Uber attempted to learn what the subject matter                      11     A. It was all through the attorneys.
12 of the information contained in those documents                         12     Q. And did you -- when you talk about the
13 was?                                                                    13 inspections there, did you know that those
14        MS. DUNN: Form.                                                  14 inspections were Court ordered?
15        THE DEPONENT: No.                          10:39:37              15     A. The inspections where Waymo people came             10:41:57
16     Q. (By Mr. Verhoeven) Okay. Given that you                          16 to Uber's offices?
17 knew he worked on lidar, the hardware and sensors,                      17     Q. Yes.
18 at -- whether it was at Google --                                       18     A. Yes.
19     A. No.                                                              19     Q. Okay. What was your understanding of the
20     Q. -- why didn't you make sure that he            10:39:53          20 order?                                   10:42:04
21 didn't have any input at this point in time at Uber                     21     A. I mean, I don't have an overall
22 with regard to those same technological areas?                          22 understanding of the order. I mean, I know that --
23        MS. DUNN: Form.                                                  23 I know certain parts of it, but I don't -- I don't
24        MR. CHATTERJEE: Form.                                            24 know the details of it.
25        THE DEPONENT: I mean, I -- my belief is,           10:40:09    25       Q. How did you learn about the inspections?         10:42:16
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                        ATTORNEYS' EYES ONLY
 1     A. I think attorneys told me about it.           10:42:20               1     A. I was holding on to the prospect of him         10:45:06
 2     Q. How did you learn about the searches on                              2 cooperating with the company on its investigation.
 3 the servers?                                                                3 I felt -- you know, I -- I -- I felt like it was
 4        MS. DUNN: I will instruct the witness                                4 possible that he would testify.
 5 not to answer on the basis of privilege things that      10:42:28           5       Q. But at that time, you were being --         10:45:34
 6 he learned solely from attorneys.                                           6     A. Yeah.
 7     Q. (By Mr. Verhoeven) So is it all solely                               7       Q. -- informed that he would not, correct?
 8 through attorneys?                                                          8     A. Yeah. (Deponent nods head.)
 9     A. Correct.                                                             9       Q. He reported directly to you,
10     Q. Do you personally remember trying to make           10:42:45        10 Mr. Levandowski, correct?                          10:45:41
11 it -- you, not the company and not the attorneys,                          11     A. Correct.
12 just you.                                                                  12       Q. At some point, you learned that he had
13     A. Yeah.                                                               13 taken the Fifth Amendment in court?
14     Q. And -- and I'm not saying you should                                14     A. Yeah.
15 have. I'm just asking -- I'm just trying to figure     10:42:54            15       Q. Do you remember when that was?                 10:45:51
16 out what you did.                                                          16     A. It was, you know, right around the time
17     A. Okay.                                                               17 he did.
18     Q. After you heard the bonus explanation,                              18       Q. Shortly after the meeting?
19 did you personally take any steps to ensure that                           19     A. Yeah.
20 the -- that those documents and the information          10:43:08          20       Q. Okay. Did you have any conversation with         10:45:59
21 contained therein weren't -- weren't used at Uber?                         21 Mr. Levandowski after that point about him taking
22     A. So I personally only interacted with                                22 the Fifth?
23 various other attorneys to make sure that -- to                            23          MS. DUNN: Form.
24 verify, I would say, first, ask the question: Did                          24          THE DEPONENT: Only -- if -- if at all,
25 those files come across or not?                   10:43:37                 25 it was with attorneys in the room.                  10:46:12
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 1        And verify if -- if we -- all the        10:43:40                    1       Q. (By Mr. Verhoeven) Okay. Do you                10:46:14
 2 information we got is that they hadn't, let's                               2 remember any conversation you had with
 3 verify that. Let's make sure. And prior to the                              3 Mr. Levandowski about his taking the Fifth other
 4 bonus explanation or pleading the Fifth, we had                             4 than what you've already testified to?
 5 already done a huge amount of work to verify that          10:43:55         5     A. Other than attorneys being in the room,         10:46:25
 6 that was the case.                                                          6 no.
 7     Q. So I think my question was directed to                               7       Q. So after he took the Fifth, you don't
 8 you and what you did and --                                                 8 remember -- going forward in time -- having any
 9     A. And --                                                               9 conversations with him about him taking the Fifth
10     Q. Let me just ask the question.              10:44:15                 10 or taking any documents?                           10:46:35
11         So after you learned the bonus                                     11          MS. DUNN: Objection to form.
12 explanation, did you personally do anything in                             12          THE DEPONENT: I don't remember. I don't
13 addition to what your attorneys were doing as a                            13 remember any specific conversation to that -- in --
14 result of that?                                                            14 in that regard.
15        MR. CHATTERJEE: Form.                           10:44:31            15       Q. (By Mr. Verhoeven) How about generally?              10:46:43
16        MS. DUNN: Form.                                                     16     A. Again, like, there may have been -- there
17         THE DEPONENT: I am trying to remember                              17 may have been something with an attorney in the
18 anything specifically. I don't know if anything                            18 room, but not outside.
19 specific comes to mind on that front, simply                               19       Q. Once you learned that he had taken the
20 because there was already such a very serious and          10:44:43        20 Fifth in open court, at that point, why didn't you      10:46:56
21 broad and -- just effort with huge resources put to                        21 fire him? I mean, you said before --
22 it to -- to -- along those lines.                                          22     A. Yeah.
23     Q. (By Mr. Verhoeven) Once you learned from                            23       Q. -- you hoped he wouldn't, but then he
24 Mr. Levandowski himself about the bonus                                    24 did.
25 explanation, why didn't you fire him?                 10:45:00         25              So at that point, why didn't you fire      10:47:07
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                        ATTORNEYS' EYES ONLY
 1 him?                                       10:47:09                          1 Mr. Levandowski in the presence of his counsel.            10:49:34
 2        MS. DUNN: Form.                                                       2          THE DEPONENT: I probably can't answer
 3        THE DEPONENT: You know, I just -- I felt                              3 that question. I cannot answer that question.
 4 that he had done something that was F'ing stupid.                            4     Q. (By Mr. Verhoeven) Did he -- let me ask
 5 I -- I didn't feel like he had stolen anything. I     10:47:26               5 you this without disclosing what he said.               10:49:42
 6 knew that it hadn't gotten over to Uber.                                     6          Did he say -- did he say something to you
 7        I felt a little bullied by Google                                     7 about that?
 8 generally with how the initial complaint was and                             8          MS. DUNN: Same --
 9 where it -- where the facts actually were. You                               9     Q. (By Mr. Verhoeven) Yes or no?
10 know, if I were to do it over again, I probably         10:47:47            10          MS. DUNN: -- instruction to the witness.        10:49:53
11 would have immediately. It took a little more                               11          THE DEPONENT: I can't speak to this
12 time, but I eventually got there.                                           12 because of the -- his -- his counsel being in the
13     Q. (By Mr. Verhoeven) You say you felt he                               13 room for this part of the discussion.
14 didn't do anything, but you didn't know that                                14          MR. VERHOEVEN: Will you let him answer
15 because he was taking the Fifth Amendment, correct?            10:48:01     15 yes or no whether Mr. Levandowski spoke to him at              10:50:04
16        MS. DUNN: Form.                                                      16 that meeting about this subject?
17        THE DEPONENT: I believe -- I believe                                 17          MS. DUNN: Since you asked --
18 then, and continue to believe, the explanation that                         18          MR. VERHOEVEN: You can just tell me, yes
19 I got on that evening.                                                      19 or no.
20     Q. (By Mr. Verhoeven) So why did he take              10:48:16          20          MS. DUNN: He's -- well, the problem --          10:50:15
21 the Fifth, given that explanation?                                          21          MR. VERHOEVEN: I don't want a speech.
22        MR. CHATTERJEE: Form.                                                22          MS. DUNN: I understand you don't want a
23        MS. DUNN: Form.                                                      23 speech.
24        THE DEPONENT: This is what -- this was a                             24          MR. VERHOEVEN: I withdraw the question.
25 big part of what that discussion was about. I -- I       10:48:23       25              MS. DUNN: Well --                      10:50:20
                                                                  Page 118                                                                        Page 120

 1 personally don't believe he should have.               10:48:25              1          MR. VERHOEVEN: I withdraw the question.               10:50:20
 2     Q. (By Mr. Verhoeven) What's your                                        2 If you want to answer yes or no, I don't want a
 3 understanding of why he did it?                                              3 speech.
 4        MS. DUNN: Form.                                                       4     Q. (By Mr. Verhoeven) Let me just repeat
 5        MR. CHATTERJEE: Join.                          10:48:35               5 it, so the record is clear.                   10:50:29
 6        THE DEPONENT: My understanding --                                     6          I'm just asking you, yes or no, not what
 7        MS. DUNN: Wait -- sorry.                                              7 was said or anything like that, and the question
 8     Q. (By Mr. Verhoeven) You can answer the                                 8 is: Did Mr. Levandowski personally express to
 9 question.                                                                    9 you -- did he say to you why he was concerned about
10     A. My understanding is that he got advice           10:48:40            10 being criminally prosecuted?                        10:50:44
11 from his counsel to take -- to plead the Fifth.                             11          MS. DUNN: Objection to form.
12     Q. And what -- for what reason?                                         12          MR. CHATTERJEE: Join.
13        MS. DUNN: I'm going to caution the                                   13          THE DEPONENT: Not -- probably not
14 witness not to answer anything that he knows solely                         14 specifically the way you have put that question.
15 from meetings with Mr. Levandowski and his counsel.              10:48:58   15 There were --                                10:51:00
16        THE DEPONENT: I think in -- I guess what                             16     Q. (By Mr. Verhoeven) Did he say it
17 I could say is, in an abundance of caution.                                 17 generally to you?
18     Q. (By Mr. Verhoeven) Did Mr. Levandowski                               18     A. Say what generally? Like --
19 tell you he was concerned about being criminally                            19     Q. What his concern was for why he's
20 prosecuted for what he did?                         10:49:17                20 asserting the Fifth Amendment.                       10:51:06
21     A. I think he expressed his lawyer's concern                            21     A. I think his attorney spoke to that.
22 over that.                                                                  22     Q. Did -- so my question is: Did
23     Q. What did he say?                                                     23 Mr. Levandowski --
24        MS. DUNN: I'm going to caution the                                   24     A. I don't --
25 witness not to answer anything he knows solely from            10:49:30  25        Q. -- say to you --                      10:51:18
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 1    A. I don't recall him saying that.           10:51:20                1 repeat the question.                        10:53:20
 2        MS. DUNN: The witness was instructed not                         2         Was there a recommendation made to fire
 3 to answer anything that he knows based only on                          3 Mr. Levandowski at that point in time?
 4 conversations with Mr. Levandowski and                                  4         MS. DUNN: Same objection. You are
 5 Mr. Levandowski's personal attorney in the room.          10:51:30      5 instructed not to answer if you can only answer        10:53:29
 6 So if you --                                                            6 based on what your conversations were with counsel.
 7     Q. (By Mr. Verhoeven) Did you --                                    7         THE DEPONENT: I cannot answer that
 8        MS. DUNN: You can ask about meetings                             8 question.
 9 that did not contain those people.                                      9     Q. (By Mr. Verhoeven) Was the
10     Q. (By Mr. Verhoeven) Did you ever have              10:51:40      10 recommendation that you referred to about removing        10:53:39
11 conversations about this bonus explanation without                     11 him from LiDAR based on a conversation with
12 attorneys in the room?                                                 12 attorneys?
13    A. No.                                                              13     A. It was based on a bunch of conversations,
14     Q. What about his taking of the                                    14 some of which were with attorneys.
15 Fifth Amendment? Did you ever have any                   10:51:49      15     Q. Okay. Which ones weren't with attorneys?        10:53:55
16 conversations with Mr. Levandowski about taking the                    16     A. I can't remember specific --
17 Fifth Amendment without attorneys in the room?                         17 specifically. Just knowing that that kind of
18    A. No.                                                              18 conversation happened, sometimes with attorneys;
19     Q. There a came a time when the public was                         19 sometimes without.
20 informed that Mr. Levandowski had been removed from            10:52:06 20    Q. Okay. What do you remember about the            10:54:07
21 working in -- on the area -- that was a bad                            21 conversations without attorneys?
22 question. I withdraw it.                                               22     A. That having him work outside of the area
23        There came a time when the public was                           23 of this specific technology, which was where the
24 informed that Mr. Levandowski was walled off from                      24 complaint was mostly focused, was probably a good
25 working in the area of LiDAR technology at Uber?            10:52:21   25 idea.                                  10:54:35
                                                                 Page 122                                                               Page 124

 1     A. Yes.                             10:52:26                        1       Q. And what was your understanding of what        10:54:37
 2     Q. Do you recall that?                                              2 was the reason for that conversation to occur at
 3     A. Yes.                                                             3 that time?
 4     Q. Did you make that decision?                                      4         MS. DUNN: Form.
 5     A. I was part of that decision, yes.         10:52:34                5        THE DEPONENT: I don't remember. I don't          10:54:45
 6     Q. Did you make it? Were you the guy who                             6 remember the specifics.
 7 made the call?                                                           7      Q. (By Mr. Verhoeven) Was there some event
 8     A. I mean, I ultimately approved a                                   8 that occurred that resulted in this conversation?
 9 recommendation, yes.                                                     9        MS. DUNN: Form.
10     Q. Okay. So you could -- you were the guy            10:52:41      10         THE DEPONENT: This was before the               10:54:58
11 who could have disapproved or approved; you were                       11 preliminary injunction order?
12 the ultimate decision-maker, correct?                                  12       Q. (By Mr. Verhoeven) Yes, it was before
13     A. I approved the recommendation that was                          13 the preliminary injunction.
14 made to me.                                                            14     A. So it's just -- look, I mean, there's not
15     Q. Okay. And what was the recommendation?              10:52:51    15 a lot of days between the complaint and the PI         10:55:08
16     A. That he not work on LiDAR-related                               16 order. It wasn't a long period of time. So I
17 activities.                                                            17 think we are learning as we go, and we are trying
18     Q. Was there a recommendation that he be                           18 to figure out what is the right thing to do, given
19 fired at that point in time?                                           19 the facts we know and what we are learning as we
20     A. I think there was a --                 10:53:06                 20 go.                                   10:55:25
21        MS. DUNN: Object on the basis of                                21       Q. Okay. I understand that. But I am just
22 privilege. The witness is instructed not to answer                     22 trying to probe your recollection of conversations.
23 based on information he only knows from                                23         And you've testified that you had some
24 conversations with attorneys.                                          24 conversations about removing from Mr. Levandowski
25     Q. (By Mr. Verhoeven) Was a -- I will            10:53:19        25 from his work on LiDAR that were with others that          10:55:36
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 1 were -- where attorneys weren't present, correct?       10:55:40         1      A. I'm -- I'm fairly certain I answered this 10:58:04
 2    A. Yeah, and I don't remember the specifics,                          2 one.
 3 like specific conversations, but know that it was a                      3      Q. Well, can you humor me. I am sorry. I
 4 general topic of conversation amongst people, some                       4 don't remember it.
 5 of which were attorneys; some weren't.                10:55:53           5      A. Okay. Well, your memory is a little        10:58:11
 6    Q. Which ones did you discuss it where                                6 short-term.
 7 they -- who -- another bad question. Sorry.                              7      Q. It is, indeed.
 8    A. That's okay.                                                       8      A. Okay. There's a few things we -- we -- I
 9    Q. What conversations on this subject do you                          9 was still hopeful that he would testify. I was
10 recall with non-attorneys?                    10:56:02                  10 still hopeful that he would make a declaration.      10:58:39
11    A. I don't recall specifically which                                 11         And given what we knew at this point, and
12 conversations. I just know that it was a general                        12 given what seemed to be a desire from him to do so,
13 topic of conversation because of all the press and                      13 we may have been maybe unrealistically hopeful, but
14 everything that was going on.                                           14 what we felt at that time, it felt like he would.
15    Q. Do you recall with whom you had these             10:56:19        15         And so we were trying to get to get him    10:59:02
16 conversations that were general?                                        16 to cooperate with the Court and try to get him to
17    A. Not specifically.                                                 17 cooperate with our own internal investigation, as
18    Q. Do you remember any specific nonlawyer --                         18 well.
19 withdraw the question.                                                  19         And looking back, maybe -- you know,
20       Do you remember any nonlawyer that you             10:56:32       20 maybe we were too hopeful. But that's -- that's      10:59:14
21 had such a conversation with?                                           21 where we ended up.
22    A. No.                                                               22      Q. Okay. You did answer that, but I think I
23    Q. Who made you the recommendation to remove                         23 it was when I asked in point in time with the
24 Mr. Levandowski from LiDAR?                                             24 Fifth Amendment.
25       MS. DUNN: Object on the basis of                10:56:54          25         So this question was specifically to you 10:59:25
                                                                Page 126                                                                       Page 128

 1 privilege, and the witness is instructed not to      10:56:54            1 at the point in time when the recommendation --           10:59:28
 2 answer if it's only something he can answer based                        2     A. Yeah.
 3 on communications with counsel.                                          3     Q. -- was made about LiDAR.
 4        THE DEPONENT: I can't answer that                                 4     A. Oh.
 5 question.                               10:57:01                         5     Q. And the answer is the same?                   10:59:36
 6     Q. (By Mr. Verhoeven) So your lawyers made                           6         At the point in time --
 7 the recommendation?                                                      7     A. Yeah, these -- well, there wasn't that
 8     A. I cannot speak to that question.                                  8 much time between taking him off of LiDAR and when
 9     Q. Do you have an understanding as to why                            9 we ultimately made the decision to terminate him.
10 the recommendation was made?                        10:57:26            10 There was not many days between that, between those             10:59:49
11        MS. DUNN: Same instruction.                                      11 two.
12        THE DEPONENT: I can't answer that                                12     Q. Okay. But just for the record -- I don't
13 question.                                                               13 know what that means. You have to tell me. So
14     Q. (By Mr. Verhoeven) Were there any other                          14 just for the record, the point in time I'm talking
15 recommendations made?                            10:57:40               15 about is the point in time in which --               11:00:03
16        MS. DUNN: Same objection and                                     16     A. Yeah.
17 instruction.                                                            17     Q. -- you approved the recommendation to
18        MR. VERHOEVEN: On the basis of                                   18 remove him from LiDAR --
19 privilege?                                                              19     A. Yeah.
20        MS. DUNN: Yes.                          10:57:47                 20     Q. -- before the preliminary injunction           11:00:11
21     Q. (By Mr. Verhoeven) So why didn't you                             21 issued.
22 fire Mr. Levandowski at that point in time --                           22         Are you with me there?
23        MS. DUNN: Objection to form.                                     23     A. Yeah.
24     Q. (By Mr. Verhoeven) -- when this                                  24     Q. And my question was at that point in
25 recommendation was made?                           10:58:03             25 time.                                    11:00:18
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 1     A. Yeah.                             11:00:18                          1         So there's a letter we sent him after the     11:02:31
 2     Q. Would you have the same answer?                                     2 preliminary injunction letting him know that he
 3     A. Same answer. Yes, yes. Yeah.                                        3 must -- he's got to cooperate with the Court. And
 4     Q. You were still hopeful --                                           4 then there was a letter two weeks -- something like
 5     A. Yeah.                             11:00:24                          5 that, something around two weeks -- prior to his          11:02:45
 6     Q. -- that --                                                          6 formal termination that told him that we were going
 7     A. Yeah.                                                               7 to terminate him.
 8     Q. What you said before?                                               8     Q. Okay.
 9     A. Yeah.                                                               9     A. Yeah, something like that, yeah.
10     Q. Okay. How did you become aware that a             11:00:26         10     Q. So did the lawyers inform him, to the            11:03:00
11 preliminary injunction had issued in this case?                           11 best of your recollection?
12     A. I --                                                               12     A. I am not sure who informed him.
13        MS. DUNN: Just instruct the witness not                            13     Q. Okay. Did you have any discussions with
14 to answer things that he only knows based on                              14 him personally about it?
15 communications with counsel.                        11:00:46              15     A. No.                               11:03:10
16        MR. VERHOEVEN: From counsel? Yeah.                                 16     Q. Have you had any discussions with
17     Q. (By Mr. Verhoeven) Okay. Why didn't you                            17 Mr. Levandowski since that time?
18 fire Mr. Levandowski upon issuance of the                                 18     A. About termination or --
19 preliminary injunction?                                                   19     Q. About anything.
20     A. I think there were -- there was a           11:01:10               20     A. He sent one note to me after my mother            11:03:20
21 decision pretty shortly after that to do so.                              21 passed away.
22     Q. Do you recall any events between the                               22     Q. Other than that?
23 preliminary injunction -- that's a bad question.                          23     A. And sent a brief note after I resigned.
24        There's a period of time that -- there                             24 And they were very short.
25 was a date when the preliminary injunction             11:01:26      25          Q. Okay. Was the board of directors in any           11:03:34
                                                               Page 130                                                                       Page 132

 1 issued --                               11:01:27                           1 way involved in decision to fire Mr. Levandowski?              11:03:38
 2     A. Yeah.                                                               2     A. They -- they -- they definitely made
 3     Q. -- and there's a date -- and I can give                             3 their -- different board members had different
 4 you the dates if you want -- when at least it was                          4 opinions on this, but they definitely made their
 5 announced that Mr. Levandowski had been fired?             11:01:35        5 opinions known to me.                            11:03:54
 6     A. Yeah.                                                               6     Q. Okay. When was the first time you recall
 7     Q. And my question is: Do you recall any                               7 that someone from the board contacted you and made
 8 discussions that you were in, in that time period,                         8 their opinions known to you?
 9 about whether or not he should be fired?                                   9         MS. DUNN: Form.
10     A. Those discussions all had counsel.            11:01:49             10         MR. CHATTERJEE: Join.                         11:04:07
11     Q. Okay. Did you have any discussions with                            11         THE DEPONENT: I can't remember, for
12 Mr. Levandowski on those subjects during that time                        12 sure, like the first. Certainly, probably the
13 period?                                                                   13 first time I heard was before the PI -- or the
14     A. I did not.                                                         14 first time I remember like a very -- like a very
15     Q. When the decision was -- who made the            11:01:59          15 clear conversation about this.                      11:04:26
16 decision to fire Mr. Levandowski?                                         16         But it doesn't mean it didn't happen
17     A. I ultimately did.                                                  17 earlier. I just can't remember one before that.
18     Q. Okay. Did you personally tell him?                                 18     Q. (By Mr. Verhoeven) I think I need to
19     A. I did not.                                                         19 clear the record.
20     Q. Okay. How was he informed?                     11:02:10            20     A. Yeah.                              11:04:37
21     A. I mean, there was a series of letters. I                           21     Q. Do you remember any conversation with the
22 think there was a letter after the preliminary                            22 board member about this case before the PI?
23 injunction. There was then also a --                                      23     A. Yes. But we also had an attorney in the
24     Q. Sorry.                                                             24 room.
25     A. No, it's okay.                      11:02:30                       25     Q. Okay. Was there anytime when someone                    11:04:48
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 1 from the board called you and expressed their                11:04:50           1        THE DEPONENT: Go.                           11:07:01
 2 opinions on this case or made some suggestions or                               2        MS. DUNN: The witness is instructed not
 3 asked for any information?                                                      3 to speak about the content of those meetings.
 4     A. I am trying to remember. I don't                                         4     Q. (By Mr. Verhoeven) I am sorry. What
 5 remember a specific phone call on this topic.               11:05:05            5 were you going to say, "or what"?                  11:07:06
 6     Q. There were -- but there were meetings, at                                6     A. I was going to say something my attorney
 7 least one meeting --                                                            7 wasn't going to let me say.
 8     A. Yeah.                                                                    8     Q. Okay. Let's switch subjects.
 9     Q. -- with someone on the board prior to the                                9        At some point, you and Mr. Levandowski
10 issuance of the preliminary injunction, that you            11:05:16           10 had a conversation about him leaving Google and            11:07:31
11 can recall?                                                                    11 coming over to your team, right?
12          MS. DUNN: The witness is instructed to                                12     A. Correct.
13 answer only to the extent that these weren't                                   13     Q. When was the first time that subject came
14 conversations -- privileged conversations with                                 14 up that you can recall?
15 attorneys.                                  11:05:24                           15     A. I mean, I can't remember a specific          11:07:49
16          MR. VERHOEVEN: I'm only asking you                                    16 conversation; but, generally, late December, early
17 whether or not there was such a meeting.                                       17 January is when some kind of conversations were
18          THE DEPONENT: I mean, we have regular                                 18 happening. And they didn't start there, but they
19 board meetings.                                                                19 eventually got to a place where, like, maybe you
20     Q. (By Mr. Verhoeven) So it was discussed                11:05:33          20 should come to Uber.                            11:08:09
21 during regular board meetings?                                                 21     Q. When did they start?
22     A. I can't say.                                                            22     A. My conversations -- my conversations with
23     Q. Because of the attorney-client privilege?                               23 Anthony started late December timeframe.
24     A. Correct. Correct.                                                       24     Q. Of which year?
25     Q. Okay. Was it ever discussed with any                11:05:42       25          A. Sorry. '15.                       11:08:24
                                                                    Page 134                                                                       Page 136

 1 board member outside of the regular meetings?                    11:05:45       1    Q. Okay. Can you describe to me, generally,          11:08:26
 2     A. I can't remember any specific                                            2 the circumstances of -- of that discussion in
 3 conversation. I don't know for sure. I can't say                                3 December of 2015?
 4 for sure it didn't, but I don't -- I can't recall a                             4    A. So, I mean, late December 2015, I started
 5 specific conversation.                           11:06:00                       5 getting brought into conversations that various        11:08:52
 6     Q. Okay. What was the nature of the board's                                 6 other members of my team were having with him, and
 7 involvement in the decision to fire                                             7 I don't know if other members of his team. And I
 8 Mr. Levandowski?                                                                8 would get brought into those meetings on occasion
 9          MS. DUNN: Same instruction to the                                      9 by late December.
10 witness.                                   11:06:32                            10    Q. Did Uber approach Mr. Levandowski on this            11:09:09
11          THE DEPONENT: I can't answer.                                         11 subject?
12     Q. (By Mr. Verhoeven) So was there -- I                                    12    A. I am not sure. I am not sure how the
13 think you said they made their opinions known                                  13 conversation started.
14 earlier --                                                                     14    Q. And you are not sure whether Levandowski
15     A. Yeah.                                11:06:43                           15 approached Uber or Uber approached Levandowski?               11:09:20
16     Q. -- in connection with the firing issue,                                 16    A. Yeah, I don't know.
17 right?                                                                         17    Q. You weren't personally recruiting him?
18     A. Yes.                                                                    18    A. Not when we started talking to him, no.
19     Q. Okay. So you are testifying that that                                   19    Q. Okay. Who were these other people
20 was in a meeting with counsel that they made their               11:06:49      20 that -- that brought you into the conversation?       11:09:34
21 opinions known?                                                                21    A. So there was Jeff Holden,
22     A. Yes.                                                                    22 Brian McClendon. There may have been others. I
23     Q. Okay.                                                                   23 can't remember.
24     A. Or sometimes --                                                         24    Q. What did they say about it to you once
25          MS. DUNN: I don't --                         11:06:59                 25 they brought you in?                         11:09:56
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 1     A. This is something who is a great talent         11:09:57            1     A. Yeah.                               11:12:20
 2 in the autonomy space. We are having conversations                         2     Q. And did you subsequently meet him?
 3 with him. We are not sure where we are going to                            3     A. Yeah.
 4 end up, but you may want to meet him.                                      4     Q. And can you just describe, generally, the
 5     Q. Did you know him before that                   11:10:10             5 circumstances of that meeting?                      11:12:26
 6 December 2015 timeframe?                                                   6     A. I -- I don't specifically remember that
 7     A. No.                                                                 7 meeting and the nature of it. So I don't know much
 8     Q. Okay. At that point in time, just so we                             8 about it.
 9 have a record on this, what was the state of Uber's                        9     Q. Was it one-on-one?
10 research and development in the AV -- in the AV              11:10:28     10     A. No.                              11:12:40
11 area?                                                                     11     Q. So it was a group of people?
12     A. I think we got started sort of in the                              12     A. Yeah.
13 late 2014, early 2015 timeframe. We had a growing                         13     Q. Do you remember who -- who from Uber was
14 team in Pittsburgh.                                                       14 at that meeting?
15     Q. So at this point in time, you had a team        11:10:45           15     A. I don't remember specifically, but             11:12:49
16 in Pittsburgh?                                                            16 there -- you know, there are various folks who were
17     A. Yeah, a fairly large team by that point,                           17 part of that discussion and sort of intro'ing me.
18 I think.                                                                  18 I don't know if they were at that first meeting or
19     Q. Okay. I understand there was a lot of                              19 not, like who was at that first meeting.
20 hires out of Carnegie Mellon?                     11:10:55                20        But, again, you know, Brian McClendon and           11:13:06
21     A. Yeah.                                                              21 Jeff Holden come to mind. There may have been
22     Q. Had those hires started at that point in                           22 businesspeople in that meeting, too. I just -- I
23 time, or --                                                               23 just can't remember.
24     A. Yeah.                                                              24     Q. It's fair to say that you and
25     Q. Okay. So there -- there was a team of           11:11:02        25 Mr. Levandowski have had a lot of one-on-one                  11:13:15
                                                                 Page 138                                                                     Page 140

 1 Carnegie Mellon people already working in                11:11:03          1 conversations prior to him leaving Google about him         11:13:19
 2 Pittsburgh at that time?                                                   2 possibly joining you?
 3     A. Yeah, it was -- it was a mix of folks who                           3        MS. DUNN: Form.
 4 had worked for, like, a military contractor, or                            4        THE DEPONENT: I don't know if that's
 5 some folks from CMU, some folks from -- from a lab.           11:11:14     5 fair to say.                            11:13:28
 6 But they had been working for a year at that point,                        6     Q. (By Mr. Verhoeven) Okay. Have you had
 7 close to it.                                                               7 any? Did you have any?
 8     Q. Was there any member of the Pittsburgh                              8     A. Prior to him leaving? Maybe. Maybe. I
 9 team that was also in that group that brought you                          9 don't know for sure.
10 in the first time about Mr. Levandowski?               11:11:30           10     Q. You don't remember having one-on-one               11:13:37
11     A. I don't know for sure. There may have                              11 conversations with him before he decided to leave?
12 been. I don't know.                                                       12     A. Like, I am trying to place, like, the --
13     Q. You can't think of one, though?                                    13 the -- like when, generally, he left and when,
14     A. I -- I don't know who was specifically in                          14 generally, we started spending more time together.
15 the meeting when I first met him.                  11:11:45               15        And my -- my general recollection is that       11:13:52
16     Q. Okay. Did -- did the folks that you                                16 the time -- when we started spending more and more
17 brought in explain why they thought it would be a                         17 time was as we were, like, really starting to work
18 good move to hire Mr. Levandowski?                                        18 on getting the deal done.
19         MS. DUNN: Form.                                                   19        So, for me, that feels like February and
20         THE DEPONENT: I think when we first               11:12:06        20 March is when we started spending more time                11:14:13
21 started discussions, it wasn't clear, like, were we                       21 together, and really even past that is when I think
22 going to hire him, or were we going to partner,                           22 it got -- is, you know, when we really started
23 what -- what -- what we were going to do.                                 23 spending time. But in the early days, I was
24     Q. (By Mr. Verhoeven) Okay. But they                                  24 brought into meetings that existed.
25 suggested you meet him?                           11:12:19                25     Q. Okay. So who was driving the train              11:14:36
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 1 during that early time?                      11:14:38          1 were being had, the kinds of meetings we were         11:16:47
 2     A. It was -- in the early time, it was                     2 having. But a specific one, not really.
 3 mostly -- I think it was our deal team, probably               3     Q. Outside of attending meetings, do you
 4 mostly Cameron.                                                4 recall any conversations you had had with
 5     Q. Okay.                             11:14:45              5 Mr. Levandowski prior to his leaving Google?           11:16:58
 6     A. And he may have had one or two other                    6     A. I don't have a recollection of a specific
 7 people with him. And Jeff Holden.                              7 conversation or specific meeting.
 8     Q. Okay.                                                   8     Q. Did you have conversations with him prior
 9     A. And -- yeah.                                            9 to him leaving -- let me finish the question.
10     Q. And then they would bring you in            11:14:52 10       A. Yeah.                             11:17:12
11 occasionally to give you updates?                             11     Q. Did you have conversations with him prior
12     A. Give me updates or get me involved in a                12 to him leaving Google outside of the meetings?
13 discussion, yeah.                                             13        MS. DUNN: Form.
14     Q. Did you have any input -- assuming you                 14         THE DEPONENT: I can't say for sure.
15 had input at some point. When is the first time      11:15:06 15     Q. (By Mr. Verhoeven) You are not sure           11:17:25
16 you remember having -- instead of just hearing                16 about that?
17 status reports and -- and talking to people, when             17     A. I am not sure. Not sure. You know, I
18 is the first time that you remember providing input           18 guess what I would say is, in the early days, it
19 yourself on whether this would be a good move or              19 was -- it was meetings that I was joining, for the
20 not?                                   11:15:20               20 most part. I am not sure if there was -- I can't   11:17:47
21         MS. DUNN: Form.                                       21 remember, specifically, meetings beyond that.
22         THE DEPONENT: Well, it is like it wasn't              22     Q. Why did Uber hire Stroz or Stroz to do an
23 clear what move. But if you have ever been in a               23 investigation of Mr. Levandowski?
24 meeting with me, which you have not, I am going to            24        MS. DUNN: I will caution the witness not
25 provide input all the time, so...             11:15:32        25 to answer things he only knows from communications 11:18:09
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 1     Q. (By Mr. Verhoeven) Okay. Do you                11:15:36          1 with his lawyers, with the company's lawyers.         11:18:12
 2 remember what your initial input was, generally?                        2          THE DEPONENT: I can't answer that.
 3     A. No, it was probably just sort of opinions                        3     Q. (By Mr. Verhoeven) Were you involved in
 4 on different options and probably just exploratory.                     4 any way in the decision to hire forensic -- an
 5 I don't know if I had a strong -- like, a strong     11:15:48           5 independent forensic firm to do an investigation of    11:18:24
 6 opinion one way or the other in early meetings.                         6 certain diligence to employees in connection with
 7     Q. Did there come a time when you started to                        7 the transaction that you did with Ottomotto?
 8 have an opinion that was more formed?                                   8     A. No.
 9     A. Probably.                                                        9     Q. Were you aware of it?
10     Q. Yeah. Do you remember, roughly, when             11:16:04       10     A. Yes.                             11:18:43
11 that was?                                                              11     Q. When was the first time you became aware
12     A. For me, it feels like teams                                     12 of it?
13 early/mid-January.                                                     13     A. I am not sure the -- the first time, but
14     Q. Of what year?                                                   14 it feels like the March timeframe, march 2016.
15     A. 2016.                             11:16:14                      15     Q. And how did you become aware of it?            11:18:57
16     Q. Okay. Do you remember if it was before                          16     A. Probably with a conversation with an
17 or after Mr. Levandowski left Google?                                  17 attorney.
18     A. Well, if it was early/mid-January, I                            18     Q. Okay. What was your understanding of the
19 mean, that -- it's possible it was when he was                         19 reason why it was being done?
20 still at Google.                          11:16:30                     20          MS. DUNN: I will caution the witness not     11:19:09
21     Q. Do you remember any conversations that                          21 to answer to the extent he only knows this based on
22 you had personally with Mr. Levandowski before he                      22 conversations with attorneys for the company.
23 left Google?                                                           23          THE DEPONENT: She's answered for me.
24     A. I mean, I just have a general                                   24     Q. (By Mr. Verhoeven) So you -- you can't
25 recollection of the kinds of conversations that       11:16:44       25 answer -- it was all -- your understanding is         11:19:22
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 1 completely from attorneys?                      11:19:24                1     A. What Stroz investigation are you               11:29:08
 2    A. Well, state your -- restate your                                  2 referring to?
 3 question.                                                               3     Q. I'm referring to -- remember, before the
 4    Q. What was your understanding as to why                             4 break I asked you about the March time frame, we
 5 this investigation into these diligence employees     11:19:29          5 talked about the March time frame --                  11:29:18
 6 was being done?                                                         6     A. Okay. Yeah.
 7    A. Oh. We were contemplating an M & A                                7     Q. -- when there was a Stroz investigation?
 8 transaction. M & A transactions often have                              8     A. Yes. You're speaking March 2016,
 9 diligence.                                                              9 correct?
10    Q. Are you familiar with M & A transactions        11:19:46         10     Q. Starting at that point.                  11:29:26
11 being done where employees' devices are imaged and                     11     A. Yeah.
12 analyzed by an independent third party?                                12     Q. But then the question is, did there come
13       MS. DUNN: Form.                                                  13 a time after the start of that investigation --
14       THE DEPONENT: Yes.                                               14     A. Yeah.
15    Q. (By Mr. Verhoeven) Which transactions           11:20:05         15     Q. -- when you became aware -- let me ask a            11:29:31
16 are you aware of?                                                      16 more particular question.
17    A. I mean, just usually complex transactions                        17        Did you -- did you become aware of any
18 and transactions that involve individuals that may                     18 report or information provided by Stroz as a result
19 have worked at a competitor.                                           19 of them being retained in the March time frame?
20    Q. Can you name one that you know besides          11:20:19         20     A. Those -- those -- the information that I       11:29:54
21 this one?                                                              21 received along those lines was with company
22    A. I would have to think about it. Just --                          22 counsel.
23 we haven't done a lot of M & A transactions at                         23     Q. But you did receive some information?
24 Uber. And this is the only one with -- with a                          24     A. I got maybe a couple of updates along the
25 group of individuals who had previously worked at a        11:20:37  25 way.                                         11:30:06
                                                               Page 146                                                                     Page 148

 1 competitor.                                 11:20:40                    1     Q. Okay. Do you remember when you received               11:30:10
 2        But just general chatter in                                      2 the first update?
 3 Silicon Valley in the industry, this is the kind of                     3     A. I do not.
 4 thing -- so I can't specifically name a -- a                            4     Q. Was it before Uber entered into the terms
 5 transaction, but it's one -- it's the kind of thing 11:20:50            5 and conditions agreement?                         11:30:17
 6 you hear about generally.                                               6     A. I think so.
 7     Q. Do you remember hearing about it with any                        7     Q. Okay. And what were you told?
 8 specificity from anyone?                                                8     A. I can't -- I can't speak to that.
 9     A. Not really.                                                      9     Q. So you were told by attorneys?
10     Q. Just -- so your basis for saying that is 11:21:02               10     A. Yes.                                11:30:32
11 just general chatter?                                                  11     Q. You said there was another time, a couple
12     A. Yeah.                                                           12 of times?
13     Q. Okay.                                                           13     A. Yeah.
14     A. Real quick, if I could go to the                                14     Q. What's the other time you remember?
15 bathroom, that would be good.                       11:21:10           15     A. I can't remember specific dates, but I         11:30:41
16        MR. VERHOEVEN: Sure.                                            16 remember there were a couple of times, maybe, where
17        THE DEPONENT: Thanks.                                           17 I was updated on where we were in the process.
18        THE VIDEOGRAPHER: Going off the record.                         18     Q. When was the -- relative to the timeline,
19 The time is 11:21.                                                     19 when was the last time that you remember receiving
20        (Recess taken.)                        11:21:48                 20 any report on this?                           11:30:54
21        THE VIDEOGRAPHER: We are back on the                            21     A. I mean, it was certainly before we signed
22 record. The time is 11:28.                                             22 any deal, yeah.
23     Q. (By Mr. Verhoeven) Did there come a time                        23     Q. Was it before the put call agreement?
24 when you became aware of any results from the Stroz                    24        MR. CHATTERJEE: Form.
25 investigation?                               11:29:02                  25        THE DEPONENT: What -- what do you mean?                 11:31:08
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 1 What...                                11:31:08                  1        MS. DUNN: The witness is instructed not           11:33:15
 2     Q. (By Mr. Verhoeven) There's an agreement                   2 to answer based on communications with counsel.
 3 that you signed, I believe, that --                              3        But, generally, I want to make sure that
 4     A. Okay.                                                     4 the witness understands that he can answer to the
 5     Q. -- allowed the parties to have options, a 11:31:13        5 extent he has an independent recollection.             11:33:21
 6 put call.                                                        6        MR. VERHOEVEN: He's already testified
 7         MR. CHATTERJEE: Form.                                    7 about that.
 8         MS. DUNN: Form.                                          8     Q. (By Mr. Verhoeven) Let me just say this
 9     Q. (By Mr. Verhoeven) Are you familiar with                  9 way. Including counsel and non-counsel, just yes
10 that agreement?                           11:31:20              10 or no, did you become aware of any documents               11:33:34
11         MR. CHATTERJEE: Same thing. Form.                       11 concerning -- that mentioned bad acts in connection
12         THE DEPONENT: Are you talking --                        12 with this transaction?
13     Q. (By Mr. Verhoeven) You want me to show                   13     A. I don't remember. I don't remember.
14 it to you?                                                      14     Q. Okay.
15     A. Okay.                            11:31:26                15     A. Yeah.                             11:33:48
16     Q. Or unless you're familiar --                             16     Q. Did you -- did there come a time when --
17     A. Okay.                                                    17 this is the agreement I was talking about.
18     Q. -- unless you know it.                                   18        Maybe I should -- should have called this
19     A. Please show me. I want to make sure I                    19 something else.
20 understand what you're saying.                  11:31:34        20        MR. VERHOEVEN: Let's mark this as                 11:34:04
21     Q. Are you familiar with -- you don't                       21 Exhibit 365.
22 remember a put call agreement that was signed?                  22        (Exhibit 365 was marked for
23     A. I don't remember the term "put call," but                23 identification by the court reporter and is
24 I just -- if you can show me, that would be                     24 attached hereto.)
25 helpful.                              11:31:54                  25        THE DEPONENT: Would you like me to read                11:34:15
                                                        Page 150                                                                    Page 152

 1     Q. I will just show it, so there's no        11:32:03        1 this right now?                             11:34:16
 2 ambiguity. I guess that's the safest thing to do.                2     Q. (By Mr. Verhoeven) No.
 3        While they're looking for that, I will                    3        Does this refresh your recollection -- I
 4 keep asking you questions.                                       4 think you signed it. You might as well check that.
 5     A. Okay.                              11:32:26               5        MR. CHATTERJEE: Do you have another                   11:34:26
 6     Q. Did you know that the Stroz investigation                 6 copy, Charlie?
 7 was investigating, in part at least, the subject of              7     Q. (By Mr. Verhoeven) Is that your
 8 bad acts by the diligence employees?                             8 signature?
 9        MR. CHATTERJEE: Form.                                     9     A. That is, yeah.
10        MS. DUNN: Form.                          11:32:42        10     Q. Does this refresh your recollection of --       11:34:36
11        THE DEPONENT: I don't know what you're                   11     A. Well, I mean it says, "Agreement and Plan
12 specifically referring to.                                      12 Merger."
13     Q. (By Mr. Verhoeven) Do you remember                       13     Q. Okay. Let's call it that.
14 seeing any documents referring to bad acts                      14     A. Yeah.
15 associated with this transaction?                 11:32:57      15     Q. That's what I was referring to.            11:34:44
16     A. I do not.                                                16     A. Okay. I mean, I haven't -- I mean, I --
17        MR. CHATTERJEE: Same objection.                          17 I have not read this document, but -- but certainly
18     Q. (By Mr. Verhoeven) Did you read any                      18 have -- you know, I see my signature on it, so yes.
19 agreements that talked about bad acts in connection             19     Q. Did you read it before you signed it?
20 with this transaction?                        11:33:03          20     A. No. No. I was certainly briefed on it,       11:34:59
21     A. No.                                                      21 though.
22        MS. DUNN: Form.                                          22     Q. Did your briefing include anything about
23     Q. (By Mr. Verhoeven) Did your counsel tell                 23 bad acts?
24 you about bad acts associated with this                         24     A. I don't recall anything like that.
25 transaction?                               11:33:14             25     Q. Did it include anything about a Stroz           11:35:11
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 1 investigation?                               11:35:14                 1 of an indemnification agreement that indemnifies a          11:37:21
 2     A. I was aware that -- I was aware that                           2 person for intentional bad acts?
 3 Stroz was conducting -- that there was a diligence                    3        MS. DUNN: Form.
 4 process underway and that we were looking into                        4        THE DEPONENT: Well, I guess my
 5 content, devices, et cetera.                     11:35:31             5 understanding is indemnification agreements              11:37:36
 6     Q. Was your brief- -- I'm talking about your                      6 generally indemnify people against things that they
 7 briefing --                                                           7 disclose.
 8     A. Yeah --                                                        8        And you don't need indemnification for
 9     Q. -- on this before you signed it?                               9 things that -- like walking down the street,
10     A. Yeah.                                11:35:41                 10 there's no indemnity for walking down the street.         11:37:49
11     Q. Did that briefing discuss the                                 11        But it's really about what people
12 investigation and the results of the investigation?                  12 disclose and what they don't disclose. It's just
13     A. You know, I'm just sort of -- I'm kept up                     13 generally how indemnification agreements work.
14 to date on a deal as it's coming along. So it's                      14     Q. (By Mr. Verhoeven) Okay. Are you aware
15 not like there's like a -- the final briefing, so    11:35:54        15 of any indemnification agreements -- well, let           11:38:00
16 to speak, might be on the final areas of the deal                    16 me -- let me back up.
17 that were being solved.                                              17        Are you familiar with any of the terms of
18     Q. Okay.                                                         18 the indemnification agreement between Uber and
19     A. So I can't -- yeah. So it's -- it's                           19 Mr. Levandowski?
20 different -- you get different parts at different     11:36:09       20     A. No, not -- not specifically.              11:38:08
21 times. I can't say what the final one was.                           21     Q. Is Uber indemnifying Mr. Levandowski in
22     Q. Okay.                                                         22 this litigation?
23     A. And, generally, they're -- you know, in                       23        MR. CHATTERJEE: Form.
24 most of these, there would be an attorney in the                     24        MS. DUNN: Form.
25 room.                                      11:36:18                  25        THE DEPONENT: I don't know.                      11:38:19
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 1     Q. Okay.                           11:36:18                       1     Q. (By Mr. Verhoeven) Is Uber paying for             11:38:20
 2     A. But, yeah, I don't know.                                       2 Mr. Levandowski's attorneys?
 3     Q. Okay. And I think we've already covered                        3        MS. DUNN: Form.
 4 any information you have about the results of the                     4        MR. CHATTERJEE: Form.
 5 investigation are covered by the -- were from        11:36:31         5        THE DEPONENT: I don't know.                      11:38:27
 6 attorneys --                                                          6     Q. (By Mr. Verhoeven) Have you ever heard
 7     A. Yeah.                                                          7 of an indemnification agreement that talks about
 8     Q. -- is that right?                                              8 pre-deal bad acts?
 9     A. Of course, yeah.                                               9     A. Those specific words?
10     Q. Did you know that this agreement had an        11:36:38       10     Q. Yeah.                               11:38:38
11 indemnification clause for Mr. Levandowski?                          11     A. No.
12        MR. CHATTERJEE: Form.                                         12     Q. Have you -- is it correct that you have
13        THE DEPONENT: I mean, I would be                              13 exchanged text messages with Mr. Levandowski?
14 surprised if it didn't.                                              14     A. Yes.
15     Q. (By Mr. Verhoeven) Would you be               11:36:50        15     Q. Are you aware that on May 11th of this           11:38:59
16 surprised if Uber indemnified Mr. Levandowski for                    16 year the court ordered Uber to make available for
17 committing prior bad acts with respect to Google?                    17 inspection any text messages you exchanged with
18        MS. DUNN: Form.                                               18 Mr. Levandowski pertaining to Uber's LiDAR work?
19        THE DEPONENT: I mean, I generally                             19        MS. DUNN: Form.
20 understand how indemnification agreements work.          11:37:03    20        THE DEPONENT: I wasn't aware of that               11:39:13
21        They're typically about what somebody has                     21 specific order, but I generally understand the
22 disclosed and what they haven't disclosed, and how                   22 Court wanted my text messages.
23 they get indemnified against things that they                        23     Q. (By Mr. Verhoeven) What do you
24 disclose.                                                            24 understand about that?
25     Q. (By Mr. Verhoeven) Have you ever heard          11:37:21    25       A. That they want my -- all my text               11:39:26
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 1 messages.                                 11:39:27                      1     A. Brief -- brief discussions. I mean...       11:40:57
 2    Q. Do you remember when you learned that?                            2     Q. Do you have a practice -- withdrawn.
 3    A. Not really. I mean, I think somebody in                           3         You did exchange text messages with
 4 the company asked for my phone.                                         4 Mr. Levandowski, right?
 5    Q. When did that happen?                     11:39:35                5     A. Correct.                            11:41:12
 6    A. I don't remember specifically.                                    6     Q. Do you recall deleting any of those
 7    Q. Can you estimate it for me? Was it a                              7 texts?
 8 week ago? Was it a month ago? Was it six months                         8     A. I do not, no.
 9 ago?                                                                    9     Q. Do you have any practices with respect to
10    A. It was certainly months ago.              11:39:46               10 deleting texts on your phone?                     11:41:23
11    Q. Months ago?                                                      11     A. Outside of just the auto-delete, the
12    A. Yeah.                                                            12 30-day auto-delete, no.
13    Q. Okay.                                                            13     Q. And what's the 3A auto-delete?
14    A. I mean, I...                                                     14     A. Thirty -- the 30-day auto-delete is just
15    Q. And this is your cell phone they asked         11:39:51          15 a setting on my phone --                       11:41:35
16 for?                                                                   16     Q. Okay.
17    A. Yeah.                                                            17     A. -- where after 30 days the -- the texts
18    Q. Okay. And did you give it to them right                          18 disappear.
19 away or what happened?                                                 19     Q. Do you still have -- is that still your
20    A. When somebody -- somebody came to ask for            11:39:59    20 setting on your phone?                         11:41:44
21 my cell phone, and I gave them my cell phone.                          21     A. No.
22    Q. Okay. And -- and how long were you                               22     Q. What is your setting now?
23 without the cell phone?                                                23     A. It's -- keeps forever now.
24        Let me -- let me with- -- let me                                24     Q. And when did you change the setting?
25 withdraw.                                 11:40:12                     25     A. A few weeks ago.                        11:41:51
                                                               Page 158                                                                      Page 160

 1        Did they give it back to you?            11:40:13                1     Q. "Few" meaning two, three --                   11:41:52
 2    A. Yes, they did.                                                    2     A. Something like that. I don't know the
 3    Q. Okay. So what was the period of time                              3 exact.
 4 between --                                                              4     Q. Okay.
 5    A. Yeah.                               11:40:16                      5     A. I'm sure the attorneys can figure that         11:42:08
 6    Q. -- when you gave it and they gave it back                         6 out when that happened.
 7 to you?                                                                 7     Q. All right. You ready for documents?
 8    A. Hours.                                                            8     A. Let's do it.
 9    Q. Hours?                                                            9          (Discussion off the stenographic record.)
10    A. Yeah.                               11:40:20                     10     Q. (By Mr. Verhoeven) A good question I              11:42:55
11    Q. Okay. What was your understanding of                             11 forgot to ask --
12 what they were doing with your cell phone?                             12     A. Yeah.
13    A. They were getting all of the text                                13     Q. -- is, have you exchanged any texts with
14 messages from it.                                                      14 Mr. Levandowski since your phone has been returned
15    Q. Okay.                               11:40:32                     15 to you?                                 11:43:02
16    A. Specific to what they needed.                                    16     A. No.
17    Q. And this -- you got your cell phone back                         17     Q. Okay. I'm going to try to shorten this
18 months ago?                                                            18 based on your answers, so there may be some pauses.
19    A. Yes.                                                             19 I apologize for that.
20    Q. Okay. Did you have any discussions with          11:40:43        20          You've already answered a lot of my          11:43:19
21 anybody after that point in time about what was on                     21 questions, and so --
22 your cell phone?                                                       22     A. That's nice of you.
23    A. I mean, only with attorneys.                                     23     Q. -- I apologize for that.
24    Q. Did you have discussions with attorneys                          24     A. That's all right. Apology accepted.
25 about what was on your cell phone?                   11:40:55        25       Q. Do you think that -- is it your belief        11:43:36
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                        ATTORNEYS' EYES ONLY
 1 that -- withdrawn.                            11:43:38                    1 you.                                    11:46:44
 2        It is your belief, correct me if I'm                               2     Q. All right. Who is John Bares?
 3 wrong, that AV technology represents an existential                       3     A. He was one of the original members of the
 4 threat to Uber's business model.                                          4 team in Pittsburgh.
 5        MR. CHATTERJEE: Form.                         11:43:52             5     Q. You said "was." What's he doing              11:47:20
 6        MS. DUNN: Form.                                                    6 currently?
 7          THE DEPONENT: I would say it                                     7     A. No. He's still -- he's still one of the
 8 differently. I would say that it is -- in order                           8 original members of the team.
 9 for Uber to exist in the future, we will likely                           9     Q. Okay.
10 need to be a leader in the AV autonomous vehicle             11:44:11    10     A. But he -- his role changed. So at first 11:47:31
11 space.                                                                   11 he was running all of the Pittsburgh operation, and
12     Q. (By Mr. Verhoeven) And why is that?                               12 now he's doing a smaller portion of it.
13     A. Because autonomous vehicles are going to                          13     Q. What was his role in -- in December of
14 be far safer than human-driven vehicles. And a                           14 2015, so at the end of the year?
15 service that's very safe compared to human-driven          11:44:32      15        I was talking earlier about the beginning 11:47:53
16 vehicles is going to be one that consumers want.                         16 of the year.
17        And it will also ultimately be far                                17     A. Yeah.
18 cheaper than a human-driven vehicle. And consumers                       18     Q. At the end of the year, what was his
19 that can get safer rides far cheaper are going to                        19 position?
20 be the consumer -- those consumers are going to go           11:44:52    20     A. He was -- if I recall, he was still       11:47:58
21 to the service that provides that.                                       21 running the Pittsburgh operation.
22        And if you don't provide that, I don't                            22        MR. VERHOEVEN: All right. Let's mark as
23 believe you're going to be able to sustain your                          23 Exhibit 366 an Excel spreadsheet produced by Uber.
24 business.                                                                24        (Exhibit 366 was marked for
25     Q. When did you recall coming to this            11:45:13            25 identification by the court reporter and is        11:48:22
                                                               Page 162                                                            Page 164

 1 belief?                                 11:45:17                          1 attached hereto.)                          11:48:22
 2     A. This was really late 2014.                                         2     Q. (By Mr. Verhoeven) Okay. Do you
 3     Q. And what did you do based on coming to                             3 recognize this as an Excel spreadsheet printout?
 4 this conclusion?                                                          4     A. I mean, I don't -- I don't know if it's
 5     A. We started our autonomous -- what we               11:45:28        5 an Excel spreadsheet, but I recognize that it's a    11:48:42
 6 called the Advanced Technology Center in                                  6 piece of paper that has words on it.
 7 Pittsburgh. You know, we...                                               7     Q. Do you recognize the format of this
 8     Q. As of January 1, 2015, what was the                                8 document as a printout from a spreadsheet that Uber
 9 status of that project?                                                   9 would have in its software?
10     A. It was -- that was right around the time      11:45:45            10     A. No.                              11:49:01
11 when it was being put together. So I don't know                          11     Q. Okay.
12 the exact date in January of that year --                                12     A. But I see it. I see the document.
13     Q. Okay.                                                             13     Q. Okay. Yeah.
14     A. -- but it was right around that year --                           14        You see at the bottom -- I know it's in
15 or, sorry, right around that time.                11:45:54               15 small print, I apologize for that --            11:49:11
16     Q. And what was the -- to the extent you                             16     A. That's all right.
17 know or remember, what was the business plan about                       17     Q. -- there's a bottom green line?
18 that period of time with respect to AV?                                  18     A. Yeah.
19     A. It was to get -- to build software that                           19     Q. And you see it says, "Meeting with TK"?
20 can drive safer and more cost efficiently than           11:46:15        20     A. Yup.                             11:49:19
21 traditional human-driven vehicles.                                       21     Q. That would be you?
22     Q. This is one of those times I'm shortening                         22     A. I assume so.
23 the deposition.                                                          23     Q. I will represent to you that these are
24     A. That's all right. I'm appreciating.                               24 Mr. Bares' -- this is Mr. Bares' spreadsheet --
25 This is one of the few times I'm going to thank          11:46:42        25     A. Okay.                             11:49:33
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                        ATTORNEYS' EYES ONLY
 1     Q. -- just so you know.                  11:49:33          1      A. December 22.                           11:51:24
 2        And I will represent to you that this                   2      Q. -- of 2015.
 3 meeting occurred on December 22, according to                  3      A. Of 2015.
 4 Mr. Bares.                                                     4         And do we know that this is -- I -- I
 5     A. Is this notes from a meeting or what is     11:49:42 5 just don't -- I don't know what this is referring         11:51:38
 6 this?                                                          6 to. I can't say for sure what this is about.
 7     Q. Yes.                                                    7      Q. Okay. Okay. What about -- you agree
 8     A. Okay.                                                   8 that basically saying that you said, "What we
 9     Q. So if you turn the page, there is some                  9 want," and provides a list?
10 description of notes from the meeting.            11:49:57 10            MS. DUNN: Form.                           11:51:51
11        Do you see that?                                       11      Q. (By Mr. Verhoeven) TK is you.
12     A. Okay.                                                  12      A. I agreed that it says, "TK, what we
13     Q. And you see it says, "TK, what we want"?               13 want," but I don't know what that means.
14     A. Yeah.                                                  14      Q. Okay. What do you think -- you don't
15     Q. And then it says, "Source," and goes on. 11:50:08 15 remember saying that you want all of their data?               11:52:01
16     A. Okay. Yeah.                                            16      A. I don't even know who "they" is.
17     Q. Do you remember meeting with Mr. Bar --                17      Q. Okay. So you don't understand, looking
18 Bares? Is it Bares? Is that how you pronounce it?             18 at this, that this is about a potential deal with
19     A. Bares.                                                 19 Mr. Levandowski?
20     Q. Bares.                            11:50:21             20      A. I have no idea.                       11:52:19
21     A. John Bares.                                            21      Q. You see down below, it says, "AL says"?
22     Q. Do you remember meeting with Mr. Bares --              22      A. Yes. It does say that, yeah.
23     A. Yeah.                                                  23      Q. Quote, AL says that our biggest threat is
24     Q. -- in or around December 22, where you                 24 Google, but also doesn't have faith in Google
25 discussed the subject of "What we want" in           11:50:32 25 pulling it off.                            11:52:30
                                                                  Page 166                                                                     Page 168

 1 connection with the deal with Mr. Levandowski?               11:50:33      1         Do you see that?                     11:52:32
 2     A. I mean, I don't remember specifically.                              2    A. I do.
 3 No. I can't say it didn't happen, I just don't                             3     Q. Okay. Do you remember having a meeting
 4 remember.                                                                  4 in or about December 22 of 2015 where there was a
 5     Q. Do you remember talking about wanting                11:50:48       5 discussion about a deal with AL, Mr. Levandowski,             11:52:41
 6 something related to source?                                               6 that you attended?
 7     A. No.                                                                 7    A. I mean, I don't remember the specific
 8     Q. What does source mean, in your opinion?                             8 meeting.
 9     A. I -- I don't know.                                                  9         I mean, I'm sure you could ask John about
10     Q. You don't know what Mr. Bares meant by               11:50:57      10 this.                                   11:53:11
11 that?                                                                     11     Q. I know. I'm just trying to --
12     A. No. It could be that -- I mean, there's                            12    A. Yeah.
13 a lot of -- I could speculate as what he meant, but                       13     Q. -- get what your understanding is and
14 I don't know what he meant.                                               14 what your recollection is.
15     Q. What do you think -- I mean, if you were 11:51:08                  15    A. Yeah. I don't really have much.               11:53:15
16 asked, what do you think he meant?                                        16     Q. So this document doesn't refresh your
17         MS. DUNN: Form.                                                   17 recollection?
18         THE DEPONENT: I mean, it could be                                 18    A. No.
19 that -- I just don't know, what is the timing of                          19     Q. Doesn't trigger anything in your memory?
20 this -- what is the timing of this note? Like when 11:51:16               20    A. No, but I -- I do like, "He is very          11:53:21
21 was this note made?                                                       21 focused and unstoppable about getting things done."
22     Q. (By Mr. Verhoeven) I will represent to                             22         I like that part.
23 you it was --                                                             23     Q. You like it, but you don't remember.
24     A. Yeah.                                                              24    A. No, but I definitely like that. If it's
25     Q. -- December 22 --                         11:51:22                 25 talking about me, I'm -- I'm excited.              11:53:33
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                        ATTORNEYS' EYES ONLY
 1     Q. Now you know what people say behind your          11:53:40         1     A. Yeah.                              11:55:42
 2 back.                                                                     2     Q. If you look, it's right below the little
 3         If you look down further --                                       3 pink box, the very first pink box --
 4     A. Yeah.                                                              4     A. Uh-huh.
 5     Q. -- just above the green horizontal line     11:53:42               5     Q. -- it says, quote, How many people are          11:55:50
 6 on this page, which is, for the record, UBER                              6 you really taking? Close quote.
 7 60322 --                                                                  7     A. Where is this?
 8     A. Hold on.                                                           8     Q. I can point to it.
 9     Q. -- it says --                                                      9     A. Oh, yeah, yeah. I see it. Yeah, yeah.
10     A. 603 -- what is this? Where is this?         11:53:50              10     Q. Okay. Do you remember any discussions              11:55:59
11     Q. That's the control number on the bottom                           11 with anyone during the December 2015 time period
12 right-hand side.                                                         12 about Mr. Levandowski taking a bunch of people from
13     A. Oh, yeah, yeah, yeah, yeah.                                       13 Google when he left?
14         So what am I looking at?                                         14     A. I remember more of that kind of
15     Q. Just above the green horizontal line --      11:53:57             15 discussion in the January time frame.                11:56:18
16     A. Yes.                                                              16     Q. Okay.
17     Q. -- it says, "January 12, he quits." And                           17     A. But --
18 then, "January 1 through 12 period is twitchy. He                        18     Q. What do you remember?
19 is still G employee but on trajectory out."                              19     A. I remember being very aggressive about
20     A. Yeah.                            11:54:14                         20 hiring great talent.                        11:56:27
21     Q. Do you see that?                                                  21     Q. Do you remember specifically, though,
22     A. Yeah.                                                             22 discussions about hiring folks that were employed
23     Q. Do you remember having any discussions in                         23 by Google in the AV area as part of the deal, in
24 December of 2015 about a date when Mr. Levandowski                       24 addition to Mr. Levandowski?
25 would quit or a period that was twitchy?            11:54:24        25          A. Generally, we were very interested in           11:56:59
                                                              Page 170                                                                       Page 172

 1        MS. DUNN: Form.                         11:54:29         1 hiring the best talent, and much of the best talent 11:57:00
 2        THE DEPONENT: I don't remember -- I                      2 was at Google, for sure.
 3 mean, no. I don't -- I don't specifically remember              3     Q. And do you remember that Uber and you
 4 a discussion about that.                                        4 wanted to hire as many good people as possible from
 5        But I think your question said December       11:54:40 5 Google as part of this deal?                     11:57:10
 6 and --                                                          6        MS. DUNN: Form.
 7     Q. (By Mr. Verhoeven) Yeah,                                 7         THE DEPONENT: I don't -- I'm not sure it
 8 December 22, 2015.                                              8 was part of this deal, but we were generally
 9     A. Okay. Yeah. No, I don't remember that,                   9 interested and continue to be interested -- very
10 no.                                    11:54:48                10 interested in hiring as many great scientists and    11:57:20
11     Q. Do you remember you generally having                    11 engineers from Google as possible -- as is
12 discussions about a possible deal with                         12 possible. And we have been very successful in
13 Mr. Levandowski in December of 2015?                           13 doing that.
14     A. I remember deal -- sort of deal                         14     Q. (By Mr. Verhoeven) Do you remember
15 discussions more in the January time frame.           11:55:04 15 discussions with Mr. Levandowski about targeting         11:57:33
16     Q. Did -- so you -- could they have happened               16 Google employees in the AV area, for him to bring
17 in December as well?                                           17 with him or recruit after he came over to you?
18     A. It's possible.                                          18        MS. DUNN: Form.
19     Q. Well, doesn't this document show it?                    19         THE DEPONENT: I remember discussions
20     A. I don't know what the hell this document 11:55:23 20 about how we should best go about hiring the great 11:57:47
21 is.                                                            21 talent at Google, and figuring out what are the
22     Q. Okay. If you turn the page.                             22 best ways to do that while staying within certain
23     A. Okay. All right.                                        23 legal constructs.
24     Q. And if you look -- just for the record,                 24     Q. (By Mr. Verhoeven) And when -- this is
25 page 323.                                 11:55:41             25 with Mr. Levandowski, these discussions?              11:58:04
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                        ATTORNEYS' EYES ONLY
 1     A. Sure. Yeah.                        11:58:05                         1         THE DEPONENT: Generally, yes.                  12:00:24
 2     Q. Okay. And was it -- so is it fair to say                            2     Q. (By Mr. Verhoeven) Do you remember
 3 that those discussions were in the context of the                          3 anybody he identified specifically?
 4 AV technology?                                                             4     A. No, not specifically.
 5     A. It wasn't about AV technology. It was           11:58:17            5     Q. Okay. Would it surprise you if part of        12:00:28
 6 about people and -- who are very talented in the AV                        6 the deal included -- withdrawn.
 7 space.                                                                     7         Would it surprise you if Levandowski's
 8     Q. Okay.                                                               8 payments as part of the tool was conditioned upon
 9     A. Yeah.                                                               9 him recruiting away from Google a certain number of
10     Q. The AV space.                        11:58:24                      10 Google employees in the AV space?                     12:00:50
11        But it was -- it was about people in the                           11         MS. DUNN: Objection to form.
12 AV space.                                                                 12         MR. CHATTERJEE: Form.
13     A. Yeah.                                                              13         THE DEPONENT: Yeah, I don't know how
14     Q. Okay.                                                              14 that translates into the deal itself. But I'll --
15     A. Yeah.                            11:58:30                          15 you know, again, we were very up front about our         12:01:00
16     Q. And how many people do you remember                                16 desire to recruit great talent from Google.
17 talking about hiring?                                                     17     Q. (By Mr. Verhoeven) And that was part of
18        MS. DUNN: Form.                                                    18 what you were envisioning -- or let me withdraw
19        MR. CHATTERJEE: Form.                                              19 that.
20          THE DEPONENT: I mean, it wasn't                11:58:39          20         That was part of what you hoped would         12:01:14
21 typically about individuals, but more -- well,                            21 happen in connection with Mr. Levandowski coming
22 sometimes about individuals.                                              22 over.
23        But it was -- it was about, you know, how                          23         MS. DUNN: Objection to form.
24 many great people do we think there are, what kind                        24         MR. CHATTERJEE: Join.
25 of process can we go through to recruit them, and           11:58:55    25           THE DEPONENT: It wasn't just about             12:01:24
                                                                  Page 174                                                                  Page 176

 1 how do we make it a reality for them to come to a           11:59:01       1 Google. It was about great talent in the space,       12:01:25
 2 place which we feel is sort of more commercially                           2 period, coming from all the companies that are
 3 oriented, more sort of just works harder, you know,                        3 working on it.
 4 just a better environment to innovate in the space.                        4     Q. (By Mr. Verhoeven) But you don't
 5    Q. (By Mr. Verhoeven) Do you remember any                 11:59:21      5 remember having discussions about Mr. Levandowski              12:01:32
 6 discussion about compensation to Levandowski in                            6 hiring as many people as he could from Google's AV
 7 this potential deal being based on how many Google                         7 space after he came over?
 8 folks in the AV space he was successful in hiring                          8         MS. DUNN: Objection to form.
 9 away?                                                                      9         MR. CHATTERJEE: Join.
10       MR. CHATTERJEE: Form.                           11:59:41            10         THE DEPONENT: Generally, we wanted to             12:01:47
11       MS. DUNN: Objection to form.                                        11 recruit as many great Google employees as we
12        THE DEPONENT: I don't remember that                                12 possibly could.
13 being tied to the deal. It may have been, but I                           13         We needed to figure out what were the
14 don't remember that.                                                      14 right processes to do that, but we were very
15       I don't remember it being in milestones         11:59:49            15 excited about somebody -- having somebody on our           12:02:00
16 that we ended up with.                                                    16 team who was a visionary in the space who could
17       But I do know that we were depend- -- for                           17 attract that great talent.
18 him to -- to come across in an ultimate deal, we                          18     Q. (By Mr. Verhoeven) Okay. But do you
19 were interested in his sense of who the great                             19 remember having any -- my question was, do you
20 people were and how we could recruit them to come             12:00:10    20 remember having any conversations about it?             12:02:15
21 across.                                                                   21     A. I would say -- I don't remember any
22    Q. (By Mr. Verhoeven) Do you remember                                  22 specific conversations, but I would generally say
23 discussions asking him who the great people are                           23 that -- I would acknowledge that conversations like
24 during this process?                                                      24 that occurred.
25       MS. DUNN: Form.                            12:00:23                 25     Q. I direct your attention to -- back to the    12:02:32
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                        ATTORNEYS' EYES ONLY
 1 document, Exhibit 366, and to the same page we were           12:02:33    1                                                           12:04:43
 2 looking at.                                                               2
 3    A. 336?                                                                3
 4     Q. 366. This is just the exhibit number of                            4
 5 the document you're looking at.                    12:02:48                5       And so that was sort of the -- the range        12:04:53
 6    A. Okay. Sorry. I was looking for the                                   6 of things we were considering.
 7 right page.                                                                7    Q. Okay. And what time frame would you say
 8     Q. The same page.                                                      8 that -- is that the December/January time frame?
 9    A. Okay. Yeah.                                                          9    A. That feels, yeah, sort of like really --
10     Q. And then the second-to-last line on the       12:02:54            10 it's -- the meat of that feels like January,       12:05:05
11 page says, quote, If the sensor idea is so good,                         11 possibly late December, but probably mostly
12 why limiting scope to trucking? Close quote.                             12 January.
13          Do you see that?                                                13     Q. Okay. And did there come a time when you
14    A. Yeah.                                                              14 chose one of those options?
15     Q. And that's talking about a LiDAR sensor?         12:03:07         15     A. Definitively, yes.                      12:05:24
16          MS. DUNN: Form.                                                 16     Q. Which -- which one was chosen?
17          MR. CHATTERJEE: Join.                                           17     A. I think we ultimately ended up in an
18          THE DEPONENT: I -- I don't know what                            18 acquisition disposition, yeah.
19 that's about.                                                            19     Q. And do you have any information about
20     Q. (By Mr. Verhoeven) Do you remember                12:03:18        20 what the pros and cons of -- of the choices were          12:05:37
21 having discussions about Mr. Levandowski's idea                          21 that led Uber to arrive at that decision?
22 about a LiDAR sensor?                                                    22        MS. DUNN: Form.
23          MS. DUNN: Form.                                                 23        THE DEPONENT: Yeah. Yeah. I mean,
24          MR. CHATTERJEE: Form.                                           24 generally, we would -- we would explore all the
25          THE DEPONENT:                                         12:03:28 25 options and what was possible. And it wasn't just           12:05:51
                                                                  Page 178                                                                    Page 180

 1                                                          12:03:29         1 about what we wanted. It's also about where -- you          12:05:53
 2                                                                           2 know, where they are. Could -- does -- does a
 3                                                                           3 partnership make sense or does going deeper make
 4                       .                                                   4 sense?
 5     Q. (By Mr. Verhoeven) Okay.                     12:03:46               5       You know, yes, pros and cons across all          12:06:05
 6     A. I don't know if that's referring to this                            6 options, of course.
 7 or not.                                                                    7    Q. (By Mr. Verhoeven) And why wasn't the
 8     Q. Okay. And what do you remember about the                            8 decision just to hire Mr. Levandowski straightaway?
 9 discussion?                                                                9    A. I mean, I would say though this was
10          I mean, what was -- what was being          12:03:54            10 technically an acquisition, it was very much like         12:06:21
11 pitched to you?                                                          11 hiring him.
12     A.                                                                   12     Q. Okay. So --
13                                                                          13     A. Yeah.
14                                                                          14     Q. -- it was just structured as an
15                                                   12:04:05               15 acquisition.                                12:06:29
16                                                                          16     A. Yeah. It was like -- it was -- there are
17                                                                          17 different things on acquisition. You have this
18                                                                          18 thing called an acquihire. Then you have like an
19                                                                          19 acquisition of a very mature company. And there's
20                                                    12:04:21              20 lots of stuff in between.                      12:06:38
21                                                                          21        We basically were hiring him and his
22                                                                          22 team, but getting some -- like a sort of small
23                                                                          23 acquisition along with it. It was sort of -- it
24                                                                          24 was a -- it was a hybrid of the two.
25                                                       12:04:40       25         Q. And what was the small acquisition?              12:07:01
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 1     A. Well, I mean, he'd set up the company.          12:07:03          1     A. Yeah.                            12:09:21
 2 He had, of course, recruited a team. He had -- he                        2     Q. Okay.
 3 had -- you know, he had trucks that were -- you                          3     A. Yeah. So I think in the December -- at
 4 know, let's call them self-driving trucks, of                            4 some point in January he wasn't a Google employee.
 5 course, with a safety driver.                    12:07:18                5 I'm not sure exactly what that date is.         12:09:27
 6        I was in one of them. Glad there was a                            6     Q. It's January 27.
 7 safety driver.                                                           7     A. Okay.
 8        You know, so he was getting down that                             8     Q. The -- so I apologize.
 9 path and building something that he had a team that                      9     A. That's okay.
10 was passionate about, but it was early, you know.           12:07:31    10     Q. So at that time he didn't have a company 12:09:38
11     Q. I see.                                                           11 yet, right?
12     A. Yeah. I mean -- yeah.                                            12     A. Yeah. I mean, I don't know what the date
13     Q. What was the -- what was the benefit of                          13 was when he structured his company. I don't know.
14 doing a structure where you hired him and his team                      14 But he was certainly a Google employee at that
15 through an acquisition as opposed to just hiring        12:07:45        15 time.                                 12:09:52
16 them directly?                                                          16     Q. All right. So just going back, though,
17     A. Well, I mean, one was because he wanted                          17 to that time in January --
18 to -- he was -- he was -- he was building                               18     A. Yeah.
19 something. Like we didn't come up with an                               19     Q. -- what was the reason why either you or
20 agreement until, I think, April of '16. He was         12:08:02         20 he wanted to do a deal that was an acquisition      12:10:01
21 building one way or the other. Right?                                   21 rather than just hiring him straightaway?
22     Q. Okay.                                                            22        MS. DUNN: Form.
23     A. So I would have loved to have hired him                          23         THE DEPONENT: I think he was just
24 for $100,000 a year -- that would have been                             24 adamant about building a company.
25 amazing -- and been able to recruit lots of           12:08:19          25     Q. (By Mr. Verhoeven) Well, the plan -- the 12:10:15
                                                                Page 182                                                                  Page 184

 1 wonderful engineers as well. But it's a two-way         12:08:21         1 plan was that he would build a company that would          12:10:17
 2 street. Right? The other side, of course, has to                         2 be acquired by Uber, wasn't it?
 3 be excited about what they're doing.                                     3          MR. CHATTERJEE: Form.
 4     Q. Right.                                                            4          MS. DUNN: Form.
 5     A. You know, they have to feel like they're        12:08:34          5          THE DEPONENT: Ultimately, in the April         12:10:25
 6 being valued at what they're worth.                                      6 time frame we signed an agreement to acquire --
 7        You know, a lot of -- my understanding is                         7 upon certain conditions, but essentially acquire
 8 a lot of Google employees had gotten very huge                           8 his company. That was April, a few months after he
 9 bonuses. So you're just going to have a tougher                          9 had left Google.
10 time just recruiting in a situation like that.      12:08:46            10     Q. (By Mr. Verhoeven) Well, there was             12:10:39
11     Q. Okay.                                                            11 discussion about that structure --
12     A. And that's why they went and built their                         12     A. Yes.
13 company and started, because I -- they're like,                         13     Q. -- way back in January, right? That
14 Well, if, you know, we're going to start building                       14 was -- one of the options was --
15 something, and if you want to be -- us to be a part     12:09:00        15     A. Yeah.                            12:10:47
16 of it, you're going to have to acquire it.                              16     Q. -- instead of hiring him straight out, he
17     Q. I apologize. I was just talking about                            17 form a company, and then after a little while you
18 the January/December time frame, but I appreciate                       18 would buy the company.
19 your answer.                                                            19          That was discussed.
20     A. No.                               12:09:12                       20     A. That -- that was discussed.              12:10:54
21     Q. During January and December,                                     21     Q. It was discussed before he left Google,
22 Mr. Levandowski was still a Google employee,                            22 right?
23 right -- or a Waymo employee?                                           23     A. That's -- that's correct.
24        MS. DUNN: Form.                                                  24     Q. Okay. And that's the -- there's more
25     Q. (By Mr. Verhoeven) One of the two.              12:09:20       25 specifics. But, generally, that's the structure       12:11:04
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 1 that ended up -- that you ended up going with,           12:11:07            1 stomping, close quote, on Google's IP?             12:14:25
 2 right?                                                                       2        MS. DUNN: Form.
 3          MS. DUNN: Form.                                                     3        THE DEPONENT: I mean, these aren't my
 4          THE DEPONENT: I don't know if the                                   4 notes.
 5 structure that was talked about in January is where       12:11:12           5     Q. (By Mr. Verhoeven) I know.                12:14:30
 6 we ultimately ended up.                                                      6     A. Right. So all I can say is that I was
 7          My guess -- just my recollection -- is                              7 always very adamant about making sure that none of
 8 that things changed pretty dramatically over those                           8 Google's IP ended up at Uber.
 9 three months in terms of what the structure of the                           9     Q. Okay. You don't remember having this
10 deal would look like and where we ultimately ended            12:11:23      10 discussion in December?                       12:14:41
11 up.                                                                         11     A. No.
12          But, generally, acquiring a company that                           12     Q. Okay. Now, turn to the same document,
13 he built was certainly on the table and certainly                           13 Exhibit 336.
14 something we were considering.                                              14        Do you see those control numbers at the
15     Q. (By Mr. Verhoeven) You were discussing                12:11:35       15 bottom there, on the bottom right?               12:14:55
16 milestones that he would achieve before he left                             16     A. Sorry. What do you want me to do right
17 Google, right?                                                              17 now?
18     A. I don't know the specific dates, so I                                18     Q. Do you see those control numbers?
19 can't say for sure.                                                         19     A. Yes. 60333.
20          But, again, I think there were a broad      12:11:48               20     Q. I'm going to use those to help you get to 12:15:02
21 range of discussions in the January time frame.                             21 the page. All right?
22     Q. Okay. So they could have included                                    22     A. Yeah.
23 milestones?                                                                 23     Q. So using those numbers, can you turn to
24     A. I don't know for sure. I just don't                                  24 page 331.
25 know.                                    12:12:01                           25     A. Yeah. All right.                    12:15:07
                                                                    Page 186                                                        Page 188

 1          (Discussion off the stenographic record.)     12:12:13              1    Q. And the second horizontal green --         12:15:16
 2    Q. (By Mr. Verhoeven) All right. Going                                    2    A. Yeah.
 3 back to Exhibit 366, which you're looking at, same                           3    Q. -- bar --
 4 page.                                                                        4    A. Yeah.
 5          The last line says, quote, What about        12:13:23               5    Q. -- it says, "21 January meeting."        12:15:22
 6 Google's IP, worried about stomping on this,                                 6    A. Yeah.
 7 question mark.                                                               7    Q. Do you see that?
 8          Do you see that?                                                    8    A. Yeah.
 9    A. Yes, I do.                                                             9    Q. And "TK" -- TK would be you, right?
10    Q. Again, this is -- these are notes that         12:13:34               10    A. Uh-huh.                           12:15:28
11 Mr. Bares took in December of 2015.                                         11    Q. You have to say "yes" or "no."
12          Do you remember having a discussion about                          12    A. Yes. Yes.
13 Google's IP in connection with the Levandowski                              13    Q. And Emil, who is that?
14 transaction in or around this time?                                         14    A. At the time, my head of business
15          MS. DUNN: Form.                          12:13:55                  15 development.                             12:15:34
16          THE DEPONENT: I mean, I remember                                   16    Q. And Cam is who?
17 generally being pretty adamant about making sure                            17    A. Works for Emil, head of corporate
18 that none of Google's IP ended up at Uber.                                  18 development.
19    Q. (By Mr. Verhoeven) And how did that                                   19    Q. And just tell me the name.
20 subject come up?                             12:14:07                       20    A. Sorry?                          12:15:42
21    A. Like if you're talking to somebody who                                21    Q. Cam means -- the person's name.
22 works at a competitor, the topic naturally comes                            22    A. Cameron?
23 up. I don't know specifically how it did.                                   23    Q. Yeah.
24    Q. Do you remember why -- if it's true, do                               24    A. Yeah.
25 you remember why Uber was, quote, worried about                 12:14:22    25    Q. Full name.                        12:15:48
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 1    A. Cameron Poetzscher.                     12:15:49                 1 you think that's being talked about here?             12:17:34
 2    Q. Okay. Same thing with Emil, what's Emil?                         2        MR. CHATTERJEE: Form.
 3    A. Emil Michael.                                                    3        THE DEPONENT: I mean, anytime you're
 4    Q. Okay. And then what is that? Is that                             4 going to do -- if -- if you are going to do a deal,
 5 Bam?                                  12:16:03                         5 you need to minimize the risk in doing any deal.         12:17:46
 6        What is -- what's your understanding of                         6     Q. (By Mr. Verhoeven) Is it -- is it the
 7 Bam?                                                                   7 risk that Uber would be sued by Google or Waymo?
 8    A. Brian McClendon.                                                 8        MS. DUNN: Form.
 9    Q. And then it says, "No hold - on plane."                          9        THE DEPONENT: I don't know specifically
10    A. Okay.                            12:16:11                       10 on this.                                12:17:58
11    Q. Do you remember a meeting in January 21st                       11     Q. (By Mr. Verhoeven) Did you have
12 with these gentlemen?                                                 12 discussions in January about that?
13    A. Not specifically.                                               13     A. Anytime we do a transaction, we're going
14    Q. Do you remember generally meeting in                            14 to have that discussion, so I would say yes.
15 January with them?                           12:16:21                 15     Q. And "minimize pain," what is that in            12:18:13
16    A. Yeah. I mean, sometime in that time                             16 reference to?
17 frame, sure.                                                          17        MS. DUNN: Form.
18    Q. And discussion was the deal -- potential                        18        THE DEPONENT: You know, I think a lot of
19 deal with Mr. Levandowski?                                            19 times when you are minimizing risk, you come up
20    A. It may have been, yeah.                 12:16:34                20 with a lot of rules and processes and bureaucracy.       12:18:21
21    Q. This says, on the bottom line within this                       21 And so you have to find a way to do the right thing
22 meeting --                                                            22 while also letting people who build things continue
23    A. Yeah.                                                           23 to be builders. Otherwise, you're just -- you're
24    Q. -- quote, TK's advice on legal: Tell                            24 just going to get caught in bureaucracy and nobody
25 them we are going to do it, ask how to minimize         12:16:47    25 builds anything.                              12:18:43
                                                              Page 190                                                                   Page 192

 1 risk, minimize pain.                         12:16:51            1      Q. (By Mr. Verhoeven) As of January 21, you 12:18:44
 2     A. Yeah.                                                     2 had decided that you wanted to do the deal, right?
 3     Q. Close quote.                                              3          MS. DUNN: Form.
 4     A. Yeah.                                                     4          MR. CHATTERJEE: Form.
 5     Q. Did you say that during the meeting?          12:16:57 5             THE DEPONENT: I -- I can't say for sure. 12:18:49
 6     A. I don't know. I could have. I don't                       6 It -- it may have been that I was super interested
 7 know.                                                            7 in doing the deal. You know, this -- this could
 8     Q. You don't have any reason to believe                      8 have been like -- like a green light, Hey, we're --
 9 these notes are inaccurate, right?                               9 we're interested in doing this, but we've got to
10        MS. DUNN: Form.                          12:17:05        10 work through some legal stuff.                   12:19:00
11        THE DEPONENT: I just don't -- I don't                    11          So I don't know.
12 know. I didn't write them, but I'm not saying, Oh,              12      Q. (By Mr. Verhoeven) Well, setting this
13 I definitively didn't. I just don't remember.                   13 down and just --
14     Q. (By Mr. Verhoeven) You told the team                     14      A. Yeah.
15 that, We are going to do this deal, and tell legal, 12:17:15 15         Q. -- thinking about your memory --            12:19:05
16 We are going to do this deal --                                 16      A. Yeah.
17     A. Uh-huh.                                                  17      Q. -- in January --
18     Q. -- period, and they needed to minimize                   18      A. Yeah.
19 the risk and minimize the pain --                               19      Q. -- do you remember deciding, Hey, we want
20        MS. DUNN: Form.                          12:17:26        20 to do this deal?                           12:19:12
21     Q. (By Mr. Verhoeven) -- correct?                           21          You don't have the structure yet.
22        MR. CHATTERJEE: Form.                                    22      A. Yeah.
23        THE DEPONENT: I don't know. That's                       23      Q. We need to negotiate it, but I want to do
24 possible.                                                       24 this deal.
25     Q. (By Mr. Verhoeven) What's the risk do           12:17:34 25      A. That feels right.                   12:19:17
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 1     Q. Okay. All right. You can set that           12:19:19               1     A. It's possible.                      12:22:47
 2 aside.                                                                    2     Q. Okay.
 3        MR. VERHOEVEN: Let's mark as Exhibit 367                           3     A. It's possible.
 4 another spreadsheet produced by Uber.                                     4     Q. It says -- one, two, three -- four lines
 5        (Exhibit 367 was marked for               12:20:42                 5 down, quote, Lasers, data, advice, are the three      12:22:56
 6 identification by the court reporter and is                               6 things.
 7 attached hereto.)                                                         7        Do you see that?
 8        THE DEPONENT: Would you like me to read                            8     A. Yeah.
 9 this whole document --                                                    9     Q. What's that referring to, if you know?
10     Q. (By Mr. Verhoeven) No.                    12:21:06                10        MS. DUNN: Form.                          12:23:07
11     A. -- before questioning?                                            11        THE DEPONENT: I don't know. I mean, you
12     Q. No, sir.                                                          12 should ask John. He would know. I don't -- I
13        I'll represent to you that this is                                13 don't know what this is.
14 another document from John Bares.                                        14     Q. (By Mr. Verhoeven) Did Levandowski tell
15     A. Yeah.                              12:21:12                       15 you that the three things he brought to the table     12:23:17
16     Q. And you see on the right-hand side                                16 were lasers, data, and advice?
17 there's page numbers?                                                    17     A. No.
18     A. Yeah. Yeah.                                                       18     Q. The second-to-last line -- withdrawn.
19     Q. Can you turn to page 40 --                                        19        Sticking with that quote I just gave you,
20     A. Yeah.                              12:21:26                       20 did you tell the folks at this meeting on          12:23:33
21     Q. -- which is Control No. --                                        21 January 4th, 2016, that lasers, data, and advice,
22     A. I got it.                                                         22 are the three things?
23     Q. For the record, it's Control No. 60504.                           23     A. I don't know. I still don't totally know
24        Are you there?                                                    24 what it means. I know what lasers are. I know
25     A. Yeah.                              12:21:43                       25 what advice is. I don't know, necessarily, what        12:23:55
                                                                 Page 194                                                                       Page 196

 1     Q. Okay. You see at the top, on the left,        12:21:43             1 data is being referred to here.                    12:23:57
 2 it says, "TK, 4 January 2016."                                            2     Q. Okay.
 3     A. Yeah.                                                              3     A. I just don't know.
 4     Q. And TK is -- is yourself, right?                                   4     Q. What are lasers?
 5     A. I -- I didn't write this, but I would       12:21:56               5     A. Lasers are like a sensor that shoots           12:24:02
 6 assume so.                                                                6 beams into the world and gets a reflection back.
 7     Q. Yeah.                                                              7     Q. It's a references to LiDAR, right?
 8        And AL would refer to Levandowski, right?                          8         MS. DUNN: Form.
 9     A. Yeah.                                                              9         THE DEPONENT: Yeah. Yeah. Probably.
10     Q. And if you look down below the AL, to the 12:22:08                10     Q. (By Mr. Verhoeven) The second-to-last               12:24:16
11 rite of it, there's a number of sentences there.                         11 line there says, quote, TK believes that lasers
12        Do you see those?                                                 12 will be the longest pole, and we need access to
13        First one says, quote, TK met up with him                         13 tech. And then it says, paren, "This part is" --
14 over the weekend and is a big fan.                                       14 and, let's see -- "This part is easy," close paren.
15     A. Okay.                              12:22:25                       15         Do you see that?                        12:24:35
16     Q. Do you see that?                                                  16     A. Yeah.
17     A. Yeah.                                                             17     Q. Have you ever heard of something being
18     Q. Do you remember what that's referring to,                         18 referred to as the longest pole?
19 meeting up with Mr. Levandowski over the weekend --                      19     A. Yeah.
20     A. I mean, I don't --                      12:22:31                  20     Q. What does it -- what's your understanding 12:24:44
21     Q. -- in January?                                                    21 of what that -- what that means when someone says
22     A. Yeah, I mean, I don't know specifics, but                         22 that?
23 I don't do a deal until I'm a big fan of what --                         23     A. It means like it's going to -- like if --
24 who somebody is and what they're doing.                                  24 if you don't -- like -- let me give you an example.
25     Q. You met up with -- with Mr. Levandowski? 12:22:42    25                      Like if it were a reference to, like,      12:24:56
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 1 lasers being the longest pole, nobody, even today,             12:24:57       1 necessarily for sure. There are other ways to          12:26:53
 2 is making lasers -- LiDAR at scale.                                           2 do -- to work on autonomous vehicles without
 3         If you're going to have a million cars on                             3 lasers.
 4 the road, there's literally nobody on the planet                              4     Q. Okay.
 5 who's making enough lasers to put on these cars.               12:25:10       5     A. But the general consensus in the             12:27:01
 6     Q. Okay.                                                                  6 industry, that not everybody agrees with, but the
 7     A. So you need to start working on something                              7 general consensus, most people would agree that
 8 like scale production of lasers or a vendor who                               8 doing -- that having lasers is the easier way of
 9 provides them at scale if you're going to get a                               9 doing it.
10 million cars. You could have software that works,              12:25:23      10     Q. Okay. And -- and this sentence is             12:27:12
11 you could have all the cars, everything, but if you                          11 basically saying that, right? That lasers will be
12 don't have enough lasers to put on these cars,                               12 the longest pole -- that's basically saying that
13 these cars will not be able to drive themselves.                             13 for -- for Uber lasers will be the longest pole,
14     Q. So this sentence is basically saying, The                             14 right?
15 thing we need to work on the most is lasers and we             12:25:35      15         MS. DUNN: Form.                          12:27:31
16 need that technology.                                                        16         THE DEPONENT: I don't think it's just
17         MS. DUNN: Form.                                                      17 for Uber; I think it's for anybody in the autonomy
18         MR. CHATTERJEE: Form.                                                18 space.
19         THE DEPONENT: Not exactly.                                           19     Q. (By Mr. Verhoeven) Okay. And then it
20     Q. (By Mr. Verhoeven) Okay.                        12:25:43              20 says, "And we need access to tech. This part is         12:27:37
21     A. Right. So it doesn't --                                               21 easy."
22     Q. Use your words then.                                                  22         Do you see that?
23     A. Yeah, yeah. It doesn't mean that it's                                 23     A. Yeah.
24 the thing we need to work on the most, but it means                          24     Q. What's that a reference to?
25 that if you don't -- if you don't have an effort to      12:25:50            25     A. I mean, I -- I can't say for sure.         12:27:45
                                                                   Page 198                                                                        Page 200

 1 start working on it, it could slow all the other         12:25:55             1     Q. Well, let me ask you --                    12:27:51
 2 efforts down.                                                                 2     A. Yeah.
 3         Like, you know, how to put it, it's like                              3     Q. -- were you referring to Mr. Levandowski
 4 you could have a car fully built, like a new Tesla,                           4 in connection with that statement, "We need access
 5 all the whiz, bam, awesome things that are on it,          12:26:10           5 to tech"?                                  12:27:57
 6 but if it didn't have tires, like if you couldn't                             6        MS. DUNN: Form.
 7 get tires on the car, that would be your longest                              7        THE DEPONENT: Well, I mean, at this time
 8 pole.                                                                         8 we're looking at a bunch of different vendors of
 9     Q. I see.                                                                 9 laser technology.
10     A. It doesn't necessarily mean that you're          12:26:23             10        So there's -- there's like -- there's a    12:28:05
11 going to spend all your time making tires, it may                            11 company called Quanergy. There's a company called
12 even be the tires are easy. But if you don't have                            12 Velodyne. There's a company called Luminar.
13 tires, your Tesla is going nowhere. And it's kind                            13        We're looking at that, and getting access
14 of like that.                                                                14 to those lasers is super important, somebody who
15     Q. Okay. So using that anal- -- using that          12:26:35             15 knows those vendors, knows the products that they            12:28:23
16 explanation --                                                               16 have, and what's possible, what's not.
17     A. Yeah.                                                                 17        Are they scaling their manufacturing or
18     Q. -- this sentence is saying, If you don't                              18 not? How does scale manufacturing of lasers work?
19 have lasers, then you're not going to be able to --                          19        Like that's super important. So I don't
20 to have the AV vehicle.                             12:26:45                 20 know -- I don't know exactly what this means, but            12:28:37
21         MR. CHATTERJEE: Form.                                                21 it could be something like that.
22         THE DEPONENT: That -- that is for sure,                              22     Q. (By Mr. Verhoeven) Well, it looks like
23 yeah.                                                                        23 this is saying, in this meeting that you're in,
24     Q. (By Mr. Verhoeven) And --                                             24 that you stated, in connection with your
25     A. Well, it's not -- excuse me. It's not          12:26:50               25 discussions with Mr. Levandowski, that, We need               12:28:48
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 1 access to this LiDAR technology.                          12:28:52               1      A. No, not exactly. I -- you know, I'm       12:30:43
 2         MS. DUNN: Form.                                                          2 trying to guess what I'm -- what -- what -- how I
 3     Q. (By Mr. Verhoeven) Is that a fair                                         3 think about these things to help you understand
 4 reading of this document?                                                        4 these notes maybe. But I think John took these
 5         MR. CHATTERJEE: Form.                              12:29:01              5 notes, and I'm doing the best I can.             12:30:55
 6         MS. DUNN: Form.                                                          6      Q. I understand.
 7          THE DEPONENT: I mean, you should ask                                    7         You don't have any reason to believe that
 8 John Bares.                                                                      8 these notes are inaccurate, do you?
 9         My -- my statement is -- or, sorry, my                                   9      A. I'm sure there's inaccuracies in here. I
10 explanation is simply that Uber didn't -- we didn't           12:29:04          10 just -- I -- I can't say specifically.        12:31:08
11 know much about lasers, to be honest. We knew a                                 11      Q. Do you see any inaccuracies over the
12 little bit. We had some people who knew it, but                                 12 stuff we just went over?
13 certainly at the leadership level, we felt like we                              13         MR. CHATTERJEE: Form.
14 needed more expertise in this.                                                  14         MS. DUNN: Form.
15         And, again, understanding who the vendors             12:29:21          15         THE DEPONENT: I just -- I -- I -- I        12:31:15
16 were, who's making what, who's got a chance to                                  16 don't know. I don't know. I don't understand what
17 scale manufacturing, who doesn't, should we make it                             17 all that means, so it's hard to know what's
18 ourselves, like all those questions are things that                             18 inaccurate.
19 we were only just beginning to learn how to answer.                             19      Q. (By Ms. Dunn) But you don't see anything
20 And getting people who knew that space well is                 12:29:37         20 that you know is inaccurate looking at it right      12:31:26
21 super important.                                                                21 now?
22     Q. (By Ms. Dunn) Why would you have said,                                   22         MR. CHATTERJEE: Form.
23 just so I understand -- I understand you don't                                  23         MS. DUNN: Form.
24 remember specifics --                                                           24         THE DEPONENT: My understanding of this
25     A. Yeah.                                   12:29:48                         25 document is inaccurate, but I just don't know        12:31:33
                                                                        Page 202                                                           Page 204

 1     Q. -- so I'm just going to ask you, why                12:29:48              1 enough.                                    12:31:35
 2 would you have said in January of 2006 that --                                   2     Q. (By Ms. Dunn) Just for the record --
 3     A. '16.                                                                      3     A. Yeah.
 4     Q. '16. Thank you.                                                           4     Q. -- is there anything in this area of the
 5          -- that laser, that -- referring to       12:29:58                      5 page, which is page 40, and the reference to the        12:31:4
 6 lasers --                                                                        6 January 4th, 2016, meeting down to -- from the top
 7     A. Yeah.                                                                     7 down to the last row before TRB panel -- do you see
 8     Q. -- that, quote, This part is easy? Close                                  8 that section?
 9 quote.                                                                           9     A. Yeah, yeah.
10         MS. DUNN: Form.                             12:30:06                    10     Q. In that section, is there anything in        12:32:09
11         MR. CHATTERJEE: Join.                                                   11 there that's stated that is inaccurate, to your
12          THE DEPONENT: Well, it maybe -- I mean,                                12 knowledge?
13 again, access to tech -- like, again, if you're                                 13        MS. DUNN: Form.
14 talking to Quanergy and Luminar and these things,                               14        THE DEPONENT: Look, when I look at this
15 and they're vendors, and you need to assess whether             12:30:17        15 overall page, there are inaccuracies on here.          12:32:18
16 those things work or not, that's not -- that's -- a                             16     Q. (By Ms. Dunn) What's inaccurate?
17 lot harder would be not using lasers. That would                                17     A. "Assume TK is working for me."
18 be a lot harder.                                                                18     Q. Okay.
19     Q. (By Ms. Dunn) Okay. So you don't think                                   19     A. I promise you, I did not work for
20 he's referring to the access to the tech?                 12:30:31              20 John Bares.                                 12:32:29
21     A. Well, I just don't know -- again, I -- I                                 21     Q. Where is that?
22 think you need to ask John what exactly he means by                             22     A. That's on the second line after "Org
23 this.                                                                           23 ideas."
24     Q. You don't remember saying that at this                                   24        Like I -- I am absolutely certain I never
25 meeting?                                       12:30:41                         25 worked for John Bares.                          12:32:38
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                        ATTORNEYS' EYES ONLY
 1     Q. Okay. I was asking you about a different         12:32:39            1     A. It's a -- is an internal subsidiary, but       12:37:32
 2 part of the page.                                                           2 valued separately for some period.
 3         Did you understand that my question was                             3     Q. Newco is referring to the company that in
 4 directed from the top of the page down to above --                          4 the future would be what Anthony Levandowski
 5 immediately above where it says, "TRB panel"?             12:32:53          5 created, correct?                             12:37:49
 6     A. No.                                                                  6     A. That's fair. It was like a project name.
 7     Q. Do you see that?                                                     7     Q. Okay. And what is this -- what's your
 8     A. Yeah. Yeah, I see that.                                              8 understanding of what this is summarizing?
 9     Q. In that section of the page --                                       9     A. I don't know. I have to read the whole
10     A. I see.                           12:33:03                           10 thing. Let me see.                                12:38:03
11     Q. -- is there anything there that you are                             11     Q. Let me just ask you a question and see if
12 reading now or you see now that is inaccurate?                             12 you can answer it.
13         MS. DUNN: Form.                                                    13     A. Okay.
14         MR. CHATTERJEE: Form.                                              14     Q. Is this summarizing a potential deal with
15          THE DEPONENT: I don't understand what                12:33:20     15 Mr. Levandowski in which he would form a company                   12:38:35
16 each line says.                                                            16 and it would be bought by Uber?
17     Q. (By Ms. Dunn) No, I'm just asking if                                17     A. I'm not sure who got -- I'm just working
18 something stands out as being inaccurate.                                  18 through it here.
19         MS. DUNN: Form.                                                    19          It looks like it's something along those
20          THE DEPONENT: I can't find anything --          12:33:26          20 lines.                                   12:39:01
21         MR. CHATTERJEE: Form.                                              21          So I would say it appears to be.
22          THE DEPONENT: -- that I do understand                             22     Q. Okay.
23 that is inaccurate.                                                        23     A. But I haven't read the whole document,
24     Q. (By Mr. Verhoeven) Okay. Thank you.                                 24 but it appears to be true, that it appears to be an
25     A. But I promise you, I didn't work for          12:33:34         25 accurate description.                                  12:39:13
                                                                Page 206                                                                           Page 208

 1 John.                                   12:33:36                            1     Q. Okay. Do you remember discussing a deal                 12:39:14
 2         (Discussion off the stenographic record.)                           2 structure in or around January 5th with folks at
 3     Q. (By Ms. Dunn) Direct your attention, in                              3 Uber for a potential deal with Mr. Levandowski in
 4 the same document, to -- and this is Exhibit 367,                           4 which he would first form a company and then later
 5 direct your attention to page 46.                  12:35:11                 5 Uber would buy that company?                            12:39:34
 6     A. Okay.                                                                6          MS. DUNN: Form.
 7     Q. I'm self-editing myself, so I'm not going                            7          MR. CHATTERJEE: Form.
 8 to ask you any more questions about this document.                          8          THE DEPONENT: I mean, certainly in
 9     A. Okay.                                                                9 January we had discussions about some kind of --
10         MR. VERHOEVEN: Let's mark as                    12:36:42           10 like the different structures we could potentially           12:39:45
11 Exhibit 368, an email from Cameron --                                      11 go into in acquiring a company.
12     Q. (By Mr. Verhoeven) How do you pronounce                             12     Q. (By Mr. Verhoeven) Why would it make any
13 her last name?                                                             13 sense to do a structure where you agree that first
14     A. Poetzscher.                                                         14 Mr. Levandowski and his team would form a company
15         MR. VERHOEVEN: -- Poetzscher to several               12:36:54     15 and then later Uber would buy that company versus                12:40:07
16 people, including Travis Kalanick, dated                                   16 just hiring Mr. Levandowski and -- and his team?
17 January 5th, 2016.                                                         17          MR. CHATTERJEE: Form.
18         (Exhibit 368 was marked for                                        18          MS. DUNN: Form.
19 identification by the court reporter and is                                19          THE DEPONENT: I mean, you would have
20 attached hereto.)                          12:37:09                        20 to -- I think there's a couple of reasons.             12:40:24
21     Q. (By Mr. Verhoeven) This is an email from                            21          One is you -- you would have to come up
22 Cameron to you and some other people, correct?                             22 with some kind of -- some kind of structure to
23     A. Yeah. Yes.                                                          23 bring those employees in if you wanted to.
24     Q. And what is Newco that's referred to                                24          And if you didn't -- if they didn't --
25 there?                                  12:37:29                           25 if -- if there are a group of people who wanted to           12:40:46
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                        ATTORNEYS' EYES ONLY
 1 come across, but they wanted to prevent us from             12:40:49          1 that didn't really happen like this, but that's      12:43:06
 2 hiring each individual, I could imagine wanting to                            2 fine.
 3 structure a company they were all a part of, and                              3     Q. Well, I guess my question was this,
 4 then requiring us to buy that structure in order to                           4 referring to this document, Exhibit 368, was
 5 get all of them.                             12:41:02                         5 discussed in January not -- not eventually, but in      12:43:23
 6           So it was almost like -- kind of                                    6 January in 2016.
 7 collective bargaining almost.                                                 7     A. Yeah, but this is not the structure we
 8     Q. (By Mr. Verhoeven) Who -- who would want                               8 ended -- we didn't end up with this structure. So
 9 to prevent you from hiring the people directly? I                             9 this was like an option, but it doesn't seem like
10 didn't understand.                              12:41:11                     10 we ended up with something that looked like this.         12:43:35
11     A. So let's say -- let's say there was a                                 11     Q. I understand that.
12 group -- let's say hypothetically you had a group                            12     A. Okay.
13 of 20 people who wanted to go start something                                13     Q. Sorry. I'm just asking you, in January
14 together, but they were getting persuaded or                                 14 of 2016, does this look like what was being
15 convinced, like, hey maybe they should start that          12:41:23          15 discussed, referring to the exhibit?                12:43:44
16 something or build that something with a                                     16     A. Well, I mean, the email was sent, so
17 partnership with somebody else.                                              17 yeah.
18     Q. Okay.                                                                 18         MR. VERHOEVEN: Before we do another
19     A. Those folks might be really, really                                   19 document, do we need a break?
20 worried about us talking to each of the individuals         12:41:34         20         THE DEPONENT: Yes.                           12:44:00
21 and getting a far better deal for us by picking                              21         MR. VERHOEVEN: All right. Let's go off
22 them off one a time versus being forced to do the                            22 the record.
23 whole thing at once. Right?                                                  23         THE VIDEOGRAPHER: Okay. Going off the
24     Q. Did Mr. Levandowski, was he pushing this                              24 record. The time is 12:43.
25 structure? Do you remember?                            12:41:55              25         (Recess taken.)                     12:44:28
                                                                     Page 210                                                                      Page 212

 1           MR. CHATTERJEE: Form.                         12:41:59              1         THE VIDEOGRAPHER: This marks the                       01:21:15
 2           THE DEPONENT: I mean, generally, he was                             2 beginning of DVD No. 3 in the deposition of
 3 not -- he was not okay or in any way tolerant of a                            3 Travis Kalanick. Going back on the record. The
 4 situation where we hired individuals.                                         4 time is 1:21.
 5     Q. (By Mr. Verhoeven) And what did he say               12:42:08          5         (Exhibit 369 was marked for                 01:21:23
 6 to you about that?                                                            6 identification by the court reporter and is
 7     A. He said, I'm going to start a company.                                 7 attached hereto.)
 8 It's going to be a trucking company.                                          8         MR. VERHOEVEN: I would like to mark as
 9           I mean, eventually, he got there. He had                            9 Exhibit 369 an email from Cameron Poetzscher?
10 a lot of different options at the beginning, a lot       12:42:17            10     A. Poetzscher.                          01:21:35
11 of different areas he was exploring.                                         11     Q. Poetzscher?
12           And if you want -- if you want access to                           12     A. Yeah.
13 this kind of talent, you're going to have to buy                             13     Q. To -- Mr. Kalanick and some other folks,
14 the whole thing. Kind of all or nothing.                                     14 January 9th, 2016. What is "Project Dollar Sign"?
15     Q. And this was -- is it your recollection          12:42:33             15     A. I think that's referring to this project.    01:22:13
16 that --                                                                      16     Q. Why was it called Project Dollar Sign?
17     A. Yeah.                                                                 17     A. Because I -- I started calling this -- I
18     Q. -- this was discussed in or around                                    18 started talking about Uber super-duper.
19 January 5th of 2016 with him?                                                19     Q. Uber super-duper?
20     A. I mean, this sort of describes a               12:42:41               20     A. Uber super-duper, which was U.S.D., and            01:22:37
21 structure that we would acquire, but it's --                                 21 dollar sign just seemed like a more fun way of
22 it's -- it's -- it doesn't look like where we                                22 doing it.
23 ultimately ended up.                                                         23     Q. And why did you call it Uber super-duper?
24           So I don't know -- I mean, I think things                          24     A. I don't know.
25 changed over time, but this is one potential thing         12:42:57      25         Q. You thought it was a super-duper deal?           01:22:49
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                        ATTORNEYS' EYES ONLY
 1     A. Yeah, I just -- you know, I'm always           01:22:51             1 it is. I am not sure.                     01:25:18
 2 having fun.                                                                2      Q. (By Mr. Verhoeven) Do you -- they refer
 3     Q. Okay. This is an email that you received                            3 to compensation, right?
 4 on January 9th, 2016, correct?                                             4      A. Again, I don't know. I just don't -- I
 5     A. Yeah. Yeah, I think so. Yeah.                01:23:01               5 don't know.                              01:25:29
 6     Q. And it states, "He came back to us with                             6      Q. Well, setting down the document, was it
 7 proposed milestones yesterday. See attached."                              7 your understanding -- you -- you remember a
 8        Do you see that?                                                    8 discussion of milestones, right?
 9     A. Yeah.                                                               9      A. Yes.
10     Q. And below that email, it's -- it's in        01:23:16              10      Q. And you remember that the milestones          01:25:4
11 response to an earlier email from yourself,                               11 would be associated with the compensation as part
12 correct?                                                                  12 of the deal, right?
13     A. Yeah.                                                              13      A. Yes.
14     Q. And that's dated same day; it's                                    14      Q. Okay.
15 January 9th, 2016?                             01:23:25                   15      A. Yes.                           01:25:51
16     A. Yeah.                                                              16      Q. So you don't have any reason to believe
17     Q. And you sent that email, correct?                                  17 those percentages aren't associated with the
18     A. Looks like it, yes.                                                18 compensation, right?
19     Q. Do you remember discussing milestones --                           19          MS. DUNN: Form.
20 negotiating milestones with Mr. Levandowski in            01:23:37        20          MR. CHATTERJEE: Form.                     01:25:59
21 January -- in or about January 9 of 2017?                                 21          THE DEPONENT: I -- I don't know
22     A. I know people were talking about                                   22 what they -- what they refer to. They -- they
23 different structures, and milestones was certainly                        23 could very well refer to that.
24 one of them. And I wasn't involved in the details                         24      Q. (By Mr. Verhoeven) Okay. You can set
25 on this, but certainly, it looks like, being kept     01:23:54            25 that document aside.                         01:26:20
                                                                Page 214                                                           Page 216

 1 abreast of it.                           01:24:01               1     A. Okay.                             01:26:22
 2      Q. And if you turn to the next -- the back                 2        MR. VERHOEVEN: I would like to mark as
 3 page that has the list of draft milestones.                     3 Exhibit 370 an email string bearing Control Numbers
 4         Do you see that?                                        4 60147 through 156.
 5      A. Yeah.                            01:24:07               5        (Exhibit 370 was marked for              01:26:50
 6      Q. Is that what it looks like to you?                      6 identification by the court reporter and is
 7         MR. CHATTERJEE: Form.                                   7 attached hereto.)
 8         THE DEPONENT: Yeah. It looks like                       8     Q. (By Mr. Verhoeven) Mr. Kalanick, I don't
 9 different types of milestones.                                  9 want you to read this whole thing --
10      Q. (By Mr. Verhoeven) Well, this was sent        01:24:30 10     A. Okay.                             01:27:07
11 to you in January, right?                                      11     Q. -- but feel free to familiarize yourself
12      A. Yeah. Yes.                                             12 with the string. I am going to have a question on
13      Q. And at this time, Mr. Levandowski was                  13 the page that bears Control Number 150?
14 still a Google employee, right?                                14     A. Okay. Okay.
15      A. Yeah, I believe so.                  01:24:42          15     Q. And there's an email from                01:27:29
16      Q. And this was contemplating an acquisition              16 Cameron Poetzscher to Emil Michael, and you are
17 of a company to be formed in the future, correct?              17 cc'd on it. It is dated January 20th, 2016.
18      A. I think so, yeah.                                      18        Do you see that?
19      Q. And then these are milestones that                     19     A. Yeah. I think it's from Emil to Cameron.
20 Mr. Levandowski and his group would need to achieve 01:25:00 20       Q. I'm directing you just to the bottom.      01:27:49
21 in order to get the percentage compensations listed            21     A. Oh, I see. Sorry. I missed that. Yeah.
22 on the right, correct?                                         22     Q. You see that one?
23         MS. DUNN: Form.                                        23     A. Yeah.
24         THE DEPONENT: Yeah, I don't know what                  24     Q. Go ahead and read that to yourself, the
25 the percents are on the right. That might be what 01:25:15     25 text.                                  01:28:00
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                        ATTORNEYS' EYES ONLY
 1     A. Okay.                             01:28:21                             1 the deal?                                01:30:35
 2     Q. There's another paragraph to it, but...                                2     A. I don't remember specifically.
 3     A. Oh.                                                                    3     Q. Okay. Would you agree that
 4     Q. Okay. Going back to the first paragraph                                4         at this time, would be a lot of money for
 5 on May 25 -- this -- sticking with this email --    01:28:39                  5 25 people?                                01:30:47
 6     A. Uh-huh.                                                                6        MS. DUNN: Form.
 7     Q. -- do you see where it says            ?                               7         THE DEPONENT: Well, I think it's very
 8     A. Yeah.                                                                  8 much dependent upon how that compensation is
 9     Q. That's                                                                 9 structured.
10     A. Yeah.                             01:28:48                            10     Q. (By Mr. Verhoeven) Okay. But -- all         01:31:02
11     Q. What -- what is your under- -- well, you                              11 right. That's a fair -- I will move on.
12 were involved -- I take it you were involved in                              12        You can go to a new exhibit --
13 this discussion with your management team about                              13     A. What's that?
14 negotiating the financial terms of the deal with                             14     Q. You can put that aside.
15 Mr. Levandowski?                             01:29:02                        15     A. Okay.                              01:31:16
16     A. Yeah, that's true.                                                    16        MR. VERHOEVEN: Let's mark as Exhibit 371
17     Q. Okay. Can you tell me what this                                       17 an email string bearing Control Numbers 60665 --
18                   is in reference to?                                        18 Uber 60665 through 676.
19     A. I don't know. I don't know for sure.                                  19        (Exhibit 371 was marked for
20 It's --                               01:29:13                               20 identification by the court reporter and is
21     Q.                                                                       21 attached hereto.)
22                                                                              22     Q. (By Mr. Verhoeven) Now, this is a long
23     A.                                                                       23 string. Feel free to familiarize yourself with it
24     Q. Yeah. So you interpret this                                           24 to the extent you need to.
25                                                   01:29:26                   25        My question -- my first question concerns 01:32:21
                                                                     Page 218                                                                  Page 220

 1                                             01:29:29                          1 the email on page 665 through 666, on the bottom of      01:32:27
 2     Q. And that's the way you were negotiating                                2 665, from Cameron, where it says,
 3 with Mr. Levandowski at this time?                                            3 "Cameron Poetzscher wrote..."?
 4     A. It -- yeah, probably. I mean, I -- I --                                4    A. Yeah. Okay. What about it?
 5 my understanding, we ended up different than what            01:29:38         5    Q. If you go to the end, it says, "Jeff, I    01:32:53
 6 this is sort of contemplating. But that appears to                            6 think we need to do some quick work on per capita
 7 be what's going on here.                                                      7 equity for these guys versus other recent hires to
 8     Q. And then if you look up to the top email                               8 show them their math is wrong on not getting a
 9 on page 150, that's an email from Emil Michael to                             9 sufficient premium to off-the-street folks."
10 Cameron Poetzscher, and cc'ing yourself, correct?           01:29:54         10         Do you see that?                     01:33:15
11     A. Yeah.                                                                 11    A. Uh-huh.
12     Q. And Emil says, "But that's" -- all caps                               12    Q. That's referring to -- where it says
13 -- "a LOT of money for 25 people. A lot."                                    13 "them," that's referring to Mr. Levandowski and his
14        Do you see that?                                                      14 team?
15     A. Yeah. Yeah.                            01:30:08                       15    A. Yeah. I mean, that seems about right.          01:33:28
16     Q. Do you remember having any discussions                                16    Q. And they were demanding a premium over
17 with Mr. Michael about this payment and whether it                           17 people you could just buy in the industry?
18 was too much?                                                                18         MS. DUNN: Form.
19     A. I don't remember specific conversations,                              19         THE DEPONENT: I think there's a
20 but I think also it -- it may have been a              01:30:18              20 difference between when you just hire individuals       01:33:39
21 misunderstanding of the structure of the deal                                21 that come in through resumes, your job Website,
22 itself, due to a -- a misunderstanding of the                                22 versus a group of people who have worked together,
23 structure of the deal.                                                       23 you know.
24     Q. Did you have a discussion with                                        24    Q. (By Mr. Verhoeven) What extra value does
25 Mr. Michael about any misunderstanding he had of              01:30:32  25 that give you?                                 01:33:54
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                        ATTORNEYS' EYES ONLY
 1     A. It means you can -- you get a team of        01:33:56               1 would do things that were dumb and make mistakes;          01:36:15
 2 people that work together, you are going to -- you                         2 whereas, the person with experience would know
 3 are going to -- you are going to move faster. You                          3 that's not the way you want to go; you want to go
 4 are going to be able to build and innovate faster                          4 somewhere else, right?
 5 than you otherwise would.                       01:34:10                   5        MS. DUNN: Objection to form.                 01:36:24
 6     Q. And why is that?                                                    6        THE DEPONENT: The toy manufacturer would
 7     A. Like, if you take somebody in, and they                             7 have to do a lot of research, understanding sort of
 8 are used to working one way, they put on a team                            8 industry-known techniques for building cars;
 9 that's used to working another way. Everybody has                          9 whereas, the person who is already in the
10 to get to know each other. It just takes a lot of 01:34:24                10 car-building industry already knows those basics.       01:36:38
11 time to get people gelling as a team.                                     11     Q. (By Mr. Verhoeven) But, here, we are
12     Q. Did you have any discussions with                                  12 talking about folks in the AV tech industry versus
13 Mr. Levandowski or his team concerning his request                        13 folks in the AV tech industry, right?
14 for premium over off-the-street folks?                                    14        MR. CHATTERJEE: Form.
15         MS. DUNN: Form.                        01:34:43                   15        MS. DUNN: Objection to form.                 01:36:55
16         THE DEPONENT: I mean, this whole deal                             16        THE DEPONENT: I don't know if that's
17 was about a premium over off-the-street folks. I                          17 clear; but, certainly, getting a team of people
18 mean, the whole deal was about how do -- how does                         18 together that's worked -- that's some of the best
19 Uber bring on a large group -- as large as possible                       19 experts in the world, and get them on board,
20 group of people that are super talented in the      01:34:58              20 working as a team as quickly as possible, is          01:37:09
21 space -- in a space that is, you know, getting more                       21 incredibly valuable.
22 and more interest from more and more big tech                             22        I mean, you look at the deals that were
23 companies, where talent -- there's not a lot of                           23 going on at this time. You have, like a cruise
24 talent that -- that has the experience in the                             24 deal that was in, like, the billion-dollar range.
25 space.                                  01:35:14                          25 You have companies like Amazon, Apple, others sort         01:37:19
                                                                 Page 222                                                                   Page 224

 1        So we felt that it was important to move      01:35:16              1 of sniffing around, bringing on talent at, like,     01:37:23
 2 fast on talent and that that was worth a premium.                          2 exorbitant rates.
 3    Q. (By Mr. Verhoeven) They knew what to do                              3         And to be honest, if you just look at any
 4 and what not to do?                                                        4 scan of AV acquisitions or machine learning or
 5        MR. CHATTERJEE: Form.                         01:35:26              5 other types that are related, the kinds of         01:37:38
 6        MS. DUNN: Form.                                                     6 acquisitions and the kind of premium that the
 7        THE DEPONENT: I mean, look, if I were --                            7 talent is getting right now, it's not really
 8 if I were in the car manufacturing business, I                             8 disputable that that's just normal.
 9 would do better for myself to hire people who are                          9      Q. (By Mr. Verhoeven) Why are they getting
10 in the car manufacturing business versus somebody            01:35:43     10 such a premium?                               01:37:50
11 who builds toys for kids.                                                 11      A. Because they are in high demand.
12        Right?                                                             12      Q. Well, that begs the question: Why are
13    Q. (By Mr. Verhoeven) Right.                                           13 they in high demand?
14    A. Because they know they have experience                              14      A. What's that?
15 doing the things that they are going to be doing.      01:35:52           15      Q. Why are they in high demand?                01:37:59
16 And that's typically how hiring works.                                    16      A. Because, like, there are only so many
17    Q. They would know how to proceed; whereas,                            17 people who are really good at machine learning as
18 the person that was the toy manufacturer, I think                         18 it relates to perception software, and there's a
19 you said, would not, correct?                                             19 lot more demand for those people than there is
20    A. Yeah. They just have --                    01:36:06                 20 people that can do it. And so the price goes up.       01:38:18
21        MR. CHATTERJEE: Form.                                              21      Q. Did Mr. Levandowski's group offer a
22        MS. DUNN: Objection to form.                                       22 better -- higher value to you than some other group
23        THE DEPONENT: Sorry. Yeah, they have                               23 in the AV industry?
24 experience in that space. And that's important.                           24         MS. DUNN: Form.
25    Q. (By Mr. Verhoeven) The toy manufacturer               01:36:14      25         MR. CHATTERJEE: Form.                        01:38:30
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                        ATTORNEYS' EYES ONLY
 1         THE DEPONENT: I mean, this was just a                01:38:32       1 string of emails. So if you need to, feel free to     01:41:41
 2 high-quality team.                                                          2 review it to get context. I am not going to ask
 3     Q. (By Mr. Verhoeven) Well, you thought it                              3 you about the whole thing.
 4 was the highest quality around, right?                                      4    A. But you want to -- should I read it?
 5     A. I think that -- so at that -- yeah, at      01:38:43                 5     Q. No. I'm just letting you know, if you          01:41:52
 6 the time, I was -- I was convinced that Anthony was                         6 want to. It said this with all of the emails,
 7 one of the best minds in the world in autonomy.                             7 beginning with the strings.
 8 And I still think that is probably the case.                                8    A. Okay. Just give me a second.
 9     Q. Direct your attention to page -- with the                            9     Q. Just for your information, it is on
10 Control Number 668. And I want to ask you a                  01:39:02      10 page 3620.                                01:42:17
11 question about the top email --                                            11    A. Okay. Just give me a second to read
12     A. Uh-huh.                                                             12 through this.
13     Q. -- from Jeff Holden.                                                13          MS. DUNN: Take the time you need.
14         Do you see that?                                                   14          THE DEPONENT: Okay.
15     A. Yeah. Yeah.                              01:39:20                   15     Q. (By Mr. Verhoeven) Direct your attention          01:44:02
16     Q. And he says, "Travis' guidance on this                              16 to the page bearing 3620?
17 was to move as fast as possible and to try to get                          17    A. Yup.
18 the definitive docs signed by a few days after he's                        18     Q. At the bottom, there's an email from
19 back if the office."                                                       19 Cameron Poetzscher, dated January 27th, in which
20     A. Yeah.                              01:39:36                         20 you are cc'd.                             01:44:18
21     Q. Do you remember pushing to get the deal                             21          Do you see that?
22 done as fast as possible?                                                  22    A. Yes.
23     A. I do that with every deal.                                          23     Q. And it says, "We have a tentative deal
24     Q. So -- so do you remember it?                                        24 with respect to Newco."
25     A. No, but that doesn't surprise me.             01:39:50              25          Do you see that?                    01:44:27
                                                                   Page 226                                                                   Page 228

 1     Q. Okay. And why would you want to have the               01:39:53      1    A. Oh, yeah. Yeah, I see that.                 01:44:28
 2 deal done as fast as possible?                                              2     Q. And that's a reference -- Newco is a
 3     A. Deals don't happen when you take too much                            3 reference to the Anthony Levandowski structure,
 4 time.                                                                       4 right?
 5     Q. Why?                                01:40:05                         5          MS. DUNN: Form.                          01:44:38
 6     A. I don't know. It's just a human thing.                               6          THE DEPONENT: I think we just called --
 7     Q. What happens to break them down if they                              7 we just called the deal Newco.
 8 take too long?                                                              8     Q. (By Mr. Verhoeven) Okay. So it's a
 9         MS. DUNN: Form.                                                     9 reference to the deal with Anthony Levandowski?
10         MR. CHATTERJEE: Form.                          01:40:32            10    A. Yeah.                              01:44:45
11         THE DEPONENT: They maybe get an offer                              11     Q. Okay. And at the bottom, it says,
12 from another -- from another company that's                                12
13 interested in them. Maybe they lose interest in                            13
14 working with you. Maybe they think that you are                            14          Do you see that?
15 not interested. I mean, it could be a whole host           01:40:39        15    A. Yeah.                              01:44:58
16 of reasons.                                                                16     Q. So what -- that's referring to
17     Q. (By Mr. Verhoeven) You can put that                                 17
18 exhibit away.                                                              18    A. Yeah.
19         MR. VERHOEVEN: I would like to mark as                             19     Q.
20 Exhibit 372 an email string bearing Control Numbers            01:41:08    20                                                         01:45:10
21 Uber 63618 to 622.                                                         21
22         (Exhibit 372 was marked for                                        22    A. I think it's that; plus, they need to hit
23 identification by the court reporter and is                                23 milestones.
24 attached hereto.)                                                          24     Q. Okay. At this point, the milestones are
25     Q. (By Mr. Verhoeven) Again, this is a             01:41:41        25 agreed, according to this document, correct?                01:45:23
                                                                 Page 227                                                                     Page 229

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                        ATTORNEYS' EYES ONLY
 1     A. That's what it appears to be.            01:45:26               1 talking to us about working with us or talking to      01:47:40
 2     Q. Okay. It says, "As part of the deal,                            2 us and then going back to Google and telling him --
 3 Levandowski wants to report directly to you."                          3 telling them everything that he learned by talking
 4        Do you see that sentence?                                       4 to us.
 5     A. Yeah.                            01:45:36                       5     Q. (By Mr. Verhoeven) And you didn't want               01:47:51
 6     Q. It's right above the milestone sentence?                        6 him to do that?
 7     A. Yeah, I see it.                                                 7     A. No.
 8     Q. What is your understanding of what his                          8     Q. Why not?
 9 reasons were for that?                                                 9     A. Because we try to keep our -- what we do
10     A. Everybody wants to report to me.            01:45:44           10 confidential.                            01:47:58
11     Q. Just that he would have access to you; is                      11     Q. Was one reason that you didn't want him
12 that your understanding?                                              12 to do that because you were -- you thought Google
13     A. Yeah. It's one of the hardest parts of                         13 might object or take action?
14 my job, is convincing people not to work for me.                      14          MS. DUNN: Form.
15     Q. Okay. If you look at the last            01:45:55              15          MR. CHATTERJEE: Form.                       01:48:11
16 paragraph of this email?                                              16          THE DEPONENT: You know, look, if we are
17     A. Mm-hm. Yeah.                                                   17 talking to a bunch of employees of Google about
18     Q. It says, "We should not let Salesky know                       18 coming over to Uber, you don't go over to Google
19 anything further about this," and then it goes on.                    19 and say, hey, I'm talking to your employees.
20        Do you see that?                    01:46:09                   20          Right?                         01:48:25
21     A. Yeah, Salesky.                                                 21     Q. (By Mr. Verhoeven) Fair enough.
22     Q. Who is Salesky?                                                22     A. It's just a normal thing.
23     A. He -- he has his own autonomy start-up at                      23     Q. But the reason you don't do that is
24 this point. He used to work --                                        24 because they would get upset, correct?
25     Q. What's -- what's his name, first name?       01:46:22          25          MS. DUNN: Form.                         01:48:33
                                                              Page 230                                                                     Page 232

 1    A. I don't remember. He's always been             01:46:23          1          THE DEPONENT: Yeah. Either they get                01:48:33
 2 referred to as Salesky. I've never met him in                          2 upset, or they get -- they find ways to retain
 3 person.                                                                3 those people versus them moving to another company.
 4    Q. Okay.                                                            4     Q. (By Mr. Verhoeven) And at the bottom, it
 5    A. But he has his own autonomy start-up. He         01:46:30        5 says, "I am quite worried about what he may say to          01:48:46
 6 used to work for Google.                                               6 Larry."
 7    Q. I see.                                                           7          Do you see that?
 8    A. Yeah. And he was talking -- there were                           8     A. Yeah, I do.
 9 some conversations, if I understand -- I never met                     9     Q. That's a reference to Larry Page?
10 him -- but there were some conversations between         01:46:46     10     A. Likely.                           01:48:55
11 him and our team around the same time.                                11     Q. You can put that one away.
12    Q. And then --                                                     12     A. Okay.
13    A. Lots of people were looking to leave                            13          MR. VERHOEVEN: Let's mark as Exhibit 373
14 Google at this time. And most of their top people                     14 an email dated January 26th, 2016 from
15 were leaving.                            01:47:02                     15 Cameron Poetzscher to Travis Kalanick.                 01:49:19
16    Q. And what is your understanding of why --                        16          (Exhibit 373 was marked for
17 if you have one, why Cameron is saying that Uber                      17 identification by the court reporter and is
18 shouldn't let him know anything about this deal?                      18 attached hereto.)
19       MS. DUNN: Form.                                                 19     Q. (By Mr. Verhoeven) This is an email from
20       THE DEPONENT: Because Salesky was -- my              01:47:16   20 Cameron to you, dated January 28th, 2016, correct?           01:49:50
21 understanding -- again, I've never met him, but my                    21     A. Looks like it, yes.
22 understanding of the meetings they had with him,                      22     Q. And the subject is Newco?
23 you could never quite trust him.                                      23     A. Yes.
24       And so he was talking to us about working                       24     Q. And it is -- it says, "Did you tell
25 with us in some way. We weren't sure if he was         01:47:35     25 Anthony that you would indemnify them if they get              01:50:03
                                                              Page 231                                                                    Page 233

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                        ATTORNEYS' EYES ONLY
 1 sued by G as part of or after the deal?"              01:50:07               1         Do you see that?                    01:53:16
 2        Do you see that?                                                      2     A. Yeah.
 3     A. Yeah.                                                                 3     Q. Do you remember having a meeting --
 4     Q. G refers to Google?                                                   4     A. Yeah.
 5     A. Likely.                             01:50:16                          5     Q. -- with Mr. Levandowski or his people -- 01:53:19
 6     Q. Do you remember this email?                                           6     A. Yeah.
 7     A. No.                                                                   7     Q. -- in or about March 11th --
 8     Q. Do you remember talking with Cameron                                  8     A. Yeah.
 9 about indemnifying Mr. Levandowski if he got sued                            9     Q. -- 2016?
10 by Google as part of the deal that you were talking         01:50:29        10     A. Yeah, yeah. This -- this is actually the 01:53:27
11 with him about?                                                             11 meeting -- this is the meeting we were referring to
12        MS. DUNN: Form.                                                      12 earlier.
13        THE DEPONENT: I don't remember that, no.                             13     Q. About the five discs?
14     Q. (By Mr. Verhoeven) Did you, in fact,                                 14     A. Yeah, correct. Or the discs, generally,
15 tell Anthony that you would indemnify his group if           01:50:40       15 yes.                                  01:53:38
16 they got sued by Google as a result of the deal?                            16     Q. Yeah. Okay. It says -- if you look at
17     A. I don't remember that specifically.                                  17 the little dash bullets --
18     Q. Do you have any reason to believe you did                            18     A. Yeah.
19 not?                                                                        19     Q. -- with the little dashes on them --
20     A. I just don't remember.                    01:50:57                   20     A. Yeah.                            01:53:46
21     Q. It says, "They are under that                                        21     Q. -- the last dash bullet says, "Number of
22 impression."                                                                22 diligence employees for forensic diligence."
23        Do you see that?                                                     23     A. Yeah.
24     A. Uh-huh.                                                              24     Q. Does that refresh your recollection about
25     Q. That's a yes?                        01:51:06                        25 any discussions that there would be diligence        01:53:59
                                                                    Page 234                                                                  Page 236

 1     A. Yes. Sorry. Yes.                        01:51:07                      1 employees that Stroz would conduct forensic             01:54:03
 2     Q. They are under that impression because                                2 diligence on?
 3 they think you told him that, right? Is that how                             3     A. It certainly refreshes my memory of what
 4 you read this?                                                               4 the topics of the meeting were sort of about.
 5     A. It looks like they are under the            01:51:18                  5     Q. What was the forensic diligence going to        01:54:17
 6 impression that they would get indemnified if they                           6 be on?
 7 were sued by Google. It doesn't appear to be that                            7     A. Yeah, it was going to be on this -- you
 8 they were under the impression that I told them.                             8 know, the -- the group of people we were doing the
 9     Q. Okay. And you have no recollection of                                 9 transaction with.
10 any of this?                               01:51:35                         10     Q. Did the discussion of doing a forensic         01:54:31
11     A. I -- I don't.                                                        11 diligence -- withdrawn.
12     Q. Do you have any recollection of                                      12        Was the discussion of doing forensic
13 discussing indemnification as part of the deal?                             13 diligence the result of Mr. Levandowski's
14     A. No.                                                                  14 disclosure that he had discs that contained Google
15        MR. VERHOEVEN: I'm going to mark as                   01:51:45       15 information?                              01:54:47
16 Exhibit 374 a meeting notice on Google Calendar                             16     A. I think my understanding is, we were
17 bearing Control Number UB1424.                                              17 doing that diligence regardless of that disclosure.
18        (Exhibit 374 was marked for                                          18     Q. Okay. Did someone tell you that at this
19 identification by the court reporter and is                                 19 meeting?
20 attached hereto.)                             01:52:43                      20     A. I don't know. I don't know.               01:55:01
21     Q. (By Mr. Verhoeven) You see this is a                                 21     Q. But you don't believe that, at this
22 calendar note, dated March 11, 2016 to yourself?                            22 meeting, there was any discussion of doing forensic
23     A. Yeah. Yup. I see that, yes.                                          23 diligence as a result of Mr. Levandowski's
24     Q. Okay. And under "More Details," it says                              24 disclosure that he had files containing Google
25 "Newco meeting with principals."                      01:53:11         25 information?                                   01:55:16
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                        ATTORNEYS' EYES ONLY
 1     A. My recollection is, his disclosure came        01:55:18           1 of the fact that, as part of the deal, there would 01:57:31
 2 at the end of the meeting.                                               2 be forensic diligence on his devices?
 3     Q. So it was after the discussion of                                 3         MS. DUNN: Form.
 4 diligence employees and forensic diligence?                              4         THE DEPONENT: This was -- I remember
 5     A. That's my assumption. My -- you know,            01:55:29         5 that being at the end of the meeting. So I don't        01:57:45
 6 it's been a long time since the meeting. I --                            6 know if we talked about the number of the diligence
 7 that's my best guess.                                                    7 employees. I don't remember. But if we did cover
 8     Q. What do you remember about a discussion                           8 all of this, then it would have come after that.
 9 of the number of diligence employees in forensic                         9     Q. (By Mr. Verhoeven) Okay. You can put
10 diligence at this meeting?                      01:55:42                10 that away.                                  01:57:59
11     A. I don't remember anything about it.                              11         MR. VERHOEVEN: Let's mark -- let's mark
12     Q. Why is it that you remember the                                  12 as Exhibit 375 an email dated March 21, 2016 from
13 disclosure of the files that had Google information                     13 Cameron Poetzscher to Travis Kalanick, bearing
14 on them at this meeting, but not the discussion of                      14 Control Numbers Uber 60643 through 644.
15 forensic diligence?                         01:55:56                    15         (Exhibit 375 was marked for                01:58:38
16        MR. CHATTERJEE: Form.                                            16 identification by the court reporter and is
17        MS. DUNN: Form.                                                  17 attached hereto.)
18        THE DEPONENT: Some things in a meeting                           18     Q. (By Mr. Verhoeven) You will see that the
19 are more eventful and memorable than others.                            19 attachment to this document has been withheld for
20     Q. (By Mr. Verhoeven) So it was more               01:56:04         20 privilege.                                 01:59:10
21 memorable to you that he disclosed that?                                21         Do you see that?
22     A. For sure.                                                        22     A. Yeah. Yeah, I see that.
23     Q. What was your reaction when he disclosed                         23     Q. And for the record, we object to that
24 it at this meeting?                                                     24 fact and intend to move to compel that.
25        MR. CHATTERJEE: Form.                          01:56:14          25         The -- the attachment said -- or the        01:59:24
                                                                Page 238                                                            Page 240

 1        THE DEPONENT: My reaction was that no               01:56:15      1 email on the attachments line, it says,           01:59:26
 2 files -- no content from his former employer can                         2 "Project Zing, timing update."
 3 come to Uber under any conditions and that he                            3        Do you see that?
 4 needed to talk to an attorney to figure out how to                       4     A. Yeah.
 5 properly do that.                          01:56:27                      5     Q. What does Project Zing refer to?            01:59:36
 6     Q. (By Mr. Verhoeven) Why -- why did he                              6     A. No idea.
 7 tell you that he had those files at this meeting?                        7     Q. Is that another name for the deal with
 8        MS. DUNN: Form.                                                   8 Mr. Levandowski?
 9        MR. CHATTERJEE: Form.                                             9     A. I have no idea what it is.
10        THE DEPONENT: He probably felt like we              01:56:48     10     Q. Well, this was sent to you, right?         01:59:50
11 were going to find out one way or another.                              11     A. Correct.
12     Q. (By Mr. Verhoeven) Do you remember what                          12     Q. It says in the first paragraph, "They
13 he said one way or the other?                                           13 were supposed to get us their diligence materials
14        MR. CHATTERJEE: Form.                                            14 by last Sunday night, and we only got Anthony's
15        THE DEPONENT: I am sorry. I didn't               01:57:00        15 questionnaire on Friday and are still waiting on      02:00:06
16 understand the question.                                                16 three other employees, also still waiting on the IP
17     Q. (By Mr. Verhoeven) Do you remember what                          17 diligence info from them."
18 he said one way or the other at this meeting?                           18        Do you see that?
19     A. I don't remember specifically what he                            19     A. I do.
20 said, but I remember, generally, him making some           01:57:07     20     Q. So does this refresh your recollection       02:00:18
21 kind of disclosure about having some kind of either                     21 that Project Zing concerned the deal with
22 backup disc or some kind of content that was from                       22 Anthony Levandowski?
23 his former employer. It was like backup data from                       23     A. I mean, I assume it had something to do
24 former employer, something like that.                                   24 with that. I just don't remember anything about
25     Q. And that was after the discussion of --        01:57:30          25 anything called Project Zing.                  02:00:33
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                        ATTORNEYS' EYES ONLY
 1     Q. Do you remember getting this email?             02:00:40         1    A. I have no idea.                         02:03:07
 2     A. No.                                                              2    Q. Okay. Put that one aside.
 3     Q. Do you remember hearing that                                     3       MR. VERHOEVEN: Let's mark as Exhibit 376
 4 Mr. Levandowski and his team were late on getting                       4 what appears to be a part of a text message bearing
 5 diligence materials to the Stroz people?           02:00:51             5 Control Numbers LEV2310.                             02:03:39
 6     A. Say that question again, please.                                 6       (Exhibit 376 was marked for
 7     Q. Do you remember hearing that                                     7 identification by the court reporter and is
 8 Anthony Levandowski and his team were late in                           8 attached hereto.)
 9 getting their materials to the Stroz people?                            9       MR. VERHOEVEN: Before you give it to
10        MR. CHATTERJEE: Object to the form.               02:01:12      10 him, let me hand them out. Yeah. Hold on.                02:03:58
11        MS. DUNN: Form.                                                 11       Does anyone have any objections if I give
12        THE DEPONENT: I don't remember.                                 12 the -- show the witness this? You can see the
13     Q. (By Mr. Verhoeven) Okay. Do you                                 13 witnesses' names on it.
14 remember the part of the diligence concerning IP?                      14       MS. DUNN: I do see that. Let me check
15     A. I know that there was diligence and that        02:01:30        15 with my boss.                              02:04:17
16 IP diligence is a big part of any diligence that                       16       MS. GOODMAN: I think the protective
17 you do in a transaction.                                               17 order allows for authors who are seeking some
18     Q. It says, "Also still waiting on the IP                          18 documents marked confidential or AEO to see them in
19 diligence info from them."                                             19 deposition.
20        Do you see that?                     02:01:44                   20       MR. VERHOEVEN: Okay. Go ahead and give                    02:04:28
21     A. I do.                                                           21 it to him?
22     Q. What was that referring to?                                     22    Q. (By Mr. Verhoeven) Is this a printout of
23     A. I have no idea.                                                 23 a text message Mr. Levandowski sent to you?
24        MR. CHATTERJEE: Form.                                           24    A. It may be, yeah. Looks like it.
25     Q. (By Mr. Verhoeven) No idea?                 02:01:50         25       Q. Okay. And it says,                                  02:04:50
                                                              Page 242                                                                     Page 244

 1     A. No idea.                           02:01:51                      1                                                            02:04:55
 2     Q. Did you ask Cameron what it was referring                        2
 3 to, based on this email?                                                3
 4     A. I don't think so.                                                4        "
 5     Q. It says, "A detailed status update is       02:02:06             5        Do you see that?                       02:05:07
 6 attached."                                                              6    A. I do.
 7        Do you see that? Second-to-last?                                 7     Q. Do you have any recollection of having
 8     A. Yeah. Yeah.                                                      8 discussions with Mr. Levandowski about these
 9     Q. Do you remember receiving status updates                         9 diligence questionnaires?
10 on diligence materials from your team?               02:02:17          10    A. No.                               02:05:17
11     A. I got a couple diligence updates from my                        11     Q. This indicates that you had texts with
12 general counsel, so...                                                 12 him about the diligence questionnaires, right?
13     Q. This looks like to me like you are                              13    A. Yeah, it appears to be that, yes.
14 getting a diligence update from Cameron. Is that                       14     Q. But you don't remember any of these?
15 what it looks like to you?                     02:02:42                15    A. No, no.                             02:05:28
16        MS. DUNN: Form.                                                 16     Q. What about the design questionnaires for
17        THE DEPONENT: It does, yeah.                                    17 the IP check?
18     Q. (By Mr. Verhoeven) Okay.                                        18    A. Yeah, no.
19     A. Let's see. Hold on -- let me -- before I                        19     Q. You have no recollection of that?
20 -- one second. It's not clear that I'm getting a    02:02:51           20    A. I do not.                           02:05:38
21 diligence update here, actually. It's some kind of                     21     Q. But you -- but it looks like you had
22 update. It says a "detailed status update." It's                       22 texts with Mr. Levandowski concerning that, right?
23 not clear to me that it's a diligence update.                          23        MS. DUNN: Form.
24     Q. Did Project Zing refer to the diligence                         24        THE DEPONENT: It appears to be so.
25 that was being done?                          02:03:06                 25        MR. VERHOEVEN: Okay. Let's mark as                   02:05:49
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                        ATTORNEYS' EYES ONLY
 1 Exhibit 377 another text message from                 02:06:15             1 like, in a normal course of business. It's not.      02:08:26
 2 Anthony Levandowski, bearing Control Number Uber                           2 So...
 3 73891.                                                                     3    Q. That's fine. You can put that away.
 4         (Exhibit 377 was marked for                                        4         MR. VERHOEVEN: Let's mark as Exhibit 378
 5 identification by the court reporter and is          02:06:27              5 a document bearing Control Numbers Uber 75047                 02:08:49
 6 attached hereto.)                                                          6 through 48.
 7         MR. VERHOEVEN: Counsel I assume there's                            7         (Exhibit 378 was marked for
 8 no problems with giving -- showing this to --                              8 identification by the court reporter and is
 9         MS. DUNN: Yeah, no problem.                                        9 attached hereto.)
10         MR. VERHOEVEN: Okay. Go ahead and give                  02:06:49 10     Q. (By Mr. Verhoeven) First email is from             02:09:27
11 it to him. Sorry.                                                         11 Mr. Levandowski to JH.
12      Q. (By Mr. Verhoeven) And do you see under                           12         Do you see that?
13 "participants," colon?                                                    13    A. Yeah.
14      A. Yeah.                                                             14    Q. Who is JH?
15      Q. And there's a phone number?                 02:07:14              15    A. That's Jeff Holden.                      02:09:37
16      A. Yeah.                                                             16    Q. Oh. So this is an email from
17      Q. Is that your phone number?                                        17 Mr. Levandowski to Mr. Holden, dated March 31st,
18         I promise we will keep it confidential.                           18 2016; is that right?
19      A. Yes, it is my phone number.                                       19    A. Appears to be so.
20      Q. Okay. So this is a text, in part, to       02:07:23               20    Q. And the subject line says, "Whiteboard             02:09:47
21 you, correct --                                                           21 translation TK points."
22      A. Yeah.                                                             22         Do you see that?
23      Q. -- from Mr. Levandowski?                                          23    A. Yeah.
24      A. Yes.                                                              24    Q. TK refers to you, right?
25      Q. And he's -- this is time-stamped            02:07:34              25    A. Usually does.                           02:09:58
                                                                  Page 246                                                                     Page 248

 1 March 26th, 2016?                               02:07:36                   1     Q. Okay. If you look at the attachment,          02:09:59
 2      A. Yes.                                                               2 there's a whiteboard with red writing on it.
 3      Q. And he says,                                                       3         Do you see that?
 4                                                                            4     A. Yeah.
 5         Do you see that?                       02:07:45                    5     Q. Did you have a meeting with                  02:10:13
 6      A. Yeah.                                                              6 Mr. Levandowski -- or withdrawn.
 7      Q. What is the                                                        7         Did you have a meeting around this date
 8      A. I don't know. I don't know what that is                            8 where you wrote all this on the whiteboard?
 9 referring to.                                                              9     A. It's possible.
10      Q. You have no recollection of any              02:07:53             10     Q. Is this your handwriting?                  02:10:31
11 discussions about a                                                       11     A. Yes, it is.
12      A. No.                                                               12     Q. Okay. Do you remember having a
13      Q. Do you have any -- if you are reading                             13 meeting -- do you remember the meeting associated
14 this, what -- how would you interpret the reference                       14 with this picture?
15 to                                             02:08:03                   15     A. No.                              02:10:42
16         MR. CHATTERJEE: Form.                                             16     Q. Under No. 1 in the picture, it says,
17         MS. DUNN: Form.                                                   17 "Pittsburgh ++- I know some," S word?
18         THE DEPONENT: I just don't know what it                           18     A. Yes.
19 is referring to. I don't know what              we are                    19     Q. Do you see that?
20 talking about here. I just don't know.              02:08:13              20     A. I do.                            02:11:01
21      Q. (By Mr. Verhoeven) Have you ever used                             21     Q. Okay. What does that mean?
22 that -- that term, referring to the                                       22         MR. CHATTERJEE: Form.
23 in talking about a deal?                                                  23         THE DEPONENT: I can't -- I mean, I don't
24      A. No. I mean, it's not something I would                            24 know. But if he's consulting for us helping to
25 normally do, or not something that I have done,            02:08:23     25 bring some advice and sort of consultative approach            02:11:17
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 1 to what's going in, Pittsburgh would be helpful.        02:11:21           1 thing to work on,                                 02:13:51
 2     Q. (By Mr. Verhoeven) So the "I" in that                               2
 3 reference is Mr. Levandowski?                                              3        And I remember, you know, at some point
 4     A. I don't know. I don't know for sure.                                4 while he was helping that team get up to speed, we
 5 But it could be. I just don't know.               02:11:30                 5 were just like,                                  02:14:03
 6     Q. Does it look like it is?                                            6
 7     A. Well, I read this here.                                             7
 8     Q. You are referring to the email?                                     8
 9     A. Yeah.                                                               9
10     Q. What did you read?                        02:11:39                 10                                                 02:14:12
11     A. It says, "Pittsburgh ++."                                          11
12     Q. S word?                                                            12
13     A. "Help ATC with calls by using our team's                           13
14 experience and knowledge."                                                14
15        So I would -- I don't remember writing        02:11:51             15                                               02:14:27
16 this, but that's one interpretation of it.                                16
17     Q. You were at a meeting where                                        17
18 Mr. Levandowski said this, right?                                         18
19        MS. DUNN: Form.                                                    19
20        THE WITNESS: I was at a meeting, and             02:12:08          20                                                  02:14:42
21 then it looks like Levandowski sent this to Holden,                       21
22 sort of interpreting what I was trying to say.                            22
23     Q. (By Mr. Verhoeven) And he interpreted,                             23
24 "I know some," S word, "to mean that he would help                        24
25 ATC avoid pitfalls by using Mr. Levandowski's               02:12:22      25                                                   02:14:51
                                                                  Page 250                                                               Page 252

 1 teams' experience and knowledge," correct?              02:12:27           1                                          02:14:54
 2        MS. DUNN: Form.                                                     2
 3        THE DEPONENT: Correct.                                              3
 4     Q. (By Mr. Verhoeven) Do you have any                                  4
 5 recollection of a discussion about Mr. Levandowski           02:12:38      5                                        02:15:01
 6 helping Pittsburgh avoid pitfalls?                                         6
 7     A. We certainly have always believed in                                7
 8 people who have great expertise, experience,                               8
 9 knowledge working for our team and helping us                              9
10 innovate and invent the future.                   02:13:00                10     Q. (By Mr. Verhoeven) So your ATC group,           02:15:13
11     Q. Did Mr. Levandowski, indeed, help the                              11 what is it called now?
12 Pittsburgh team avoid some pitfalls?                                      12     A. ATG.
13        MR. CHATTERJEE: Form.                                              13     Q. ATG?
14        MS. DUNN: Form.                                                    14     A. Yeah.
15        THE DEPONENT: I'm sure -- I'm sure he                02:13:13      15     Q. And that's just a new name for the same      02:15:19
16 did.                                                                      16 group?
17     Q. (By Mr. Verhoeven) Does any of them come                           17     A. Well, when it was ATC, it was just
18 to mind?                                                                  18 Pittsburgh. And ATG was about when we had more
19     A. Well, like one of the things that the                              19 than one site.
20 Pittsburgh team was working on was like a -- was            02:13:22      20     Q. Okay.                            02:15:27
21 a -- what was it? I am trying to remember.                                21     A. So it was a group. So instead of a
22                                                                           22 center, it's --
23                                                                           23     Q. Bigger -- bigger group, bigger AV group,
24                                                                           24 still the AV --
25        And that's, like, a cool, "sciencey"        02:13:45               25     A. Because it's over multiple sites instead    02:15:37
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1 of a center, it was a group.          02:15:40                   1                                        02:17:41
2    Q. Oh, I see. Got it?                                         2     A. Yeah.
3    A. Yeah.                                                      3     Q. Is there any particular software in your
4    Q.                                                            4 company for this or --
 5                                                 02:15:51        5     A. My guess is, it's all Google Docs.         02:17:45
6                                                                  6     Q. Okay. Let's move on. You can put that
 7   A.                                                            7 away.
 8                                                                 8        MR. VERHOEVEN: Let's mark as Exhibit 379
 9                                                                 9 a Google document bearing Control Numbers
10                                      02:16:07                  10 Uber 344 -- 100344 through 352.                    02:18:13
11                                                                11        (Exhibit 379 was marked for
12                                                                12 identification by the court reporter and is
13                                                                13 attached hereto.)
14                                                                14     Q. (By Mr. Verhoeven) Have you seen
15                                  02:16:17                      15 Exhibit 379 before?                          02:19:00
16                                                                16     A. I don't know. I don't remember it.
17                                                                17     Q. You see the cover, the first page of --
18                                                                18     A. Yeah.
19                                                                19     Q. -- 379?
20                                              02:16:29          20     A. Yeah.                            02:19:09
21                                                                21     Q. It's an email from Cameron Poetzscher to
22                                          ,                     22 you --
23                                                                23     A. Yeah.
24                                                                24     Q. -- dated April 11th, 2016?
25                                                02:16:39        25     A. Yeah. Yeah.                          02:19:18
                                                       Page 254                                                                    Page 256

1                                                  02:16:44        1    Q. Does that date have any significance to         02:19:18
2                                                                  2 you?
3                                                                  3    A. 4/11/2016?
4                                                                  4    Q. Correct.
 5                               02:16:52                          5    A. Not particularly.                        02:19:28
6                                                                  6    Q. Do you remember that was the date on
 7                                                                 7 which the contract we looked at earlier, the merger
 8                                                                 8 contract, was signed?
 9                                                                 9    A. I -- I didn't know that, but I'll take
10                                                     02:17:05   10 your word for it. This is deal overview.             02:19:45
11                                                                11          (Discussion off the stenographic record.)
12                                                                12    Q. (By Mr. Verhoeven) I'm going to place
13                                                                13 before you an exhibit you've previously seen,
14                                                                14 Exhibit 365, agreement and planned merger.
15                                          02:17:19              15    A. Yeah.                              02:20:19
16                                                                16    Q. Do you see it's dated as of April 11th?
17                                                                17    A. Okay.
18                                                                18    Q. Do you see that?
19                                                                19    A. I do.
20                                                02:17:25        20    Q. And that's the same date as this email,         02:20:26
21                                                                21 right?
22                                                                22    A. It sure is. Yeah.
23                                                                23    Q. Okay. And this says in the subject line
24                                                                24 of this email, "Here's the revised deck with
25                                               02:17:37       25 milestones." And then below that, it says, "Zing            02:20:37
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 1 board slides," and that's the attachment, right?      02:20:42            1     A. Yeah.                                02:22:39
 2     A. Yeah. I see that, yeah.                                            2     Q. -- merger agreement?
 3     Q. If you turn to the attach- -- you see the                          3     A. Yeah, yeah.
 4 attachment follows?                                                       4     Q. It says, "Mr. Kalanick and Mr. Poetzscher
 5     A. What do you mean? I am sorry.                02:20:51              5 led" --                                 02:22:44
 6     Q. The next page --                                                   6     A. So just real quick, just so it will make
 7     A. Yeah, yeah, yeah.                                                  7 it easier, just say, Poetzscher.
 8     Q. -- is the attachment?                                              8     Q. Poetzscher? Okay.
 9     A. Yeah.                                                              9     A. Yeah.
10     Q. And it's titled "Project Zing Review"?        02:20:55            10     Q. Poetzscher? I knew I've been messing up            02:22:54
11     A. Yeah.                                                             11 that name the whole time.
12     Q. And if you look through this --                                   12     A. We could just say "Cam," too. If you
13     A. Yeah.                                                             13 want to just go there, I'm very okay with that.
14     Q. I don't want you to read every word.                              14     Q. Poetzscher. I can remember Poetzscher.
15     A. You do?                             02:21:04                      15        Okay. Let's go back to the record.             02:23:04
16     Q. I don't.                                                          16        It says there, "Mr. Kalanick and
17     A. Oh, you don't. Okay.                                              17 Mr. Poetzscher led a discussion regarding a
18     Q. Is this a slide deck that was presented                           18 potential acquisition and described key aspects of
19 to the board of directors on April 11th?                                 19 the proposed transaction."
20     A. It appears to be so.                  02:21:13                    20     A. Yeah.                                02:23:18
21     Q. And would you have been the person                                21     Q. Does this refresh your recollection as to
22 presenting this?                                                         22 your involvement in making this presentation?
23     A. No.                                                               23     A. You know, look, my guess is, before --
24     Q. Is this -- does this reflect -- who led                           24 I'm guessing here -- you know, it could be that
25 the discussion regarding this potential            02:21:26              25 before Cam got started, I was, like, all right, we       02:23:32
                                                                 Page 258                                                                     Page 260

 1 acquisition?                                02:21:30                      1 are, you know, maybe a high-level overview. But I             02:23:36
 2     A. I am going to assume it's Cameron.                                 2 can -- I know I didn't talk to the details that are
 3     Q. Okay.                                                              3 in these slides here.
 4     A. It may have been that Emil spoke, too;                             4        I may have just been sort of the vision
 5 but I would assume that it's Cameron.                  02:21:39           5 guy, and maybe that's my part of leading this             02:23:48
 6     Q. Were you involved?                                                 6 discussion. But in terms of really leading this
 7     A. I was maybe going to chime in if I saw                             7 discussion and going through these slides, I -- I'm
 8 something, but this is not a discussion I led.                            8 very certain that I was not doing that.
 9     Q. Okay. I am not trying to play any tricks                           9     Q. Okay. By "these slides," you mean the
10 on you, but I'm going to give you a document.             02:21:54       10 slides attached to Exhibit 379?                    02:24:04
11        MR. VERHOEVEN: Let's mark it as 380.                              11     A. Yes.
12        (Exhibit 380 was marked for                                       12     Q. 379?
13 identification by the court reporter and is                              13     A. Yeah.
14 attached hereto.)                                                        14     Q. Let's go back to 379.
15        THE DEPONENT: You want me to put this                02:22:02     15     A. What is 379?                           02:24:31
16 away or hold it?                                                         16     Q. That's the slides.
17     Q. (By Mr. Verhoeven) Just keep it. Go                               17     A. Okay. Got it. Yes.
18 ahead.                                                                   18     Q. So it looks like Project Zing is the deal
19        It is entitled "Minutes of Special                                19 being -- the deal is being referred to as
20 board -- special meeting of boards of directors"?        02:22:08        20 Project Zing now?                              02:24:47
21     A. Yeah.                                                             21     A. Yeah. And I just -- you know, I got used
22     Q. "Uber Technologies, Inc., April 11th,                             22 to the Newco thing. But it looks like they changed
23 2016." It bears Control Numbers Uber 101482                              23 the same at some point.
24 through 498. And if you look at item 1 on the                            24     Q. Okay. Do you see on page 346 it says
25 first page --                           02:22:39                         25 "deal overview"?                              02:24:59
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                        ATTORNEYS' EYES ONLY
 1     A. Yes, I do.                         02:25:01               1    Q. No, as of this point in time, though.       02:27:16
 2     Q. And what is this?                                         2    A. There was some --
 3     A. It looks like a breakdown of sort of the                  3    Q. There was --
 4 structure of the deal and compensation for it.                   4    A. There were --
 5     Q. You see on the left side, there's these     02:25:22      5    Q. You were trying to develop -- I am sorry?        02:27:20
 6 boxes, these colored boxes -- I know this is black               6    A. Apologize.
 7 and white.                                                       7    Q. At this point in time, April 11th --
 8     A. That's okay. I see it.                                    8    A. Yeah.
 9     Q. And the first box at the top says                         9    Q. -- you were trying to develop your own
10 "Rationale"?                              02:25:30              10 custom LiDAR in -- as part of the work going in          02:27:27
11     A. Yeah.                                                    11 Pittsburgh, correct?
12     Q. And the first item listed under Rationale                12    A. They had some laser work going on, but it
13 says,                                                           13 was pretty early at the time, is my understanding.
14                                                                 14    Q. But one of their projects was to develop
15                                                02:25:44         15 an in-house LiDAR system, right?                     02:27:41
16                                                                 16    A. It was one of the areas they were
17     A.                                                          17 exploring.
18     Q. And that's referring to LiDAR lasers,                    18
19 right?                                                          19
20     A. Correct.                          02:25:53               20    Q. Right.                           02:27:52
21     Q. And did you explain to the board how                     21    A. Yeah.
22                                                                 22    Q.
23                                                                 23
24     A.                                                          24    A.
25                                                      02:26:05   25    Q. Right.                           02:27:59
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 1                                                  02:26:08        1     A. Yeah.                             02:27:59
 2                                                                  2     Q. And before this -- before -- as of
 3                                                                  3 April 11th, the way you were pursuing that was
 4                                                                  4 through the Pittsburgh folks, right?
 5     Q.                                       02:26:26            5     A. There was something going on there. I          02:28:10
 6                                                                  6 don't know if it was -- like, I don't know how
 7     A. Yeah.                                                     7 substantive that work was. We felt that the
 8     Q. So does that mean something other than it                 8 Ottomotto deal, this deal, generally, would really
 9 just makes it happen faster?                                     9 help us get going on an internal laser program.
10        MS. DUNN: Form.                     02:26:37             10     Q. What was said at the board meeting on          02:28:30
11        THE DEPONENT:                                            11 this subject?
12                                                                 12        MS. DUNN: Objection to form.
13                                                                 13        THE DEPONENT: I don't remember
14     Q. (By Mr. Verhoeven) Right.                                14 specifically what was said on this subject at the
15     A.                                        02:26:47          15 board meeting.                             02:28:41
16                                                                 16     Q. (By Mr. Verhoeven) Generally?
17                                                                 17     A. It's generally what I'm telling you right
18                                                                 18 now. You know, just --
19                                                                 19     Q. Okay.
20                                             02:26:59            20     A. -- as we go through the slide.            02:28:48
21     Q.                                                          21     Q. So nothing more generally than what you
22                                                                 22 told me?
23                                                                 23     A. Yeah. And probably a lot less, is my
24     A.                                                          24 guess.
25                                                  02:27:13       25     Q. Under terms, down one box --                02:28:56
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 1     A. Yeah.                             02:29:00                           1     A. Not really.                        02:31:09
 2     Q. -- last bullet says, "Uber will indemnify                            2     Q. What about just Google's reaction, was
 3 a minimum of five key employees in Ottomotto for                            3 that discussed among the board?
 4 specific claims from former employers EGIP,                                 4     A. I don't think so.
 5 non-solicit subject to certain restrictions and         02:29:16            5     Q. Wouldn't that be a concern that your --     02:31:16
 6 limitations."                                                               6 your proposed deal would be hiring away, you know,
 7        Do you see that?                                                     7 at least 30 of their folks from their AV group?
 8     A. Yeah, I sure do.                                                     8 Wouldn't that be a concern to the board that Google
 9     Q. What specific claims is that referring                               9 might be upset about that?
10 to?                                   02:29:27                             10         MR. CHATTERJEE: Form.                      02:31:34
11     A. I don't know. I am not sure.                                        11         MS. DUNN: Objection to form.
12     Q. Well, do you recall any discussion of                               12         THE DEPONENT: I can't say for sure, but
13 specific claims from former employers that --                              13 I understand the notion. We were -- you know, we
14 during the board meeting?                                                  14 were excited to hire. We were incredibly excited
15     A. No, I don't. I don't recollect anything       02:29:39              15 to hire employees, like really talented -- really   02:31:48
16 specific.                                                                  16 talented individuals in this space that may -- you
17     Q. You would agree that that is referring to                           17 know, many of whom previously worked at Google. We
18 Google, right?                                                             18 were excited about that.
19     A. It -- it most likely is, yeah. But, I                               19     Q. (By Mr. Verhoeven) Right. But my
20 mean, there were some folks that came from other             02:29:53      20 question is: During this -- this was a meeting in 02:32:03
21 places, but it was -- it said "employers," so                              21 which the board was going to approve or disapprove
22 there's more than one former employer. But -- but,                         22 of the deal, right?
23 yes, Google is definitely one of them.                                     23     A. Correct.
24     Q. And as part of talking about this deal                              24     Q. And so my question is: Wouldn't you
25 with the board, one of things you talked about was          02:30:06       25 expect that one of the subjects discussed at that    02:32:16
                                                                  Page 266                                                                     Page 268

 1 whether or not Google would bring an action based            02:30:11       1 board meeting in connection with whether to do this         02:32:19
 2 on IP theft or solicitation of employees?                                   2 deal is the potential blowback from Google?
 3        MS. DUNN: Objection to form.                                         3         MS. DUNN: Objection to form.
 4     Q. (By Mr. Verhoeven) Isn't that a fair --                              4         THE DEPONENT: It was certainly a
 5 fair statement?                              02:30:21                       5 consideration. I don't know if it was at this         02:32:31
 6     A. Anytime you do a transaction that                                    6 board meeting, but it was generally a
 7 includes really smart, really talented people                               7 consideration.
 8 that -- that used to work at a competitor, this is                          8     Q. (By Mr. Verhoeven) And the board? Was
 9 just one of the considerations you have to take                             9 it a consideration of the board?
10 into account.                             02:30:37                         10     A. I can't remember.                         02:32:40
11     Q. So the -- is the answer "yes" then?                                 11         MS. DUNN: Objection to form.
12     A. The answer is, yes.                                                 12     Q. (By Mr. Verhoeven) Would you expect that
13     Q. Yes. Okay.                                                          13 that would have been a consideration the board took
14        Do you remember anything any of the other                           14 into account?
15 board members besides yourself said on this               02:30:49         15         MR. CHATTERJEE: Form.                          02:32:45
16 subject?                                                                   16         MS. DUNN: Form.
17     A. Not really, no.                                                     17         THE DEPONENT: I cannot remember if the
18     Q. Was there any concern expressed about a                             18 board discussed that or not. I just can't.
19 Google suit?                                                               19         I can tell you that it was generally a
20        MS. DUNN: Objection to form.                     02:31:00           20 consideration that I had going into this deal.         02:32:53
21        THE DEPONENT: I don't remember                                      21     Q. (By Mr. Verhoeven) Okay. So one of the
22 specifically.                                                              22 considerations you had going into the deal with
23     Q. (By Mr. Verhoeven) Do you have any                                  23 Mr. Levandowski was potential blowback from Google;
24 general rec- -- recollection of that being                                 24 fair?
25 discussed?                                02:31:07                         25         MS. DUNN: Objection to form.                  02:33:14
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                        ATTORNEYS' EYES ONLY
 1          THE DEPONENT: When you have a small                     02:33:15     1 make sure that no IP got to Uber, right?              02:35:53
 2 group -- or I shouldn't say small, but when you                               2     A. Correct, yeah.
 3 have a group of, let's say, 250 people working on                             3     Q. And those efforts were the commissioning
 4 this kind of project -- and I'm referring to, let's                           4 of Stroz to do the diligence?
 5 say, Google or Waymo, in specific; but, generally,          02:33:27          5     A. I think --                        02:36:02
 6 if that's a situation going on.                                               6        MR. CHATTERJEE: Form.
 7          And dozens, if not close to 100 of your                              7        THE DEPONENT: -- it's just all of the
 8 people, leave to go elsewhere. That's not --                                  8 efforts we took. I think the diligence process was
 9 it's -- it's -- that's not a fun -- that's not fun                            9 one of those things.
10 if you are losing your best people.                   02:33:47               10     Q. (By Mr. Verhoeven) Direct your attention          02:36:34
11          And sometimes people react emotionally to                           11 to the page bearing Control Number 348. This is
12 that kind of thing, and I think that's exactly what                          12 Exhibit 379. And this is a slide entitled
13 we saw from Google.                                                          13 "Walkaway rights and indemnity obligations."
14     Q. (By Mr. Verhoeven) And that's what --                                 14        Do you see that?
15 that's what you were -- you had that as a concern          02:34:01          15     A. Yeah.                             02:36:57
16 personally when you were evaluating this deal,                               16     Q. And it says, "Do we still indemnify," up
17 right?                                                                       17 at the top right-hand side?
18     A. When you do a transaction where lots of                               18     A. Yup.
19 people are coming from a particular competitor or                            19     Q. And then the first bullet says, "Yes (for
20 were recently at a particular competitor, that is a       02:34:20           20 diligenced employees in Ottomotto relating to            02:37:12
21 very natural concern.                                                        21 actions of diligenced employees) for the following
22     Q. Okay. I understand that.                                              22 claims," colon, and the first bullet is "IP/trade
23     A. Yeah.                                                                 23 secret misappropriation or infringement."
24     Q. But I'm trying to establish whether or                                24        Do you see that?
25 not that was a concern for you --                     02:34:32               25     A. Yes, I do.                         02:37:34
                                                                     Page 270                                                                      Page 272

 1     A. Yeah.                                  02:34:33                        1     Q. So does this reflect your recollect- --       02:37:35
 2     Q. -- personally as part of this deal that                                2 withdrawn.
 3 there would be blowback from Google.                                          3        Does this refresh your recollection that,
 4     A. We weren't sure whether there would be                                 4 at this board meeting, there was a discussion of
 5 blowback from Google, but we understood it to be a               02:34:43     5 indemnifying certain diligenced employees for            02:37:50
 6 possibility.                                                                  6 possible Google lawsuit based on IP or trade secret
 7     Q. And that was a concern?                                                7 misappropriation?
 8     A. It was a consideration.                                                8        MR. CHATTERJEE: Form.
 9     Q. It wasn't a concern to you?                                            9        MS. DUNN: Form.
10     A. It was --                              02:34:54                       10        THE DEPONENT: Yeah, I think this is for           02:38:04
11          MS. DUNN: Form.                                                     11 claims of that, yes. That's what it appears to be.
12          THE DEPONENT: It was -- it was a                                    12     Q. (By Mr. Verhoeven) But you don't
13 consideration that we had when doing this deal and                           13 remember the substance of that?
14 thinking about it, and also led to our efforts to                            14     A. Not really.
15 make sure no -- no Google content or IP got to             02:35:07          15     Q. Well --                           02:38:16
16 Uber.                                                                        16     A. Sorry. No, no. But, again, I am just
17          Because we understood that so many people                           17 reading -- I am reading the slide here. And, you
18 were leaving Google generally, not just to go to                             18 know, and there's -- these are claims. I am not
19 Uber, but to go to -- elsewhere. People just                                 19 sure what they mean by identifying claims versus
20 didn't want to be there anymore.                      02:35:21               20 actual infringement.                          02:38:31
21          But with so many coming to us, we had a                             21        And there may be a difference there. I
22 feeling that there would be an emotional response                            22 don't know. I haven't -- I haven't read the
23 to that, and I think that's what we saw.                                     23 indemnity agreement.
24     Q. (By Mr. Verhoeven) So that                                            24     Q. Okay. You were aware that there was an
25 consideration, you said, led to your efforts to          02:35:51        25 indemnity agreement, right? You may not remember                    02:38:43
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                        ATTORNEYS' EYES ONLY
 1 it now, but you were aware at the time, right?        02:38:47              1     A. Yeah, hold on.                         02:55:36
 2     A. I mean, I would be incredibly surprised                              2        Yes, I see it, yes.
 3 if an M & A transaction didn't have an indemnity                            3     Q. What page is it on?
 4 agreement; and, specifically, to this, I assumed it                         4     A. I don't -- 899, or the last three digits.
 5 did, yes.                                02:38:56                           5     Q. Of the control number, right?                 02:55:49
 6     Q. Okay. Well, it was discussed at the                                  6     A. Yeah.
 7 board meeting, right?                                                       7     Q. Okay. Does that refresh your
 8     A. Fair enough.                                                         8 recollection with respect to this agreement?
 9     Q. As part of the approval of the whole                                 9     A. No, it does not.
10 deal, right?                              02:39:04                         10     Q. Did you read this agreement before you            02:56:00
11     A. Fair enough.                                                        11 signed it?
12     Q. Yes?                                                                12     A. Likely, no, I don't think so. Actually,
13     A. Yes.                                                                13 I would just say, no.
14        MR. VERHOEVEN: Counsel, I'm going to                                14     Q. Okay. Did you know what you were
15 note for the record that a slide in this board      02:39:19               15 signing?                                  02:56:08
16 presentation on page No. 350, it says, "Detailed                           16     A. I knew that I was signing, like, probably
17 indemnity summary" has been entirely redacted, and                         17 a large set of documents relating to the
18 we object to that and tend to move to compel.                              18 transaction.
19        MS. DUNN: Can we check the time on the                              19     Q. Okay. Yeah. So this is one of the large
20 record so far.                             02:39:48                        20 set of documents that you signed on April 11th?           02:56:19
21        THE VIDEOGRAPHER: Yes. We are at five                               21     A. That's my assumption, yes.
22 hours and five minutes.                                                    22        (Exhibit 382 was marked for
23        MR. VERHOEVEN: You want to take a break?                            23 identification by the court reporter and is
24        THE DEPONENT: Let's take a little break.                            24 attached hereto.)
25 How about 10 minutes.                           02:40:01                   25     Q. (By Mr. Verhoeven) All right. Let's             02:56:23
                                                                 Page 274                                                                      Page 276

 1         THE VIDEOGRAPHER: Going off the record.                 02:40:02    1 mark as Exhibit 382 an indemnification agreement            02:56:24
 2 The time is 2:39.                                                           2 bearing Control Numbers Uber 4855 through 4874.
 3         (Recess taken.)                                                     3        Do you recognize this indemnification
 4         THE VIDEOGRAPHER: We are back on the                                4 agreement?
 5 record. The time is 2:54.                      02:54:18                     5     A. No.                               02:57:10
 6         MS. DUNN: Since we are back on the                                  6        MR. VERHOEVEN: For the record, Counsel,
 7 record, we would like to designate this transcript                          7 there's redacted portions of this agreement, and we
 8 AEO.                                                                        8 object to that and intend to move to compel, unless
 9         (Exhibit 381 was marked for                                         9 you have the agreement now in a form that I can
10 identification by the court reporter and is          02:54:25              10 use.                                   02:57:27
11 attached hereto.)                                                          11        MS. DUNN: I think you should use your
12     Q. (By Mr. Verhoeven) Okay. Let's mark as                              12 document.
13 Exhibit 381 the Joint Defense and Common Interest                          13        MR. VERHOEVEN: So -- so you don't have
14 and Confidentiality Agreement, dated -- well, I                            14 one here, right?
15 don't know what the date is, but it bears Control        02:54:44          15        MS. DUNN: No.                           02:57:34
16 Number 74893. I believe it's dated April 11th,                             16     Q. (By Mr. Verhoeven) I direct your
17 2016.                                                                      17 attention to page 4873 on the control numbers.
18         So it's -- it bears Control Numbers Uber                           18     A. Okay.
19 74893 through 903.                                                         19     Q. That's your signature?
20         Do you recognize this agreement?             02:55:17              20     A. Yes, it is.                        02:57:55
21     A. I do not.                                                           21     Q. Did you read this document before you
22     Q. Turn to the last page.                                              22 signed it?
23     A. Okay.                                                               23     A. I did not.
24     Q. I believe your signature is on there.                               24     Q. Did you know what it was?
25 Can you locate it?                            02:55:34                     25     A. I knew it was part of a larger set of         02:58:00
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                        ATTORNEYS' EYES ONLY
 1 documents related to the transaction.            02:58:03     1        (Exhibit 384 was marked for            03:00:28
 2     Q. Do you have any recollection of signing                2 identification by the court reporter and is
 3 an indemnification agreement in connection with the           3 attached hereto.)
 4 transaction?                                                  4     Q. (By Mr. Verhoeven) I need the -- let's
 5     A. I do not.                        02:58:10              5 mark as Exhibit 384 a couple of texts bearing      03:00:33
 6        (Exhibit 383 was marked for                            6 Control Number 73811 through 809.
 7 identification by the court reporter and is                   7        Actually, to correct the record,
 8 attached hereto.)                                             8 Exhibit 384 is two text messages: The first one
 9     Q. (By Mr. Verhoeven) Let's mark as                       9 dated May 10, 2016, bears Control Number 73809; and
10 Exhibit 383 a document. It looks like a text       02:58:30 10 the second dated May 10th, 2016, bears the Control 03:01:28
11 message from Anthony Levandowski, bearing Control            11 Number Uber 73811.
12 Number Uber 73820.                                           12        Directing your attention to the text
13        Do you see your phone number on there?                13 message bearing the Control Numbers 38111, which is
14     A. Yes, I do.                                            14 your second page, I believe.
15     Q. This is a text from Mr. Levandowski to       02:59:06 15        Is your phone number on this page?        03:02:08
16 you, time-stamped May 5th, 2016?                             16     A. Yeah.
17     A. Correct.                                              17     Q. So this is a text from Mr. Levandowski to
18     Q. And Mr. Levandowski texts you saying,                 18 yourself?
19 "Driving to SF to meet with Scott, ATC, laser guy            19     A. It appears to be so, yes.
20 and guide the team."                        02:59:22         20     Q. And is time-stamped May 10th, 2016.         03:02:16
21        Do you see that?                                      21        Do you see that?
22     A. I do.                                                 22     A. Yeah. Yes, I do.
23     Q. Who is Scott?                                         23     Q. And Mr. Levandowski says, "Wow. I am
24     A. I am not sure. I think maybe is the guy               24 super pissed at what is going on at ATC. There's
25 at ATC that works on lasers, maybe.               02:59:31 25 no one who is pushing for the right things."        03:02:29
                                                                Page 278                                                                   Page 280

 1      Q. ATC is your group?                     02:59:35                  1        Do you see that?                      03:02:33
 2      A. Yeah.                                                            2    A. It says there's "one one," but --
 3      Q. You don't know if Scott is the guy who                           3     Q. Oh, I see.
 4 works on lasers?                                                         4    A. -- I could -- I could imagine that it --
 5      A. I would assume he is, but I don't know      02:59:44             5 I just see what it says. There is "one one."         03:02:39
 6 for sure.                                                                6     Q. Would you interpret that as no one?
 7      Q. Do you remember any discussions with                             7    A. I think that's a likely possibility.
 8 Mr. Levandowski about this text?                                         8     Q. Okay.
 9      A. No, I do not.                                                    9    A. Yeah.
10      Q. Did you have any discussions with          02:59:52             10     Q. Do you remember having a discussion with           03:02:50
11 Mr. Levandowski about his input to the folks in                         11 Mr. Levandowski on or about May of 2016 about him
12 Pittsburgh or with Scott, referenced here,                              12 being angry about what is going on at ATC?
13 concerning LiDAR?                                                       13    A. I don't remember anger, but, certainly,
14      A. I do not.                                                       14 surprise and disappoint, yeah.
15      Q. Same question, but concerning him guiding         03:00:12      15     Q. And what did he say to you about that, or        03:03:09
16 the team with respect to LiDAR?                                         16 text you about that?
17         MS. DUNN: Form.                                                 17    A. I mean, I think as he got deeper into our
18         THE DEPONENT: You know, I see the text                          18 existing efforts, he was not pleased with how we
19 as it's -- as it is.                                                    19 were approaching the problem.
20      Q. (By Mr. Verhoeven) But you have no           03:00:23           20     Q. Okay. And what did he -- what did he do          03:03:34
21 recollection?                                                           21 about that?
22      A. No.                                                             22    A. I think he -- he went to Pittsburgh,
23      Q. That's a no?                                                    23 spent time with the team and tried to reorient them
24      A. Sorry. No.                                                      24 in a way that made them prioritize better, work
25 /////                               03:00:28                            25 harder, focus on the right things, work as a team,      03:03:52
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                        ATTORNEYS' EYES ONLY
 1 better culture, stand up for what's right, not be      03:03:56           1                                                          03:06:12
 2 political.                                                                2
 3          Probably got into the weeds on -- on the                         3
 4 technology itself. I -- I don't. I am not as                              4
 5 privy to that kind of stuff. But I think he just      03:04:07            5                                                        03:06:32
 6 went in there and tried to correct and sort of                            6     Q. (By Mr. Verhoeven) Okay. And this is
 7 reorient us towards a more -- a more successful                           7 software that would use the LiDAR system as input,
 8 approach.                                                                 8 correct?
 9     Q. What about this last sentence that uses                            9     A. Yeah, or just sensors generally, but it
10 the F word.                                03:04:25                      10 doesn't -- a lot of that software doesn't touch the     03:06:42
11          Do you see it?                                                  11 LiDAR stuff. But it's generally the intelligence
12     A. I do, yes.                                                        12 to move a car autonomously through space.
13     Q. Do you remember any discussions with                              13     Q. And Pittsburgh was working on software
14 Mr. Levandowski in or about this time, May of 2016,                      14 whose input would be info from LiDAR sensors,
15 regarding the software?                           03:04:33               15 right?                                 03:07:05
16     A. Yeah. I mean, I just think that we had a                          16          MS. DUNN: Objection to form.
17 bunch of scientists. I mean, we hired a bunch of                         17          THE DEPONENT: There was input from lots
18 folks from CMU. They were professors and                                 18 of places; but, yes, LiDAR, too.
19 scientists.                                                              19     Q. (By Mr. Verhoeven) Okay. You can put
20                                                              03:04:50    20 that aside.                             03:07:23
21                                                                          21          MR. VERHOEVEN: Let's mark as Exhibit 385
22                                                                          22 an email string bearing Control Number Uber 70012
23     Q.                                                                   23 through 13.
24                                                                          24          (Exhibit 385 was marked for
25                                                        03:05:04        25 identification by the court reporter and is             03:07:35
                                                                 Page 282                                                                    Page 284

 1                                                              03:05:08     1 attached hereto.)                           03:07:35
 2                                                                           2     Q. (By Mr. Verhoeven) So that top email is
 3                                                                           3 authored by yourself?
 4                                                                           4     A. Yeah.
 5                                                   03:05:16                5     Q. So you sent this email on May 14, 2006 to         03:07:57
 6                                                                           6 Jeff Holden.
 7                                                                           7     A. Okay.
 8                                                                           8     Q. Is that what it says?
 9                                                                           9     A. It looks like it, yes.
10                                                        03:05:29          10     Q. Okay. And you said, "Love the updates.            03:08:04
11                                                                          11 Read them all."
12                                                                          12     A. Or "read them all."
13                                                                          13     Q. Okay. Did you read all of the updates
14     Q. And he actually spent a lot of time                               14 you got from the ATC group?
15 developing in -- in the -- withdrawn.                03:05:45            15     A. I can't say that I did.              03:08:23
16          He'd actually spent a lot of time with                          16     Q. Okay. If you look at Mr. Holden's email,
17 his team trying to develop such a device, right --                       17 to which you had just responded --
18          MS. DUNN: Form.                                                 18     A. Yeah.
19     Q. (By Mr. Verhoeven) -- while he was at                             19     Q. -- which is dated May 13th --
20 Google?                                   03:05:59                       20          Do you see that?                   03:08:34
21          MS. DUNN: Objection to form.                                    21     A. I sure do.
22          MR. CHATTERJEE: Form.                                           22     Q. If you look at the third bullet down,
23          THE DEPONENT:                                                   23 third solid bullet down?
24                                                                          24     A. Yeah.
25                                                         03:06:07      25        Q. It said, "We also discussed the laser          03:08:46
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                        ATTORNEYS' EYES ONLY
 1 plan."                                 03:08:52                            1    Q. Okay.                                         03:12:00
 2          Do you see that?                                                  2
 3    A. Yeah.                                                                3
 4    Q. And, I am sorry, if you look at one                                  4
 5 bullet up, this is in reference to a meeting with      03:08:57            5         MR. CHATTERJEE: Form.                       03:12:13
 6 Anthony Levandowski.                                                       6         MS. DUNN: Objection to form.
 7          Do you see that?                                                  7           THE DEPONENT:
 8    A. I mean, I -- I see there's something                                 8
 9 about Drew.                                                                9    Q. (By Mr. Verhoeven) Did you have any
10    Q. Oh, let's go to the second bullet.            03:09:08              10 conversations with Mr. Levandowski or anyone else         03:12:20
11    A. Okay. So the second bullet is about                                 11 about this laser design that's mentioned here?
12 Anthony.                                                                  12         MS. DUNN: Objection to form.
13    Q. It says, "Met with Anthony today," and                              13           THE DEPONENT: Not -- not -- not that I
14 then it goes on.                                                          14 recall.
15          Do you see that?                  03:09:17                       15         (Discussion off the stenographic record.)   03:12:41
16    A. Yeah.                                                               16    Q. (By Mr. Verhoeven) Do you remember
17    Q. And then the next bullet says, "We also                             17 having a conversation with anyone within ATC about
18 discussed the laser plan."                                                18
19          Do you see that?                                                 19
20    A. Yeah.                              03:09:22                         20    A. I don't remember anything specific on          03:13:15
21    Q. So that was a discussion with Anthony,                              21 that.
22 right?                                                                    22    Q. Do you remember something generally?
23    A. I don't know if that's clear.                                       23    A. Generally, we -- we want -- we wanted to
24          MS. DUNN: Do you need more time to --                            24 produce our own lasers, and I know the team was
25          THE DEPONENT: Yeah, here, why don't I             03:09:30   25 working on it. But I just wasn't in the weeds on          03:13:27
                                                                Page 286                                                                   Page 288

 1 just read this real quick. But it's not clear.    03:09:31      1 this.                                 03:13:30
 2 Because the first bullet was Drew, and the second               2     Q. Did you know that Mr. Levandowski had
 3 bullet was Anthony, but let me just read it and --              3 developed a new laser design?
 4 just give me a second.                                          4     A. No.
 5     Q. (By Mr. Verhoeven) Okay.                   03:09:40      5        MS. DUNN: Objection to form.               03:13:35
 6     A. Yes, I have read.                                        6     Q. (By Mr. Verhoeven) Then it says -- the
 7     Q. Now, directing your attention to the                     7 last sentence says, "I would like to be -- it
 8 third bullet --                                                 8 will" -- withdrawn.
 9     A. Yeah.                                                    9        The last sentence in this bullet says,
10     Q. -- the solid bullet down --             03:11:32        10                                                    03:13:48
11     A. Yeah.                                                   11
12     Q. -- of Mr. Holden's May 13th, 2016                       12
13 email --                                                       13        Do you see that?
14     A. Yeah. Yeah, yeah, yeah.                                 14     A. I do.
15     Q. -- where it says, "We also discussed the 03:11:41 15           Q. And that's referring to Mr. Levandowski's 03:14:02
16 laser plan."                                                   16 estimate, right?
17        That was a discussion with                              17        MS. DUNN: Objection to form.
18 Mr. Levandowski, right?                                        18        THE DEPONENT: I assume so.
19     A. I think it's a fair assumption.                         19     Q. (By Mr. Verhoeven) Okay. Do you
20     Q. And then it says,                            03:11:48 20 remember discussing that Mr. Levandowski's new            03:14:11
21                                                                21 design would be
22        Do you see that?                                        22
23     A. Yeah.                                                   23     A. I -- I don't remember pricing as it
24     Q. What's that a reference to?                             24 related to a new design, but I do remember
25     A. Sounds like something to do with lasers.       03:11:59 25 understanding that, over time, the price of those   03:14:29
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                        ATTORNEYS' EYES ONLY
 1 laser units goes down substantially.               03:14:30               1        Do you see that?                    03:17:35
 2        And my guess is, that's based on design,                           2    A. I do.
 3 but also manufacturing methods, supply chain                              3    Q. And the next bit of text is two lines, is
 4 volume, and -- and things like that.                                      4 your comment, correct?
 5     Q. Do you see -- actually, in the interest     03:14:47               5    A. Yes. Yeah.                          03:17:41
 6 of time, I won't ask you any more questions on this                       6    Q. And you say,
 7 one.                                                                      7           but I get it. Once work is settled down,
 8        MS. DUNN: I'm just asking to not get                               8 I will need to have some combos on lasers."
 9 ahead of me when I'm --                                                   9    A. Yeah.
10        MR. VERHOEVEN: Then say it on the                03:15:08         10    Q. And that was your comment, right?               03:17:54
11 record, then.                                                            11    A. Yeah.
12        MS. DUNN: I am on the record.                                     12    Q. So you -- you -- whether you remember it
13        MR. VERHOEVEN: Okay.                                              13 now or not, at the time, you did receive this
14        THE DEPONENT: Are we done with this one?                          14 information and did comment on it, correct?
15     Q. (By Mr. Verhoeven) Yes, sir.                03:15:16              15    A. Yes.                             03:18:05
16        Okay.                                                             16    Q. And then you indicate that you need to
17        MR. VERHOEVEN: Mark as Exhibit 386 an                             17 have some more conversations on lasers, right?
18 email string bearing Control Numbers Uber 63707                          18    A. Correct.
19 through 708.                                                             19    Q. Do you remember those conversations?
20        (Exhibit 386 was marked for                03:15:25               20    A. I don't think they happened.                03:18:17
21 identification by the court reporter and is                              21    Q. Sorry?
22 attached hereto.)                                                        22    A. I don't think they happened.
23     Q. (By Mr. Verhoeven) You ready?                                     23    Q. Does this refresh your recollection of
24     A. Yes.                                                              24 any discussion you had about
25     Q. The email on the top of the first page       03:16:23        25                          based on Mr. Levandowski's new           03:18:26
                                                              Page 290                                                                       Page 292

 1 here is an email from yourself to Jeff Holden,       03:16:24 1 design?                                   03:18:33
 2 dated May 16th, 2016, correct?                                 2         MS. DUNN: Objection to form.
 3     A. Yes.                                                    3         THE DEPONENT: Again, I think I generally
 4     Q. And then below that is an email dated                   4 understood that through scale engineering, through
 5 May 13th, 2016, that was sent to you by             03:16:36 5 sort of continuation on design, that the price of       03:18:39
 6 Jeff Holden, correct?                                          6 lasers goes down.
 7     A. Yeah. Yeah.                                             7         But I don't think I ever followed up on
 8     Q. And what you say in your response is,                   8 this and had these discussions on lasers.
 9 "Comments below."                                              9      Q. (By Ms. Dunn) Okay. My question is, I
10        Do you see that?                    03:16:46           10 guess, a legalistic one --                    03:18:50
11     A. Yep.                                                   11      A. Okay.
12     Q. And so is it correct that, below, you                  12      Q. -- but do you know what it means when I
13 have added text where you were commenting on what             13 say "refresh your recollection"?
14 Mr. Holden said, that we find your comments in --             14      A. Not really.
15 in the email directly below your email?           03:17:00 15         Q. Okay. What -- what I'm asking, to be         03:18:59
16     A. Yes.                                                   16 more specific, is if by looking at this document,
17     Q. Okay. Direct your attention to the third               17 it triggers something in your memory and you say,
18 paragraph at the bottom?                                      18 oh, now I remember.
19     A. Okay.                                                  19      A. I -- I remember -- this refreshes my
20     Q. And I believe this is Mr. Holden saying,      03:17:17 20 recollection in that it reminds of the time at      03:19:12
21 "We also discussed the laser plan.                            21 which I sent this email and gives me, like, a
22                                                               22 little bit of texture of what was going on at that
23                                                               23 time, like it is -- it is familiar.
24                                                               24      Q. Okay.
25                                          03:17:34             25      A. Yeah.                             03:19:30
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                        ATTORNEYS' EYES ONLY
 1     Q. So, vaguely, you -- this triggers a         03:19:31              1 if there was any other time where anybody outside               03:22:10
 2 memory that --                                                           2 Uber would have been told. I mean, there's
 3     A. Yeah.                                                             3 lawyers, outside lawyers. But that doesn't really
 4     Q. -- you were having this conversation?                             4 count.
 5     A. Correct.                          03:19:36                        5          I can't -- I can't think of anything.       03:22:21
 6        MS. DUNN: Objection to form.                                      6       Q. (By Mr. Verhoeven) The intention was to
 7        THE DEPONENT: It -- I most definitely                             7 keep it private and confidential --
 8 remember -- I remember writing this email.                               8       A. Yeah.
 9     Q. (By Ms. Dunn) Oh, you do?                                         9       Q. -- up until the time you announced it
10     A. Yeah.                             03:19:48                       10 publicly, right?                                 03:22:27
11     Q. Okay.                                                            11       A. Correct. Yes.
12     A. Yeah. And it's kind of fun to -- like, I                         12       Q. Why didn't you tell anybody about it
13 still got it, you know. It's...                                         13 after you signed the merger agreement?
14     Q. Okay. Did you, at any point, ask about                           14       A. Because I think there's still a potential
15 -- ask to see this new design that was predicted to      03:20:00       15 for the -- for the merger to ultimately not happen;           03:22:44
16                                                                         16 and second is that, until we were ready to announce
17     A. No.                                                              17 it, like, where we're going to merge the entire
18     Q. Was that exciting to you?                                        18 effort, the whole thing, you shouldn't talk about
19     A. If -- if that could be done, of course,                          19 it.
20 yes. That's interesting.                      03:20:11                  20          So we were in a situation where there was           03:23:02
21     Q. Did you talk to anybody about it?                                21 a consulting piece, and then there was a, "okay, we
22     A. I did not.                                                       22 are actually going to put these things together"
23        MR. VERHOEVEN: All right. Let's mark as                          23 piece. So...
24 Exhibit 387 an email string bearing Control                             24       Q. But the merger agreement was where you
25 Numbers Uber 64468 through 69.                        03:20:32        25 said you signed on the dotted line that you were                 03:23:13
                                                                Page 294                                                                         Page 296

 1        (Exhibit 387 was marked for                03:20:35               1 going to put these things together, right?              03:23:14
 2 identification by the court reporter and is                              2          MS. DUNN: Objection to form.
 3 attached hereto.)                                                        3          THE DEPONENT: I believe there are
 4     Q. (By Mr. Verhoeven) You see this is an                             4 certain constraints or limitations or -- or
 5 email from yourself, dated August 16th, 2016,            03:21:06        5 criteria by which it wouldn't happen. And that's              03:23:20
 6 during the subject line messaging notes?                                 6 why you had to go -- well, we just had a period of
 7     A. Yeah.                                                             7 time where it was in this middle area, post-signing
 8     Q. What did you mean by messaging notes?                             8 pre-closing.
 9     A. I mean, this -- this is right around the                          9          So until it closed, we didn't want to
10 announcement, so I -- I don't know what these notes        03:21:22     10 talk about it.                               03:23:37
11 are from, per se, but my guess is, it's about how                       11       Q. (By Mr. Verhoeven) Don't most companies
12 do we want to talk about the effort and the                             12 announce these -- these types of transactions upon
13 acquisition.                                                            13 a completion of the merger deal, before the
14        MS. DUNN: You need time to read the                              14 closing?
15 document. Take your time.                         03:21:46              15       A. I think most deals -- not all deals. I        03:23:51
16        THE DEPONENT: Okay.                                              16 mean, I have worked on deals where that didn't
17     Q. (By Mr. Verhoeven) When was the first                            17 happen. So...
18 time that you let anybody outside of Uber know                          18       Q. Most of time, that's what -- what
19 about this deal?                                                        19 happens, right?
20        MS. DUNN: Objection to form.                  03:21:54           20          MS. DUNN: Objection to form.                       03:24:01
21     Q. (By Mr. Verhoeven) Was it the                                    21          THE DEPONENT: I'm thinking of
22 announcement?                                                           22 acquisitions we have done -- literally,
23        MS. DUNN: Same objection.                                        23 acquisitions that Uber has done -- where we
24        THE DEPONENT: I'm -- I'm thinking. I                             24 announce post-closing.
25 mean, that was the intention. I am trying to think       03:22:06      25        Q. (By Mr. Verhoeven) Which ones?                      03:24:09
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                        ATTORNEYS' EYES ONLY
 1     A. The China deal.                         03:24:09                     1 lot of emails from him. I don't know what that was    03:26:42
 2     Q. Okay.                                                                2 about. He usually -- he's just a more disorganized
 3     A. I think we did the same thing with our                               3 kind of person.
 4 acquisition in Toronto recently. We waited until                            4     Q. So how did he communicate, if he didn't
 5 closing.                                03:24:18                            5 send a lot of emails?                      03:26:54
 6     Q. And why would you wait till closing                                  6     A. Meetings, phone calls.
 7 instead of the time of the merger?                                          7     Q. He didn't like to leave a written record
 8     A. Because a lot of times, pre-closing,                                 8 of what he was doing, did he?
 9 there may be reasons why the -- why the agreement                           9        MS. DUNN: Objection to form.
10 ultimately doesn't -- like, why the merger or the         03:24:27         10        MR. CHATTERJEE: Form.                       03:27:08
11 acquisition doesn't actually happen. There --                              11           THE DEPONENT: I wouldn't -- I wouldn't
12 there can be criteria, reasons, et cetera, why it                          12 characterize it that way at all.
13 doesn't close.                                                             13     Q. (By Mr. Verhoeven) So if you look down
14        MR. VERHOEVEN: Okay. Let's mark as                                  14 the page, there's an email from John Krafcik.
15 Exhibit 388 an email string bearing Control Numbers            03:24:46    15     A. Yeah.                           03:27:20
16 Uber 64406 through 407.                                                    16     Q. Who is he?
17        (Exhibit 388 was marked for                                         17     A. He's the guy who runs Google's autonomy
18 identification by the court reporter and is                                18 effort.
19 attached hereto.)                                                          19     Q. The CEO of Waymo today, right?
20     Q. (By Mr. Verhoeven) So the top email is             03:25:18         20     A. Correct.                         03:27:38
21 an email from Emil Michael, dated August 19th,                             21     Q. And it's from Mr. Krafcik to Mr. Michael,
22 2016, to Mr. Levandowski and yourself, correct?                            22 correct?
23     A. Sorry. I was reading this email. Can                                23     A. Yeah.
24 you say that again.                                                        24     Q. This email was forwarded to you, correct?
25     Q. Okay. The top email --                    03:25:38                  25     A. It looks like it, yes.             03:27:48
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 1     A. Yeah.                              03:25:41                          1     Q. And it characterizes a meeting that         03:27:49
 2     Q. -- is an email from Mr. Michael, dated                               2 Mr. Krafcik had with Mr. Michael, right? Or, I
 3 August 19th, 2016 --                                                        3 apologize, a call that Mr. Michael had with
 4     A. Yeah.                                                                4 Mr. Krafcik, correct?
 5     Q. -- to Anthony Levandowski and yourself,             03:25:46         5     A. Hold on. Let me just read this.           03:28:00
 6 correct?                                                                    6        Yeah, appears to be so, yeah.
 7     A. Yeah.                                                                7     Q. Okay. And in his summary of this
 8     Q. And I notice the email address for                                   8 telephone call, Mr. Michael says, "Only one
 9 Anthony Levandowski is not an Uber email address;                           9 thing" -- I am sorry. I mischaracterized it.
10 it's an Otto email address; is that right?           03:25:58              10        In this an email from Mr. Krafcik --       03:28:38
11     A. Yeah.                                                               11     A. Yes.
12     Q. So did Mr. Levandowski work -- still work                           12     Q. -- to Mr. Michael, one of the things that
13 in August from his Otto email account?                                     13 Mr. Krafcik says is, "The only one thing you said
14     A. A lot of times when you're sending                                  14 surprised me -- that the auto acquisition was about
15 emails, it just pops up the one you are used to         03:26:12           15 'assembling talent.'"                      03:28:52
16 sending it to. I assume that all these got merged                          16     A. Yeah.
17 onto the same system, ultimately.                                          17     Q. Do you see that?
18     Q. Do you have any recollection of him not                             18     A. I sure do.
19 wanting to use the Uber email account?                                     19     Q. And then in the email that Mr. Michael
20     A. Post-acquisition, no.                    03:26:31                   20 forwards to you --                         03:29:00
21     Q. Do you have --                                                      21     A. Yeah.
22     A. Let's call it post-closing, for sure.                               22     Q. -- he says, "You guys will love this
23     Q. Do you have any recollection of not                                 23 S word..."
24 liking to send emails?                                                     24        Do you see that?
25     A. Not really. I don't -- I didn't see a        03:26:40               25     A. Yes, I do.                        03:29:11
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                        ATTORNEYS' EYES ONLY
 1      Q. What did he mean?                        03:29:11                   1     Q. Okay. But you were laughing because you 03:31:11
 2         MS. DUNN: Objection to form.                                        2 know they were very good, right?
 3         MR. CHATTERJEE: Form.                                               3     A. Well, I feel like they were, yeah.
 4      Q. (By Mr. Verhoeven) Did you understand                               4     Q. Okay. Was there a meeting in July or
 5 this when you received it?                       03:29:15                   5 August of 2016 that you recall with Mr. Krafcik?            03:31:36
 6      A. Yes.                                                                6     A. I don't remember the date. I do remember
 7      Q. Okay. What was your understanding?                                  7 a meeting in Mountain View with Krafcik, Drummond,
 8      A. John was -- John was upset about the deal                           8 David Drummond, as well as -- I think Emil was
 9 and pretending like he wasn't.                                              9 there, too.
10      Q. What do you mean by that?                   03:29:37               10     Q. Okay.                              03:31:56
11      A. Well, he's trying to -- he's talking                               11     A. I think so. I don't know for sure, but I
12 trash on the people that were part of the deal,                            12 think he was.
13 that were his own employees not too long before.                           13     Q. Anyone else you remember at the meeting?
14      Q. Okay.                                                              14     A. No.
15      A. And, like, if he wasn't upset about the      03:29:45              15     Q. Okay. What was the purpose of the                03:32:03
16 deal -- sorry, if it wasn't upset about the talent,                        16 meeting?
17 it's very strange that two or three months later,                          17     A. To see if we could put a partnership
18 that they would sue in arbitration for us                                  18 together.
19 assembling that talent.                                                    19     Q. I am sorry, what was -- what date do you
20      Q. Why would he try to pretend he's not          03:29:58             20 remember it being?                              03:32:11
21 upset?                                                                     21     A. I don't remember.
22      A. Maybe because he's insecure.                                       22     Q. Was it in 2016?
23      Q. That's you speculating?                                            23     A. Yes.
24      A. Probably.                                                          24     Q. Okay. And what happened at the meeting?
25         MS. DUNN: Objection to form.                 03:30:10              25     A. I think there was a lot of small talk.       03:32:24
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 1     Q. (By Mr. Verhoeven) Do you have any                  03:30:10         1 It was our -- I think it was the first time we were 03:32:26
 2 discussions with Mr. Michael about -- about this                            2 meeting Krafcik. He gave us a tour of the -- some
 3 telephone call?                                                             3 of the facility, and then we spent the conversation
 4     A. I don't remember specific discussion, but                            4 with us talking -- you know, myself and Emil
 5 I did enjoy this email.                        03:30:20                     5 talking about our ideas for how we could partner.           03:32:44
 6     Q. You enjoyed it?                                                      6        And Krafcik really sort of not deeply
 7     A. It's strange for a leader to talk trash                              7 engaging in the -- in the conversation.
 8 on the people that he hired just because they leave                         8     Q. He wasn't interested?
 9 and work somewhere else.                                                    9     A. It didn't --
10     Q. Where is he talking trash?                    03:30:33              10        MS. DUNN: Objection to form.                    03:32:59
11     A. He basically said, "Only one thing you                              11         THE DEPONENT: It didn't seem that he
12 said surprised me, that the auto acquisition was                           12 was.
13 about assembling talent."                                                  13     Q. (By Mr. Verhoeven) Do you remember
14        He said he knows the CV's and the                                   14 anything specific that he said?
15 pedigrees of all the folks that came from his team. 03:30:45               15     A. No, it was just like, you know, you know 03:33:04
16 And it's like he's literally talking trash about                           16 in a business deal whether somebody is interested
17 the people that used to work for him --                                    17 or not, sometimes they say, oh, that's -- that's
18     Q. And --                                                              18 interesting. Let me get back to you. That may not
19     A. -- saying that they are -- they are not                             19 mean they are interested.
20 that good.                                 03:30:56                        20     Q. Were you making a pitch to partner with             03:33:18
21     Q. And you knew they were good?                                        21 them?
22     A. Well, I certainly felt that they were.                              22     A. I was constantly making a pitch to
23 They don't -- I mean, I am not in the details to                           23 partner with them.
24 work with all these individuals, it's just -- it's                         24     Q. Okay. Did Mr. Drummond say anything at
25 kind of a lowbrow thing to do.                       03:31:06              25 the meeting?                                03:33:27
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                        ATTORNEYS' EYES ONLY
 1    A. Little bit, but, you know, David is well         03:33:28     1 there's a big space, and then there's a seventh        03:48:02
 2 known for saying very little.                                       2 that says, "TK questions."
 3     Q. Do you remember anything he said?                            3     A. Yeah.
 4     A. No.                                                          4     Q. Do you see that?
 5     Q. Okay. Can we pause for a second and get 03:33:41             5     A. Yeah.                               03:48:10
 6 a time?                                                             6     Q. Well, before I get -- before I get into
 7        THE VIDEOGRAPHER: Yes. Going off the                         7 the specifics, who was -- who were members of the
 8 record. The time is 3:33.                                           8 Birdhouse group?
 9        (Recess taken.)                                              9     A. And, again, it depends on the timing,
10        THE VIDEOGRAPHER: Okay. This marks the             03:45:22 10 like -- but the latest Birdhouse would be -- the       03:48:24
11 beginning of DVD No. 4 in the deposition of                        11 latest -- the latest Birdhouse meeting would be the
12 Travis Kalanick. Going back on the record. The                     12 leads in autonomy. So the overall leads for the
13 time is 3:45.                                                      13 effort.
14        MR. VERHOEVEN: Let's mark as Exhibit 389                    14         When it first started, it was about
15 a document bearing Control Number Uber 76770.           03:45:38 15 hard -- the sort of hardware team, and the -- like, 03:48:46
16        (Exhibit 389 was marked for                                 16 one guy from hardware -- well, not even that. One
17 identification by the court reporter and is                        17 guy from the -- two guys from business development
18 attached hereto.)                                                  18 who are dealing with the auto manufacturers, one
19     Q. (By Mr. Verhoeven) Do you see that you                      19 guy from safety, myself and maybe one or two other
20 are referenced in this document, TK says, TK        03:46:10       20 people.                                   03:49:18
21 question?                                                          21
22     A. Yeah.                                                       22                                     This is sort of in
23     Q. What -- what does Birdhouse LiDAR                           23 the middle of the timeline of where we started to
24 discussion refer to?                                               24 where we ended up, so that's why I'm a little bit
25     A. Birdhouse started out as, like, a regular 03:46:24          25 not totally sure.                           03:49:28
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 1 meeting that we had about                                    03:46:33       1         Again, the end would be the leads for --     03:49:30
 2                                    . And, over time, it                     2 for the autonomy effort, meaning all the people
 3 became our regular update on what's going on.                               3 that directly report to Anthony;
 4        I am not sure where this is in that                                  4
 5 timeline, but that was generally what Birdhouse was           03:46:54      5                                                      03:49:44
 6 about.                                                                      6     Q. Okay. Looking at the second bullet, it
 7     Q. Well, the date is --                                                 7 says,
 8     A. Yeah, I see the date. I just --                                      8
 9 apologize. Go ahead. I'm sorry.                                             9         Do you see that?
10     Q. I was just going to say, the date is          03:47:04              10     A. Yes, I do.                         03:50:09
11 September 19th, 2016; is that how you read that?                           11     Q. What does that mean?
12     A. Yes. Yeah.                                                          12     A. I think what it means is that we --
13     Q. Go ahead. If you want to finish, go                                 13
14 ahead.                                                                     14
15     A. Yeah, I just don't know where that sits         03:47:12            15                                                      03:50:32
16 in terms of how Birdhouse                                                  16     Q. What is T1 and T2?
17                                                      -- to                 17     A. This is tier 1 and tier 2.
18 a general review of autonomy and how we were doing,                        18     Q. I see.
19 if there was a transition, sort of a general, slow                         19         And then the one, two, three, four, fifth
20 transition to the latter. I am not sure where         03:47:30             20 bullet down says,                                         03:50:44
21 September 19th was in that -- in that.                                     21
22     Q. I am not going to ask you about all the                             22         Do you see that?
23 TK references, just -- just a couple.                                      23     A. Yeah.
24     A. Uh-huh.                                                             24     Q. What's your -- what's your understanding
25     Q. So there's six solid flush-left bullets,      03:47:57              25 of that bullet?                           03:50:57
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                        ATTORNEYS' EYES ONLY
 1     A. It sounds like he wants to make lasers.        03:51:05              1     A. Yeah. Yup.                            03:54:14
 2     Q. Okay. And then the bullet says, "auto                                2        MS. DUNN: Can we pause for a second? In
 3 timing"?                                                                    3 looking at this document, I am not entirely sure.
 4     A. Yeah.                                                                4        MR. VERHOEVEN: Let's go off.
 5     Q. And does -- there's a bunch of              03:51:11                 5        MS. DUNN: Yeah, I would like to go off            03:54:22
 6 sub-bullets?                                                                6 the record.
 7     A. Yeah.                                                                7        MR. VERHOEVEN: Let's go off the record.
 8     Q. Second-to-the-bottom sub-bullet says,                                8 We are not using my time.
 9 "Using fiber lasers."                                                       9        THE VIDEOGRAPHER: Going off the record.
10         Do you see that?                      03:51:21                     10 The time is 3:54.                            03:54:28
11     A. I do.                                                               11        (Recess taken.)
12     Q. Is this a ref-- -- what is this a                                   12        THE VIDEOGRAPHER: We are back on the
13 reference to?                                                              13 record at 3:57.
14     A. That, I don't know. I don't know what --                            14        MS. DUNN: Uber's position on Exhibit 390
15 I just don't know -- I can't get to that level of    03:51:28              15 is that it has been inadvertently produced, and our      03:58:13
16 specificity on the technology.                                             16 position is that we are going to claw this
17     Q. Have you ever heard of a spider design?                             17 exhibit back.
18     A. Yes, I have.                                                        18        MR. VERHOEVEN: We object to that, but,
19     Q. Okay. What did you hear about that?                                 19 obviously, you have a right to claw it back.
20         MS. DUNN: Objection to form.                 03:51:43              20        MS. DUNN: Thanks.                        03:58:29
21         THE DEPONENT: The first time I heard                               21     Q. (By Mr. Verhoeven) Was there a period of
22 about it was in one of your filings.                                       22 time in which Mr. Drummond was on the Uber board?
23     Q. (By Mr. Verhoeven) Okay. Same -- same                               23 And did there come a time when Uber shut him out
24 question with Fuji design?                                                 24 from the board?
25     A. Yeah, so Fuji was our own design, if I         03:51:52             25        MR. CHATTERJEE: Object to form.                   03:58:54
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 1 remember correctly.                             03:51:55                    1        THE DEPONENT: Yes.                           03:58:56
 2     Q. And what was the first time you heard the                            2     Q. (By Mr. Verhoeven) When did that happen?
 3 phrase "Fuji design"?                                                       3     A. I would characterize it as asking him to
 4     A. I can't say for sure it was in your                                  4 recuse himself from board meetings. Let's put it
 5 filing. I can't say for sure. I spent a lot more     03:52:05               5 that way.                               03:59:01
 6 time reading that term once your filing came out.                           6     Q. Okay. When did that first happen?
 7 So -- but I understand it to generally be our                               7     A. My recollection is, that happened around
 8 effort to make our own lasers.                                              8 October of 2014.
 9     Q. Did you have any involvement in a                                    9     Q. '14?
10 decision to -- for Uber to switch from pursuing            03:52:31        10     A. Yup. Yup. I think so. There's a             03:59:14
11 this spider design and transition to using a Fuji                          11 point --
12 design?                                                                    12     Q. I am sorry. Go ahead.
13     A. No.                                                                 13     A. There's a point he formally resigned from
14     Q. Did anyone ever talk to you about it?                               14 the board, and that is different when he stopped
15     A. Not that I know of.                      03:52:49                   15 attending board meetings.                       03:59:36
16        MR. VERHOEVEN: Let's mark as Exhibit 390                            16     Q. Okay. And what -- on what occasions did
17 an email dated January 18th, 2017, from Mr. -- from                        17 you exclude him from board meetings before he
18 Travis to Travis Kalanick. And it bears Control                            18 resigned?
19 Numbers Uber 651, 67.                                                      19        MS. DUNN: Objection to form.
20        (Exhibit 390 was marked for                  03:53:31               20        THE DEPONENT: I think it was a mutual               03:59:47
21 identification by the court reporter and is                                21 understanding that he probably shouldn't attend.
22 attached hereto.)                                                          22     Q. (By Mr. Verhoeven) Any or just when a
23     Q. (By Mr. Verhoeven) Do you see there's an                            23 certain subject matter was discussed?
24 email below from Salle to Anthony.                                         24     A. Any.
25        Do you see that?                       03:54:11                     25     Q. Okay. So around the date you gave in             03:59:57
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                        ATTORNEYS' EYES ONLY
 1 2014, from then on, you didn't attend any board          04:00:01         1     A. I can't remember if there was a phone            04:02:33
 2 meetings?                                                                 2 call or not. I don't remember. He either called
 3    A. Correct.                                                            3 me, or Emil. I can't remember each one. It may
 4     Q. Okay. Do you remember any discussions                              4 have been -- you know what, it was me. Yup. There
 5 with him about the decision that he shouldn't           04:00:09          5 was a phone. I think he called -- either he called       04:02:46
 6 attend any board meetings?                                                6 me, or we arranged a time to talk on the phone.
 7    A. I do.                                                               7     Q. Okay. And when was that?
 8     Q. Okay. What did you say to him? What did                            8     A. I don't remember. There's probably three
 9 he say to you?                                                            9 or four ways to find out. I don't remember the
10    A. He said that Google is intending to             04:00:20           10 exact date.                                04:03:01
11 compete with Uber in the ridesharing space. And                          11     Q. What did he say to you, and what did you
12 that the efforts were substantive enough and                             12 say to him?
13 serious enough that he felt compelled to tell us                         13          MS. DUNN: Objection to form.
14 that that was happening.                                                 14          THE DEPONENT: He said, look, whether
15     Q. Okay. Did he do that orally or in           04:00:45              15 it's some kind of conflict or -- he just felt --      04:03:05
16 writing?                                                                 16 his -- his approach for the entire -- his and my
17    A. That was orally.                                                   17 approach were very similar in the period
18     Q. Okay. And who was present when he said                            18 following --
19 that?                                                                    19     Q. (By Mr. Verhoeven) Go ahead. I am
20    A. Just me.                           04:00:55                        20 sorry.                                   04:03:28
21     Q. All right. And what did you say to him?                           21     A. Yeah, no, it's okay. His approach and my
22    A. I -- I think I expressed disappointment.                           22 approach were similar in the time period following
23     Q. I thought I saw you smile a little bit.                           23 where he let me know that he was competing. We
24 Did you say something?                                                   24 both were trying to find a way for Uber and Google
25    A. No. No. I was -- it was -- that was not         04:01:05        25 to partner autonomy and ridesharing together, like               04:03:44
                                                                Page 314                                                                        Page 316

 1 a smile.                                04:01:07                          1 some way to partner together.                       04:03:50
 2     Q. Okay. What did you say? How did you                                2          He was a big believer it was the right
 3 express your disappointment?                                              3 thing. I was a big believer it was the right
 4    A. My face looked sullen. And just how does                            4 thing. I could get my company behind that. But
 5 somebody express disappointment? They are just             04:01:24       5 David couldn't get -- couldn't get, you know, Larry           04:03:59
 6 like, I'm really sorry to hear that. And that's                           6 and other folks and just Google, essentially,
 7 unfortunate. And I don't remember my exact words,                         7 behind that notion.
 8 but I remember feeling disappointed a little bit, a                       8     Q. Do you remember anything more specific --
 9 little burned by the relationship. And it was just                        9     A. No.
10 generally unfortunate.                        04:01:39                   10     Q. -- with that discussion?                    04:04:28
11     Q. Do you remember anything else you or he                           11     A. Oh, what the --
12 said during that conversation?                                           12     Q. What happened on the phone call.
13    A. Not really.                                                        13     A. Yeah. So -- sorry, I lost myself. I
14     Q. Did the discussion of his attendance at                           14 remembered that beforehand.
15 board meetings come up in that discussion?               04:01:50        15     Q. So that was before the phone call?              04:04:37
16    A. It may have, but I don't remember                                  16     A. That was before. So that's context for
17 specifically.                                                            17 what leads up to that phone call.
18     Q. And this conversation, when Mr. Drummond                          18     Q. Okay.
19 told you that, can you pinpoint when that occurs as                      19     A. And I think his overall communication was
20 best you can?                              04:02:03                      20 that we had just gotten to a point where maybe            04:04:46
21    A. It was in October 2014, just following a                           21 there's just no way for us to partner, and the fact
22 board meeting.                                                           22 that he -- it doesn't look good that we are --
23     Q. Okay. Did you have any discussions with                           23     Q. Keep going.
24 Mr. Drummond in relation to his decision to resign                       24     A. It doesn't look good that we're competing
25 from the board?                             04:02:24                     25 while he's also on the board.                      04:05:00
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                        ATTORNEYS' EYES ONLY
 1     Q. I was doing two things at once. I didn't          04:05:06           1     A. I believe so. I mean, I would have to      04:07:24
 2 mean to --                                                                  2 read the whole thing compared to what I have --
 3     A. No, that's okay.                                                     3     Q. Well, take your time.
 4     Q. Just trying to speed things up.                                      4     A. -- but it looks approximately the same.
 5     A. That's all right.                      04:05:11                      5     Q. Take your time.                     04:07:29
 6     Q. In connection with your departure from                               6     A. Okay. Let me just read it real quick.
 7 the position of CEO of Uber --                                              7         Okay.
 8     A. Yeah.                                                                8     Q. Just one second.
 9     Q. -- did the discussion -- was there any                               9     A. Okay.
10 discussion of the Waymo lawsuit?                       04:05:25            10     Q. Okay. Do you need the question again?        04:08:44
11          MS. DUNN: Objection to form.                                      11     A. Yeah.
12          THE DEPONENT: There was not a discussion                          12     Q.
13 of the Waymo lawsuit when I resigned, no.                                  13
14     Q. (By Mr. Verhoeven) Okay.                                            14
15                                                               04:05:41     15         Do you remember that testimony?           04:08:59
16                                                                            16         MS. DUNN: Objection to form.
17                                                                            17         THE DEPONENT: I do.
18          MS. DUNN: Objection to form.                                      18     Q. (By Mr. Verhoeven) And you referred to a
19          THE DEPONENT:                                                     19 letter.
20     Q. (By Mr. Verhoeven)                                 04:05:51         20         Do you remember that?                 04:09:05
21     A.                                                                     21     A. Yes.
22                                                                            22     Q. Is this the letter?
23                                                                            23     A. Yes.
24                                                                            24     Q. Okay. Do you need to take a minute?
25 /////                                                                      25     A. No, let's keep going.                04:09:14
                                                                   Page 318                                                                       Page 320

 1          (Exhibit 391 was marked for                 04:06:05               1     Q. And do you recall any -- not everything           04:09:15
 2 identification by the court reporter and is                                 2 there, but just the Waymo lawsuit. Do you remember
 3 attached hereto.)                                                           3 any discussion you had with this decision on the
 4          MR. VERHOEVEN: Okay. Let's mark as                                 4 subject of the Waymo lawsuit beyond this letter?
 5 Exhibit 391 an email dated June 20th, 2017, bearing           04:06:10      5     A. There was none.                        04:09:39
 6 Control Numbers Uber 99109 through 9910.                                    6     Q. Okay. In October of 2016, do you
 7          MS. DUNN: Pursuant to the Court's order                            7 remember having a discussion with Mr. Larry Page?
 8 on the motion in limine, I'm going to instruct the                          8     A. Yes. Yes.
 9 witness he can answer questions about this, to the                          9     Q. Okay. Did you call him?
10 extent that the questions have to do with this            04:06:47         10     A. I think he called me.                   04:09:58
11 lawsuit.                                                                   11     Q. Did you -- did you ask him to call you?
12          MR. VERHOEVEN: Okay.                                              12     A. Yes, that's -- I did. That's usually how
13          MS. DUNN: Thanks.                                                 13 it works with him, I think.
14          MR. VERHOEVEN: We object to that. I'm                             14     Q. Okay. Did you tell him you wanted to
15 not sure we will have a problem, but we object to           04:06:58       15 talk about his interest in flying -- what was it --     04:10:07
16 that. I certainly don't recall any instruction                             16 flying -- what -- what did you tell him you wanted
17 from the judge on that.                                                    17 to talk about?
18     Q. (By Mr. Verhoeven) So is this the letter                            18     A. I wanted to talk him about flying cars.
19 that you are referring to?                                                 19     Q. That's it.
20          I apologize that it's hardly legible, but   04:07:12              20     A. How could you forget that?                     04:10:25
21 that's the way it was produced by your counsel.                            21     Q. I didn't know the right name for it. I
22     A. This looks like it, yeah.                                           22 was going to say flying cars, but I thought that
23     Q. Well, I need to know, yes or no.                                    23 would be too simplistic.
24     A. Yes. Yes.                                                           24     A. We call them -- what's the other word for
25     Q. This is the letter you were referring to?         04:07:23        25 it -- oh, yeah, VTOL, vertical takeoff and landing.          04:10:39
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                        ATTORNEYS' EYES ONLY
 1     Q. And -- and so a call happened in October        04:10:45 1      Q. A disagreement?                          04:13:04
 2 of 2016?                                                         2     A. -- a --
 3     A. Yes.                                                      3        MS. DUNN: Objection to form.
 4     Q. Okay. Was there any discussion on that                    4        THE DEPONENT: It was like we were
 5 call about driverless cars?                     04:10:55         5 having -- it was -- I felt like he wasn't -- we      04:13:09
 6     A. I definitely -- I mean, for me, it was --                 6 didn't understand each other. It was just strange.
 7 it was starting with flying cars, but also talking               7 Because he -- I was trying to tell him, like, just
 8 about --                                                         8 because we have hired his people, we haven't taken
 9     Q. Sure.                                                     9 his IP. And he kept not understanding that, but
10     A. -- hey, is there a potential partner --     04:11:12     10 not explaining himself either. He wasn't getting        04:13:2
11 is there a potential partner together. Those are                11 into details or in any way sort of helping me
12 two big things I wanted to speak about.                         12 understand his issue.
13         So, yes, partnering on driverless cars,                 13     Q. (By Mr. Verhoeven) Did you say you would
14 sorry.                                                          14 look into it?
15     Q. Okay.                              04:11:21              15     A. I told him, we will open up our facility 04:13:39
16     A. Yeah.                                                    16 if you think we have taken IP. Like, come take a
17     Q. So what did you say to him about                         17 look. We will have your people take a look. We
18 partnering on -- in this conversation --                        18 will dig deep and make sure. But we were very
19     A. Yeah.                                                    19 confident about the process of acquisition and the
20     Q. -- about partnering on driverless cars?       04:11:26 20 process we have in hiring people.                     04:13:54
21     A. I don't remember the specific details,                   21     Q. Do you remember saying that to Mr. Page?
22 but I -- was very similar to all the considerations             22     A. I do.
23 I have had over the years, which is: You guys                   23     Q. Okay. And what did he say in response?
24 have -- you guys have been working on this quite a              24     A. He -- he kind of just kept repeating the
25 while. You have great expertise. We have               04:11:43 25 same thing. This is what I remember. I don't           04:14:06
                                                                   Page 322                                                       Page 324

 1 developing expertise, but we haven't been in this         04:11:46          1 remember the specific words, but it was -- it felt 04:14:07
 2 industry as long. We certainly have a lot of                                2 like he was repeating the same thing over and over
 3 ridesharing things going on. There could be a                               3 again.
 4 really interesting -- interesting potential in                              4     Q. So you don't remember beyond that what he
 5 partnering those two efforts.                    04:11:58                   5 said?                                  04:14:14
 6       Q. And what did he say on that subject in                             6     A. No.
 7 response to you during that call?                                           7     Q. Do you remember anything else during that
 8       A. He said, still not very interested. And                            8 conversation on the subject of driverless cars
 9 maybe we can talk about that again in the new year.                         9 beyond what you already testified to?
10       Q. Did he say anything else that you can         04:12:12            10     A. I don't remember anything else.            04:14:26
11 recall on the subject?                                                     11         MR. VERHOEVEN: All right. I have no
12       A. On -- on the partnering subject?                                  12 further questions at this time.
13       Q. Yes, or the subject of driverless car                             13         Oh. Sorry. I have a couple more
14 technology.                                                                14 questions.
15       A. He -- he was -- he was upset about what         04:12:22          15         THE DEPONENT: Okay.                        04:14:36
16 he -- what he kept talking about was us taking his                         16         MR. VERHOEVEN: Won't be long.
17 IP.                                                                        17         (Discussion off the stenographic record.)
18       Q. So what did he say about that?                                    18     Q. (By Mr. Verhoeven) What did you do to
19       A. He kept saying that he -- that -- that we                         19 get prepared for today?
20 have taken his IP. And I kept responding and             04:12:45          20     A. Spent a lot of hours sort of -- spent a    04:14:49
21 telling him that hiring his people is not taking                           21 lot of hours just trying to understand what a
22 his IP.                                                                    22 deposition is about, try to understand how I should
23       Q. And what did he say in response to you                            23 approach this, generally.
24 when you said that?                                                        24     Q. Did you meet with people?
25       A. It was like we were having --               04:12:59              25     A. Yeah.                             04:15:07
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                        ATTORNEYS' EYES ONLY
 1     Q. Other than attorneys, did you ever            04:15:09    1        MS. DUNN: Okay. Great. Thank you.          04:17:27
 2 have -- in preparation for this deposition, did you              2        Charlie.
 3 have conversations with non-attorneys?                           3        MR. VERHOEVEN: Nothing further.
 4     A. No.                                                       4        THE VIDEOGRAPHER: This marks the end of
 5     Q. When did you meet with the attorneys?            04:15:18 5 DVD No. 4 in the deposition of Travis Kalanick. We 04:17:34
 6     A. Some on Monday; some on Tuesday; some on                  6 are going off the record. The time is 4:17.
 7 Wednesday.                                                       7        (Recess taken.)
 8     Q. So you prepped for three days?                            8        THE VIDEOGRAPHER: Six hours and 15
 9     A. I did some amount of time on each of                      9 minutes. So 45 minutes left.
10 those days, yes.                             04:15:30           10        MS. DUNN: Forty-five minutes left.       04:19:03
11     Q. Can you give some sense of how much you                  11        Thank you.
12 spent on each day?                                              12        (TIME NOTED: 4:19 p.m.)
13     A. It was sort of like it ranged from four                  13
14 to eight hours.                                                 14
15     Q. Okay.                                04:15:50            15
16     A. On each day.                                             16            TRAVIS KALANICK
17     Q. On each day.                                             17
18        What is that, 12 to --                                   18
19     A. Yeah, it wasn't 24. Because it was                       19
20 like -- I think it may have been like four hours on 04:15:5620
21 the shortest day and eight hours on the longest.                21
22     Q. Okay.                                                    22
23     A. And -- and one more thing on this, just                  23
24 to be clear, is like there -- that wasn't like a                24
25 straight eight hours. So, like, some of that time, 04:16:13 25
                                                                Page 326                                                   Page 328

 1 I'd just go work and then come back in. It wasn't        04:16:15        1     I, Rebecca L. Romano, a Certified Shorthand
 2 straight. But it was back and forth during that                          2 Reporter of the State of California, do hereby
 3 time period.                                                             3 certify:
 4     Q. Okay. Did you do any prep for this                                4     That the foregoing proceedings were taken
 5 deposition before that week?                      04:16:29               5 before me at the time and place herein set forth;
 6     A. No.                                                               6 that any witnesses in the foregoing proceedings,
 7     Q. Okay.                                                             7 prior to testifying, were administered an oath;
 8        MR. VERHOEVEN: At this time, I have no
                                                                            8 that a record of the proceedings was made by me
 9 further questions. I have to say some things on
                                                                            9 using machine shorthand which was thereafter
                                                                           10 transcribed under my direction; that the foregoing
10 the record, though.                         04:16:35
                                                                           11 transcript is true record of the testimony given.
11        So we reserve this time to ask further
                                                                           12     Further, that if the foregoing pertains to the
12 questions at a later time because there's privilege
                                                                           13 original transcript of a deposition in a Federal
13 fights that have not been resolved yet; document
                                                                           14 Case, before completion of the proceedings, review
14 production has not been completed; the text issue
                                                                           15 of the transcript [ ] was [x] was not requested.
15 is still being worked on.                     04:16:56
                                                                           16     I further certify I am neither financially
16        And just for the record, we disagree that
                                                                           17 interested in the action nor a relative or employee
17 we are limited to an aggregate of seven hours. We                       18 of any attorney or any party to this action.
18 can deal with that later; but, for the record, we                       19     IN WITNESS WHEREOF, I have this date
19 disagree with that.                                                     20 subscribed my name.
20        MS. DUNN: For the record, our position          04:17:16         21     Dated: July 28, 2017
21 is you are limited to seven hours. And we will                          22
22 just ask how much time has been reserved within                         23
23 that seven, so...
24        THE VIDEOGRAPHER: Once I am done, I will                         24       Rebecca L. Romano, RPR,
25 give you the tally.                        04:17:26                     25       CSR. No 12546
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                 Federal Rules of Civil Procedure

                                 Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




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    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

    2016. PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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